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      1                 IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
      2                            TYLER DIVISION

      3   LONE STAR TECHNOLOGICAL            )(
          INNOVATIONS, LLC,                  )(
      4        PLAINTIFF,                    )(     CIVIL ACTION NO.
                                             )(     6:19-CV-59-RWS
      5                                      )(
          VS.                                )(
      6                                      )(
                                             )(     TYLER, TEXAS
      7                                      )(
          ASUSTEK COMPUTER, INC.,            )(     MAY 17, 2021
      8        DEFENDANT.                    )(     8:21 A.M.

      9                        TRANSCRIPT OF JURY TRIAL

     10            BEFORE THE HONORABLE ROBERT W. SCHROEDER, III

     11                      UNITED STATES DISTRICT JUDGE

     12
          FOR THE PLAINTIFF:           Mr. Joshua J. Bennett
     13                                Mr. Bradley D. Liddle
                                       Ms. Monica Litle
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     22   COURT REPORTER:              Ms. Kate McAlpine, RPR, CSR, CCR
                                       Federal Official Court Reporter
     23                                Texarkana Division
                                       500 N. State Line Avenue
     24                                Texarkana, Texas 75501

     25   (Proceedings recorded by mechanical stenography, transcript
          produced on a CAT system.)
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      1   FOR THE DEFENDANT:           Mr. Vinay V. Joshi
                                       Mr. Andrew T. Oliver
      2                                AMIN, TUROCY, & WATSON
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08:20:54    1                         P R O C E E D I N G S

08:21:08    2           THE COURT:     Okay.     We are on the record.

08:21:10    3           It's 8:20 back in chambers.         The panel should be

08:21:15    4   ready for us fairly soon once they have been qualified.

08:21:20    5   Each side has been given 30 minutes for voir dire and then

08:21:25    6   openings.     I know there were a number of filings over the

08:21:28    7   weekend, both Saturday and yesterday.

08:21:31    8           Anything we need to address before voir dire?

08:21:37    9           MR. BENNETT:     Yes, Your Honor.      Plaintiffs have an

08:21:39   10   issue with -- an objection to Exhibit 26 and its subparts.

08:21:46   11   We filed a brief, it's Exhibit -- it's Document 205 on

08:21:50   12   this.

08:21:50   13           THE COURT:     I read it.

08:21:51   14           MR. BENNETT:     Okay.     So what we've proposed there

08:21:54   15   is that the exhibit should come in.        They waived objections

08:21:58   16   or the objections have no merit.       There's authentication

08:22:01   17   objections.     They have no merit because the documents are

08:22:06   18   ASUS manuals.     We've brought examples here if Your Honor

08:22:10   19   wants to inspect them -- Your Honor's version of that -- a

08:22:11   20   copy of Exhibit 26 and its subparts.

08:22:14   21           So they're authenticated because they're all ASUS

08:22:18   22   manuals, bear ASUS's tradename, trademarks, copyright.

08:22:19   23   It's all about ASUS products.       They compare with the ASUS

08:22:21   24   manuals on their exhibit list -- on ASUS's exhibit list.

08:22:24   25           So for all those reasons, they're authentic, and
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08:22:27    1   then they're just not hearsay at all and that's part of

08:22:30    2   their objection, if they have an objection at all and they

08:22:33    3   didn't waive it.

08:22:34    4              So we would submit that they should -- they're not

08:22:37    5   automatically admitted, but those objections shouldn't keep

08:22:41    6   them out and we need to get them through a sponsoring

08:22:41    7   witness, which in this case will be Dr. Ducharme for us.

08:22:43    8   So he could take the stand today.        It's possible.     That's

08:22:45    9   why part of this is -- that's why part of this is relevant

08:22:51   10   for today's purposes.

08:22:52   11              Some of these exhibits may also come up on

08:22:55   12   Mr. Lin, one of the witnesses that we've called of theirs.

08:22:58   13              THE COURT:     Is he an engineer?

08:23:01   14              MR. BENNETT:     He is a technical person, yes, Your

08:23:05   15   Honor.

08:23:05   16              THE COURT:     All right.

08:23:06   17              MR. JOSHI:     So, Your Honor -- so firstly, I'll

08:23:09   18   address waiver, then authentication, then hearsay.

08:23:13   19              These -- what happened at the pretrial conference,

08:23:16   20   that the exhibit list had a summary document.          And the

08:23:18   21   summary document was -- it had numbers, then it had

08:23:21   22   their -- referenced their infringement chart, then each

08:23:25   23   number had one, two, three, or four documents associated

08:23:28   24   with it.    And then they had a web link where they got it

08:23:31   25   from.    That summary document is what they wanted to be the
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08:23:34    1   exhibit.

08:23:34    2              Then, during the meet and confer, they -- later on

08:23:38    3   after pretrial conference when you said each witness -- we

08:23:41    4   have to use it with a witness before the document comes in,

08:23:45    5   they said essentially all of these are our documents.

08:23:49    6              Well, the problem is we don't know who pulled

08:23:52    7   them.    And if you look at the websites, they're from

08:23:54    8   different websites.     They're not ASUS websites.        They're

08:23:56    9   Walmart, they're this, they're that.        We -- then -- now,

08:23:58   10   they -- later on they reduced it down to just 139

08:24:01   11   documents.     We pick one, use it for each product, okay?

08:24:05   12              So firstly, we couldn't have waived it because the

08:24:08   13   exhibits aren't the way they are now at the time that we

08:24:12   14   had the pretrial conference.       Authentication, they're not

08:24:15   15   going to bring a witness -- they don't have a witness on

08:24:17   16   their witness list who can say:       I got these documents from

08:24:21   17   here.    That's the first thing.

08:24:22   18              They cited a number of cases.      We read those

08:24:26   19   cases.     There was always a witness.     It was either produced

08:24:29   20   by the other side or it had a signature of the person that

08:24:34   21   they were saying it's the signature of.         Even in the cases

08:24:40   22   of it was a trademark, there was always like their -- that

08:24:41   23   company's trademarks but then other things also.

08:24:44   24              So somehow if you get past authentication, then

08:24:48   25   they have a hearsay problem.       Now, with respect to hearsay
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08:24:53    1   they make a very circular argument.          They say -- first of

08:24:53    2   all, they say it's -- one argument is it's not hearsay

08:24:57    3   because these are instructions, and instructions are not

08:24:59    4   proffered for the proof of the matter asserted.           But then

08:25:02    5   what they really want to use them for -- so they want to

08:25:03    6   get around hearsay that way by saying --

08:25:07    7              THE COURT:   So can you respond to that

08:25:08    8   specifically?    Why is it hearsay?        Why is it being offered

08:25:12    9   for the truth of the matter asserted?

08:25:19   10              MR. JOSHI:   Well, because these user guides are --

08:25:20   11   they want to use it for inducement.          So what they want to

08:25:23   12   say is that these user guides tell customers what to do.

08:25:27   13   So the truth of the matter asserted is --

08:25:27   14              UNIDENTIFIED PERSON:     (Whispering.)

08:25:33   15              MR. JOSHI:   Right.    Right.

08:25:34   16              And also, not just for inducement but also to

08:25:37   17   prove this is how the products operate.          So their expert

08:25:40   18   reviewed them to say, I believe there is infringement

08:25:44   19   because the products operate according to these user

08:25:44   20   manuals.

08:25:48   21              So we think that a compromised solution here is

08:25:52   22   that he can use them as a demonstrative, he can rely on

08:25:54   23   them, but they can't come in as exhibits.

08:25:57   24              THE COURT:   Were these -- all of these exhibits

08:26:01   25   disclosed timely?
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08:26:02    1              MR. BENNETT:     They were disclosed timely in this

08:26:05    2   fashion.     And we talked about this at the May 11 hearing.

08:26:09    3   We did list them on our exhibit list as Exhibit 26 because

08:26:13    4   those were the documents that Dr. Ducharme had relied on.

08:26:18    5   All of them included the user manuals.

08:26:19    6              When Your Honor directed us to confer, we

08:26:24    7   conferred.     And we heard their objection about it's too

08:26:26    8   much.   We said:    Okay.    We understand.    We'll just strip

08:26:29    9   off and leave the user manuals.       So that's what we did.

08:26:33   10              We heard argument at length on May 11th about how

08:26:36   11   Mr. Joshi didn't want those documents back in the jury

08:26:39   12   room, and that's why he was objecting because he didn't

08:26:42   13   think we had a sponsoring witness.

08:26:44   14              So we tried to address that in our meet and confer

08:26:46   15   and showed them, look, we reduced the materials.           We --

08:26:52   16   fits squarely within the 250 exhibit limit under the

08:26:56   17   Court's order.     All of these materials are the user

08:26:58   18   manuals.     Dr. Ducharme, yes, he relied on them, but they're

08:27:03   19   your documents.

08:27:04   20              I think what he's saying is we didn't produce

08:27:07   21   them.   Well, that's a problem.      They didn't produce them.

08:27:10   22   That's why we engaged in self-help and got them ourself.

08:27:14   23              So we've done that.     They didn't produce them.

08:27:17   24   Now they want to use that against us as a means of not

08:27:21   25   authenticating the documents even though on their face
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08:27:24    1   they're ASUS documents.

08:27:24    2             So I think the authentication problem is a

08:27:27    3   non-issue.

08:27:28    4             As for hearsay, either way, whether it's what they

08:27:31    5   say for the truth of the matter to prove infringement, it's

08:27:36    6   not hearsay still under 801(d) because it's a statement of

08:27:39    7   a party opponent, right?     Or on the other side, if it's not

08:27:43    8   -- if it's just instructions, then it's not hearsay

08:27:46    9   under -- if it's not a statement for the truth of the

08:27:48   10   matter.

08:27:49   11             So if it's just to show the instructions are given

08:27:51   12   to users, that's all it's for.       It's not for the truth.          If

08:27:55   13   it is to prove infringement, then it's a party admission,

08:27:57   14   and it comes in under 801(d).

08:28:00   15             THE COURT:   Well, let me say this, Mr. Joshi.

08:28:02   16   With respect to the waiver issue, our orders, I believe,

08:28:06   17   are quite clear that we expect any objections to exhibits

08:28:11   18   to be raised at the pretrial conference.         That avoids

08:28:15   19   having, you know, matters like this pop up on the eve of

08:28:19   20   trial.    We had a pretrial conference.       We could have

08:28:24   21   discussed this.

08:28:26   22             So, I mean, I think that's the point to requiring

08:28:29   23   objections be served on the other side so that you-all can

08:28:34   24   try to resolve any issues prior to that.         And if you can't,

08:28:39   25   bring it to my attention so that we can get those issues
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08:28:43    1   resolved well before the trial to avoid, frankly, precisely

08:28:49    2   these kinds of events.

08:28:52    3           My question at the end of the day -- I want to

08:28:55    4   think about what you all have said about this -- is does

08:29:00    5   any of this need to be resolved before voir dire?           In other

08:29:06    6   words, could we -- could we go ahead and get the jury

08:29:11    7   selected and then before openings, I will tell you how I'm

08:29:15    8   going to deal with this?

08:29:18    9           MR. BENNETT:     Yes, I think -- for Plaintiff's

08:29:20   10   part, that would be acceptable, Your Honor.

08:29:22   11           MR. JOSHI:     We think that's fine, too, Your Honor.

08:29:25   12   And I'll just make one minor correction.

08:29:28   13           I don't want to quibble, but it's not true that we

08:29:31   14   didn't produce these user manuals.        They are ASUS user

08:29:35   15   manuals with ASUS Bates stamps on them, and they will

08:29:37   16   100 percent be party admissions by us.         And they come from

08:29:40   17   -- coming from us, it's also verified that they get sold in

08:29:43   18   the United States.    There are many English speaking

08:29:45   19   countries.   And just because a manual is in English,

08:29:50   20   doesn't mean it's meant for United States, but if we

08:29:52   21   produced it, then it does so they can use those.

08:29:54   22           THE COURT:     So why were these not produced?

08:29:57   23           MR. JOSHI:     Because they -- I don't believe they

08:29:58   24   are -- many of them are from third parties, and so we

08:30:01   25   attached a sample of that.      You know, and these electronic
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08:30:05    1   parts come out, many people write about them, they have

08:30:08    2   their own user guides and such, but the ones --

08:30:13    3            THE COURT:     These are not ASUS-produced documents?

08:30:16    4            MR. JOSHI:     We haven't verified every one, but we

08:30:17    5   found many in that -- the 26 group.         There's like a company

08:30:18    6   called Eizo.   There are a couple of documents from them we

08:33:21    7   found.   And then we found the -- we found the -- you know,

08:33:21    8   because on the P-26, they mention the websites where they

08:33:21    9   got them from, and there are many non-ASUS websites.

08:33:21   10            THE COURT:     So do we have some representative

08:33:21   11   copies that you can leave us?

08:33:21   12            MR. BENNETT:     There were two attached to 205, the

08:33:21   13   document that brings out the issues.         If you want to look

08:33:21   14   at all of them, they're in these binders here for

08:33:21   15   Your Honor.

08:33:21   16            THE COURT:     Okay.

08:33:21   17            MR. BENNETT:     And we brought this for you.

08:33:21   18            THE COURT:     Excellent.    If you'll just leave that,

08:33:21   19   that would be very helpful.

08:33:21   20            MR. BENNETT:     Yes, Your Honor.

08:33:21   21            THE COURT:     Okay.   Anything else we need to

08:33:21   22   address before we select the jury?

08:33:21   23            MR. BENNETT:     There were some objections to

08:33:21   24   demonstratives that we may need -- if we pick a jury -- I

08:33:21   25   guess we're going to have a break in between.
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08:33:21    1           THE COURT:     We will.

08:33:21    2           MR. BENNETT:      So we can handle that then, I guess

08:33:22    3   if that's what Your Honor wants to.

08:33:22    4           THE COURT:     We will.

08:33:22    5           Let me tell you the only other thing I want you

08:33:22    6   all to think about during voir dire is -- as I told you all

08:33:22    7   at the pretrial conference, I do a fairly thorough voir

08:33:22    8   dire myself.

08:33:22    9           At some point in there, maybe midway through, I

08:33:22   10   will call upon each side to stand up, introduce yourself,

08:33:22   11   introduce your client, those who are at the table with you,

08:33:22   12   and then I'll ask you to go through the names of any

08:33:22   13   witnesses who may be called to testify so that I can voir

08:33:22   14   dire the jury about any knowledge of law firms, lawyers,

08:33:22   15   witnesses.     So just a little heads-up in that regard.

08:33:22   16           Okay.     Anything else?

08:33:22   17           MR. BENNETT:      Not right now.

08:33:22   18           THE COURT:     All right.      Do we have the -- looks

08:33:22   19   like we have the seating chart.

08:33:22   20           COURT DEPUTY:      Uh-huh.     The seating chart and then

08:33:22   21   the questionnaires.     I think she's got more questionnaires

08:33:22   22   to make copies of.

08:33:22   23           MR. BENNETT:      Thank you.

08:33:22   24           COURT DEPUTY:      I gave you four copies.        If you

08:33:22   25   need more, I can get them.
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08:33:22    1           MR. JOSHI:     Thank you so much.

08:33:22    2           MR. BENNETT:      Thank you very much.

08:33:22    3           THE COURT:     Let me tell you one other thing.          We

08:33:22    4   will deal with hardship issues at the very end.           And if

08:33:22    5   there are persons in the panel that you -- on the panel you

08:33:22    6   want to or need to question further outside the presence of

08:33:22    7   the other panel members for purposes of cause challenges or

08:33:22    8   anything like that, at the very end of both party's

08:33:22    9   voir dires, I will ask you to hand up a list of juror names

08:33:22   10   and/or numbers of people you want to voir dire separately,

08:33:22   11   and we will ask them to remain in the courtroom, and we

08:33:23   12   will dismiss everybody else to be taken to another

08:33:23   13   courtroom to wait for a few minutes while we do that.

08:33:23   14           I'm not suggesting that you will have anyone like

08:33:23   15   that, but if you do, there's somebody who had said

08:33:23   16   something during the voir dire process that you want to ask

08:33:23   17   further questions of with respect to a potential cause

08:33:23   18   challenge, just tell me their name and number.           You can

08:33:25   19   write it down.    I'll ask you to hand those lists up, and

08:33:29   20   we'll do that at the very end of the voir dire.           I'll

08:33:32   21   dismiss everybody else, and then we'll bring them up one by

08:33:38   22   one.

08:33:38   23           Any questions about that?

08:33:39   24           Okay.    See you out there.

08:57:13   25           (Recess.)
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09:44:20    1           THE COURT:     Please be seated.

09:44:23    2           Mrs. Schroeder, would you call the case for us?

09:44:30    3           COURT DEPUTY:      Civil Action No. 6:19-CV-59, Lone

09:44:37    4   Star Technological Innovations, LLC, versus ASUSTeK

09:44:40    5   Computer, Inc.

09:44:40    6           THE COURT:     Is the Plaintiff ready to proceed?

09:44:43    7           MR. BENNETT:      We are, Your Honor.

09:44:45    8           THE COURT:     Is the Defendant ready to proceed?

09:44:48    9           MR. JOSHI:     We're ready, Your Honor.

09:44:49   10           THE COURT:     Very well.

09:44:50   11           Good morning, ladies and gentlemen.           I want to

09:44:52   12   thank you for being here on this wet May morning.            I wish

09:44:56   13   the weather had been a little better for you all getting

09:45:01   14   into the courthouse.

09:45:02   15           I want to thank you for being here, and I want to

09:45:07   16   welcome you to jury service in the United States District

09:45:11   17   Court for the Eastern District of Texas.

09:45:13   18           I'm Judge Trey Schroeder.         You've already met some

09:45:20   19   of our court personnel this morning, but I want to

09:45:25   20   introduce the members of my court staff.

09:45:28   21           My courtroom deputy is Ms. Betty Schroeder.

09:45:31   22           Ms. Kate McAlpine is our court reporter.

09:45:33   23           The law clerks who assist me are Jonathan Powers,

09:45:38   24   Susan Stradley, and Elizabeth Conners.

09:45:43   25           Today and for the rest of the week, our court
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09:45:48    1   security officer will be Mr. Steven Richardson.

09:45:51    2              I want to begin by thanking you for serving your

09:45:55    3   country.    These are especially trying times.         Obviously, we

09:46:02    4   have new responsibilities in terms of the restrictions on

09:46:06    5   our lives that the pandemic has placed.          I am asking

09:46:13    6   everybody to wear their mask in the courtroom unless you're

09:46:16    7   speaking.

09:46:18    8              All of our life responsibilities right now are a

09:46:22    9   little more serious, and our intrusion as a court into your

09:46:27   10   lives by asking you to potentially serve as jurors in this

09:46:31   11   matter may be even more jarring.

09:46:33   12              As I wrote to you in my letter regarding jury

09:46:38   13   service, we've taken a number of important steps to enhance

09:46:41   14   your health and safety during jury selection and the trial

09:46:45   15   if you are selected as a juror.

09:46:47   16              You all obviously know we've got social distancing

09:47:00   17   requirements here in the courtroom.         As I said, everyone

09:47:03   18   has masks on.     We do have gloves and hand sanitizer

09:47:08   19   throughout the courtroom if anyone needs them.

09:47:10   20              Once the trial begins, we will be providing lunch

09:47:14   21   each day, and the courtroom has been reconfigured to meet

09:47:20   22   the needs of social distancing.

09:47:22   23              The jury will be seated where you are seated now

09:47:26   24   in the gallery.     The witness will actually be in what's

09:47:29   25   normally the witness box.
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09:47:32    1            There's also some air purifiers throughout the

09:47:37    2   courtroom to help keep the air clean and circulating.

09:47:41    3            As I said, I'm Judge Schroeder.         I'm a United

09:47:45    4   States District Judge for the Eastern District of Texas.               I

09:47:46    5   live in Texarkana where I was born and grew up.           I

09:47:51    6   practiced law for about 15 years before I went on the bench

09:47:59    7   six years ago.    I have a few remaining cases in Tyler.           I

09:48:05    8   have responsibility for the docket in Texarkana, and I have

09:48:08    9   a few cases in Marshall and Sherman, as well.

09:48:13   10            I'll just tell you a little bit about myself, and

09:48:16   11   the reason I do that is in a few minutes, I'm going to ask

09:48:20   12   all of you to tell us something about yourself, as well,

09:48:23   13   and I think you are as entitled to know as much about me as

09:48:28   14   we will soon learn about you.

09:48:30   15            As I said, I grew up in Texarkana.          I went to

09:48:34   16   college in Missouri and then in Arkansas, and I graduated

09:48:37   17   from law school in Washington, D.C.         I was, as I said, in

09:48:44   18   private practice for about 15 years.         Before that, I

09:48:47   19   clerked for a federal appellate judge, and I also worked in

09:48:54   20   the government in Washington as an attorney for a couple of

09:48:58   21   years.

09:48:58   22            I'm married.     I have two daughters who are juniors

09:49:02   23   in college.   And my wife is a lawyer, too, but she doesn't

09:49:06   24   practice law anymore.

09:49:09   25            I want to tell you a little bit about this trial
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09:49:13    1   and what we're going to be doing here this week.            This is a

09:49:17    2   civil case involving patent infringement.

09:49:21    3            You, as potential jurors, are performing a pivotal

09:49:26    4   role in our system of justice, and I hope that you will

09:49:29    5   consider it an honor to serve in this important role

09:49:33    6   because that's what it is.

09:49:35    7            By asking you to be here to potentially serve as

09:49:38    8   jurors in this matter, we're asking you to be away from

09:49:43    9   your jobs, your families, and your other responsibilities.

09:49:47   10   For those of you who have children at home, I know how

09:49:50   11   hectic your lives are.     The same goes for those of you who

09:49:54   12   may be a caregiver to a family member or a friend.

09:49:58   13            By asking you to be here and to potentially serve

09:50:01   14   as a juror, we are creating an intrusion into your lives,

09:50:04   15   but the reason we do it is we have important work for you

09:50:09   16   to do.

09:50:10   17            This is the 42nd case I will have tried as a

09:50:15   18   judge, and I believe that your experience as a juror, if

09:50:18   19   you are selected to serve, will depend in large part on

09:50:22   20   what your initial frame of mind is.         So I want to give you

09:50:25   21   a little bit of context about the role of the jury in our

09:50:29   22   system of government.

09:50:31   23            Our Constitution begins with the words "We the

09:50:36   24   People," and in its most in inclusive form, it invites the

09:50:39   25   people to join in the creation and maintenance of
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09:50:42    1   government.   Those words recognize that the power of the

09:50:46    2   government come from the people and -- comes from the

09:50:51    3   people.   And just as suffrage ensures the people's ultimate

09:51:00    4   control in the legislative and executive branch, the jury

09:51:03    5   trial is meant to ensure their control in the judiciary.

09:51:07    6             Jury service is an exercise of responsible

09:51:11    7   citizenship by all members of our community.           Our

09:51:15    8   Constitutional system postulates a conscious duty of

09:51:22    9   participation in the machinery of justice, and it is an

09:51:25   10   opportunity for you, as an ordinary citizen, to help

09:51:28   11   administer justice.     It's an opportunity that has been

09:51:32   12   recognized as one of the principal justifications for

09:51:35   13   retaining the jury system under our Constitution.

09:51:39   14             No doubt many of your parents served on juries,

09:51:43   15   and perhaps grandparents, as well.        The tradition of jury

09:51:47   16   trials in our country stretches back many generations from

09:51:52   17   today all the way back, in fact, to 1776.          So, yes, while

09:51:57   18   it may be an inconvenience for you at some level to be

09:52:03   19   here, I hope you will understand that it is much more than

09:52:06   20   that.

09:52:06   21             I firmly believe that jury service is one of the

09:52:10   22   highest forms of public service that you can render to your

09:52:17   23   country as a citizen.

09:52:19   24             Of course, the highest form of public service

09:52:22   25   centers around those young men and women who serve in our
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09:52:29    1   Armed Forces and who put their lives on the line every day

09:52:32    2   to protect and to guarantee for all of us the rights and

09:52:36    3   the freedoms that we enjoy as Americans.          Those young men

09:52:42    4   and women in the Armed Forces, they don't get to decide

09:52:45    5   where it is they're going.      They go where their country

09:52:49    6   asks them to when their country asks them to.

09:52:51    7              So by being here today and by participating as you

09:52:54    8   are, you're doing what your country is asking you to do,

09:52:58    9   too.     And jury service is our chance, in a way, perhaps not

09:53:01   10   to repay the debt we owe to our country, but at least to

09:53:08   11   acknowledge it in some way and to recognize it.

09:53:11   12              So I hope you will think about your time here this

09:53:14   13   morning serving on this panel and on the jury if you're

09:53:17   14   selected to serve, perhaps in a little bit different light,

09:53:21   15   as an opportunity for you to serve your country by seeking

09:53:25   16   to do justice between these two parties.

09:53:28   17              As I said, this is a patent infringement case

09:53:31   18   where the Plaintiff, Lone Star, claims that the Defendant,

09:53:39   19   A-S-U-S, ASUSTeK, infringes its patent.

09:53:48   20              ASUS denies infringing the patent and says that

09:53:52   21   the patent is invalid.     I and the parties will have much

09:53:56   22   more to say about what this case involves, but for now, I

09:53:59   23   wanted you to have some basic knowledge of what the case is

09:54:06   24   about.

09:54:06   25              I anticipate that the presentation of evidence
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09:54:08    1   will take about four days.      We'll begin the trial this

09:54:11    2   afternoon.   So we will conclude -- should conclude no later

09:54:13    3   than this Friday, May 21st.       Those of you who are selected

09:54:18    4   as our jury, of course, will need to be available this

09:54:23    5   week.

09:54:23    6           If any of you have any prepaid vacations planned

09:54:27    7   that you have already bought nonrefundable tickets for, if

09:54:33    8   you have a surgery that is scheduled this week, or anything

09:54:36    9   else that is serious enough to make it very difficult for

09:54:39   10   you to serve, then I need for you to identify yourself.

09:54:43   11           If there's anybody on the panel who has those

09:54:46   12   types of reasons that they could not serve, if you would,

09:54:49   13   please raise your hand, and we'll discuss the specifics

09:54:54   14   later, but I'd just like to know if there's anyone now who

09:54:57   15   falls into that category.

09:54:59   16           Anybody on the left side of the room at all?

09:55:03   17           On to right side?

09:55:05   18           Let's see, is it Mr. Wilkinson?

09:55:13   19           PANEL MEMBER:      Yes, sir.

09:55:21   20           THE COURT:     Okay.    All right.     Yes, ma'am.     Is it

09:55:24   21   Ms. Elson?

09:55:25   22           PANEL MEMBER:      Yes, sir.

09:55:26   23           THE COURT:     Okay.    Thank you, ma'am.

09:55:28   24           And someone else?       Ms. Morrow?

09:55:31   25           Ms. Decco?
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09:55:32    1            PANEL MEMBER:     Yes.

09:55:33    2            THE COURT:     Okay.     All right.   Thank you,

09:55:37    3   Ms. Decco.

09:55:38    4            Anyone else?     All right.     Very well.

09:55:39    5            Now, I want to give you a little overview about

09:55:42    6   what is going to be happening over the next few days.

09:55:47    7            Right now, we are beginning the first stage of the

09:55:50    8   trial, what we call the voir dire examination of the panel,

09:55:53    9   and that is where I and the attorneys will be asking you

09:55:56   10   some questions to help us evaluate you as a potential

09:56:00   11   juror.

09:56:01   12            When the parties address you this morning, they

09:56:05   13   will be asking you various questions, and I want you to

09:56:10   14   understand that they are not seeking to pry unduly into

09:56:13   15   your private affairs.     They are entitled to ask questions

09:56:17   16   to secure a fair and impartial jury.

09:56:22   17            I don't know if it will happen today, but

09:56:24   18   sometimes panel members are asked a question that they

09:56:29   19   don't really want to talk about in front of the whole

09:56:32   20   panel, and if you have any hesitancy about giving a

09:56:37   21   complete answer to something that is private, you just need

09:56:40   22   to say that you want to talk about it to Judge Schroeder,

09:56:44   23   and I'll give you that opportunity to answer the question

09:56:47   24   outside the presence of the other panel members.

09:56:49   25            The important thing this morning is that you give
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09:56:52    1   full, complete, and truthful answers to any of the

09:56:55    2   questions that are asked.      There really are no wrong

09:56:58    3   answers as long as the -- your response is full, complete,

09:57:03    4   and truthful.

09:57:04    5           After that, each side will be allowed to strike a

09:57:08    6   certain number of jurors, and the first eight panel members

09:57:14    7   will become our eight jurors.

09:57:18    8           Once the jury is selected, the attorneys for each

09:57:21    9   side will make opening statements, followed by presentation

09:57:25   10   of evidence.

09:57:26   11           After the evidence has been presented, I will

09:57:29   12   instruct you on the law that you must apply in reaching

09:57:33   13   your decision.

09:57:34   14           After that, the parties will present their closing

09:57:37   15   arguments to you, and then you will retire to the jury room

09:57:41   16   to begin your deliberations.

09:57:43   17           The purpose of voir dire is to enable the Court to

09:57:47   18   determine whether or not any prospective juror should be

09:57:53   19   excused from jury service, either by the Court for what we

09:57:59   20   call cause, or by counsel for the parties by way of what is

09:58:02   21   called peremptory challenges, which are challenges for

09:58:07   22   which no reason need be given.

09:58:09   23           Voir dire is an Old French phrase that means to

09:58:14   24   speak the truth, and I know that you will speak the truth

09:58:16   25   as you answer the questions that I and the parties ask you
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09:58:19    1   this morning.

09:58:20    2           As I said, please listen carefully to all of the

09:58:24    3   questions, and don't be timid about speaking up if you

09:58:28    4   think they apply to you.

09:58:29    5           Now, I would like to have everybody give us a

09:58:34    6   little bit of basic information about yourselves.

09:58:38    7           We'll start with -- Ms. Ayers [sic], if you would,

09:58:44    8   come to the microphone, please.        And tell us your name,

09:58:54    9   where you live, your city of residence, your occupation,

09:58:58   10   favorite thing to do in your spare time, and if you're

09:59:01   11   married, your spouse's name and occupation.

09:59:05   12           PANEL MEMBER:      My name is Colby Ayers.        I live in

09:59:08   13   White Oak.     I work at Halliburton.     I'm a frac hand.

09:59:14   14           THE COURT:     Could you come up to the microphone

09:59:15   15   for me a little bit?

09:59:17   16           PANEL MEMBER:      Is that okay?

09:59:18   17           THE COURT:     What did you say you did for

09:59:20   18   Halliburton?

09:59:21   19           PANEL MEMBER:      I'm a frac hand for hydraulic

09:59:23   20   fracturing.

09:59:25   21           THE COURT:     Okay.    All right.     So start over if

10:00:01   22   you would.

10:00:02   23           PANEL MEMBER:      My name is Colby Ayers.        I live in

10:00:04   24   White Oak.     I'm a frac hand for Halliburton.        I spend a lot

10:00:09   25   of time away from home.      I work long hours.      Free time, I
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10:00:13    1   just like to relax.

10:00:15    2              THE COURT:   Okay.

10:00:15    3              PANEL MEMBER:   Spend time with family and friends.

10:00:18    4              THE COURT:   Okay.    All right.    Thank you,

10:00:20    5   Mr. Ayers.

10:00:22    6              Ms. Ray?

10:00:25    7              PANEL MEMBER:   My name is Wilma Ray.       I reside in

10:00:29    8   Tyler.     I am an employee of the Smith County Tax Office

10:00:33    9   where I am a title clerk there.        I've worked there for

10:00:36   10   26 years.     I am married.     I have two sons, six

10:00:40   11   grandchildren, five great-grandchildren.          And my hobbies

10:00:44   12   and my free time is gardening and watching movies and

10:00:49   13   reading.

10:00:50   14              THE COURT:   All right.    Thank you, ma'am.

10:00:52   15              Let's see, Ms. Glezen?

10:00:58   16              PANEL MEMBER:   My name is Kelsie Glezen.        I reside

10:01:04   17   in Tatum.

10:01:04   18              THE COURT:   Could you get a little closer?

10:01:04   19              PANEL MEMBER:   My name is Kelsie Glezen.        I live

10:01:08   20   in Tatum.     And I work for Llama.     It's a gas station in

10:01:11   21   Longview.     I have no kids.     I'm not married.     And in my

10:01:14   22   free time, I spend time with my family.

10:01:18   23              THE COURT:   All right.    Thank you, ma'am.

10:01:22   24              Ms. Stanford?

10:01:25   25              PANEL MEMBER:   My name is Debbie Stanford.         I'm an
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10:01:28    1   activity director.       I live in Grand Saline.        I've worked in

10:01:33    2   the healthcare field for 35 years.          My husband is a miner

10:01:38    3   at Morton Salt Company.       And we like to go to the lake and

10:01:41    4   fish a lot whenever we're off.

10:01:43    5              THE COURT:     All right.    Thank you, ma'am.

10:01:44    6              Ms. Vaughan?

10:01:48    7              PANEL MEMBER:     My name is Karen Vaughan.       I live

10:01:51    8   in Flint.     I work in the financial industry for the last

10:01:56    9   27 years.     My husband is retired from the coal industry.

10:02:05   10   Free time is spent with family and friends.

10:02:09   11              THE COURT:     Thank you.

10:02:13   12              Mr. Mitchell?

10:02:24   13              PANEL MEMBER:     My name is Steve Mitchell.       I'm

10:02:27   14   from Henderson.     I'm retired.       I have a wife.     She works

10:02:31   15   for Lowe's.     And in my spare time, I piddle around the

10:02:34   16   house.

10:02:35   17              THE COURT:     All right.    Thank you, Mr. Henderson.

10:02:38   18              Mr. Hailey?

10:02:42   19              PANEL MEMBER:     Artie Hailey.    Mabank, Texas.        I

10:02:46   20   work for the City of Dallas for 28 years, been married 44,

10:02:52   21   got two kids, and I enjoy woodworking.

10:02:58   22              THE COURT:     All right.    Thank you, sir.

10:03:00   23              Mr. Gross?

10:03:07   24              PANEL MEMBER:     Good morning.    I'm Freeman Gross,

10:03:09   25   III.     I go by Trey.    I grew up in Van.     I live in Tyler,
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10:03:14    1   have for the last 20 years.       I'm a senior store manager for

10:03:19    2   Helzberg Diamonds.       August will be 33 years with the

10:03:22    3   company.    Married for almost 28 years.       My wife, Dana,

10:03:27    4   works for Bassett Furniture here in town.

10:03:33    5              THE COURT:    Thanks, Mr. Gross.

10:03:39    6              Ms. Willis?

10:03:42    7              PANEL MEMBER:    My name is Karen Michelle Willis.

10:03:47    8   I go by Michelle.       I'm an administrative assistant for an

10:03:52    9   insurance office.       My husband is retired.     And in my spare

10:03:56   10   time, I help him rebuild old cars.

10:03:59   11              THE COURT:    All right.   Thank you, Ms. Willis.

10:04:02   12              Mr. Bostic?

10:04:04   13              PANEL MEMBER:    My name is Todd Bostic.       I live in

10:04:09   14   Gun Barrel City.     I sell health and life insurance.         My

10:04:14   15   wife works for an IT health company.         In my spare time, I

10:04:20   16   just like spending it with my family.

10:04:22   17              THE COURT:    All right.   Mr. -- is it Lambeth?

10:04:27   18              PANEL MEMBER:    Yes, Your Honor.     My name is Jim

10:04:45   19   Lambeth.    I'm an attorney with the Linebarger Law Firm here

10:04:48   20   in Tyler, former Assistant DA in Smith County.           Married for

10:04:50   21   35 years, three children, three grandchildren -- two

10:04:53   22   adopted actually but still grandchildren.          Exchange

10:04:59   23   students.    Two of those in Tyler, Texas.        Take care of

10:05:04   24   kids, parents, family, a little bit of gardening, a little

10:05:12   25   repairing on the house.
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10:05:12    1            THE COURT:     I bet you've tried a few cases in your

10:05:14    2   day?

10:05:16    3            PANEL MEMBER:        55.

10:05:16    4            THE COURT:     55.

10:05:17    5            PANEL MEMBER:        To jury trial.

10:05:18    6            THE COURT:     Thank you, sir.

10:05:20    7            Ms. Lawrence?

10:05:23    8            PANEL MEMBER:        My name is Ronda Lawrence.     I work

10:05:35    9   for Encore Electric.     My husband works for Tyler Car &

10:05:40   10   Truck.   And enjoy hanging out with family.

10:05:43   11            THE COURT:     Thank you, ma'am.

10:05:55   12            Let's see, Ms. Skoog (pronouncing)?

10:05:55   13            PANEL MEMBER:        Skoog.

10:06:00   14            THE COURT:     Skoog.      Sorry about that.

10:06:00   15            PANEL MEMBER:        That's okay.     My name is Sandra

10:06:02   16   Skoog.   I live in Longview.        I'm a retired school

10:06:07   17   counselor.   My husband is a chemical engineer for Eastman.

10:06:10   18   And we love to travel.        We have one son and daughter-in-law

10:06:13   19   and a grandson.

10:06:14   20            THE COURT:     Thank you, ma'am.

10:06:15   21            Ms. Johnson.

10:06:20   22            PANEL MEMBER:        My name is Judy Johnson.     I live in

10:06:23   23   Quitman, Texas, where I am an 8th grade science teacher.               I

10:06:28   24   have four children, three of which are still here.            And in

10:06:31   25   my spare time, I chase them around, along with my husband
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10:06:36    1   who is a paramedic.

10:06:37    2              THE COURT:    Thank you, ma'am.

10:06:38    3              Ms. Rogers?

10:06:45    4              PANEL MEMBER:    My name is Joan Rogers.       I was born

10:06:49    5   and raised in northwest Kansas, so I'm not a native Texan.

10:06:56    6   I've been living here --

10:06:56    7              THE COURT:    But you got here as quickly as you

10:06:59    8   could?

10:06:59    9              PANEL MEMBER:    Yeah, just in time for the cold

10:07:01   10   weather that I left when I came to Texas.

10:07:03   11              Anyway, I have been widowed for about three and a

10:07:07   12   half years.     I live with my daughter.      I'm a regional

10:07:11   13   financial assistant --

10:07:16   14              THE COURT:    Did you say for Christus?

10:07:19   15              PANEL MEMBER:    Christus.   In my spare time, I like

10:07:22   16   to listen to music and in the winter I'm an avid football

10:07:27   17   fan.     Go Chiefs.

10:07:28   18              THE COURT:    Thank you, Ms. Rogers.

10:07:30   19              Mr. Wilkinson?

10:07:38   20              PANEL MEMBER:    My name is Larry Wilkinson.        I have

10:07:46   21   three small businesses in the pet care industry.            I live in

10:07:47   22   Henderson, Texas.       In my spare time, what little I have, I

10:07:52   23   enjoy some cycle riding and spending time with the

10:07:56   24   grandchildren -- two daughters, five grandchildren.

10:07:59   25   Married.     My wife works at a -- she's a librarian for a
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10:08:04    1   local school district.

10:08:06    2              THE COURT:     All right.    Thank you, Mr. Wilkinson.

10:08:09    3              Ms. Rodgers?

10:08:10    4              PANEL MEMBER:     Good morning.    My name is Celsey

10:08:18    5   Rodgers.    I have two children, which are in school.          And my

10:08:20    6   husband works for Bi-State Energy.          I work for Trinity

10:08:25    7   Valley Community College, and I also work for Texas

10:08:29    8   Department of Criminal Justice for offenders and free world

10:08:35    9   college enrollment students.          And in my spare time, I spend

10:08:39   10   time with my children and kids.

10:08:41   11              THE COURT:     Thank you, ma'am.

10:08:49   12              Mr. Bittick?

10:08:52   13              PANEL MEMBER:     Brian Bittick.    I'm an insurance

10:08:54   14   agent for 35 years.       My wife is a real estate agent for 20.

10:08:58   15   And I live in Kilgore.       I spend time with my grandkids and

10:09:02   16   kids when I can and mow the yard too much.

10:09:11   17              THE COURT:     All right.    Thank you, Mr. Bittick.

10:09:15   18              Ms. Elson?

10:09:16   19              PANEL MEMBER:     My name is Hannah Elson.      I work

10:09:21   20   for Visiting Angels out of Longview, home health.            I have

10:09:26   21   one daughter, and I'm not married.

10:09:28   22              THE COURT:     Okay.    Thank you, Ms. Elson.

10:09:30   23              Ms. Miller?

10:09:39   24              PANEL MEMBER:     My name is Kelly Miller, and I work

10:09:43   25   at Trane.    I am married.        I have two kids and one grandkid.
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10:09:47    1   And all my spare time, we just like to spend time at home

10:09:51    2   and have barbecues.

10:09:55    3              THE COURT:   All right.     Thank you, Ms. Miller.

10:09:58    4              Mr. Lyle?

10:09:59    5              PANEL MEMBER:   Good morning.     My name is Lance

10:10:02    6   Lyle.   I'm a supervisor for the distribution department for

10:10:07    7   Tyler Pipe.    I have been married for seven years.          Me and

10:10:11    8   my wife adopted twin baby girls about a year and a half

10:10:16    9   ago, and that's obviously something I like to brag about

10:10:18   10   and talk about in my free time.        And I also work out.

10:10:23   11              THE COURT:   Well, I have twins, too, Mr. Lyle, and

10:10:26   12   I will tell you, you will survive.

10:10:28   13              PANEL MEMBER:   They just started walking.

10:10:30   14              THE COURT:   You may not -- oh, well, that's --

10:10:31   15   then your life got a whole lot more complicated.

10:10:35   16              PANEL MEMBER:   Everything everybody says is true.

10:10:37   17              THE COURT:   It is.

10:10:37   18              PANEL MEMBER:   Yes, sir.

10:10:38   19              THE COURT:   You have to go to a zone defense.         No

10:10:42   20   more man-to-man defense.

10:10:44   21              PANEL MEMBER:   It takes a team for sure.

10:10:46   22              THE COURT:   It does.     Good luck with that.

10:10:49   23              Let's see.   Ms. Assenheimer?

10:10:56   24              PANEL MEMBER:   My name is Devin Assenheimer.         I'm

10:11:01   25   a nurse.    And my fiance is a forester.       And in my free time
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10:11:09    1   I like to fish and hike or do anything that's outdoors.

10:11:13    2             THE COURT:    Okay.   Thank you.

10:11:24    3             Let's see, Ms. Decco?

10:11:27    4             PANEL MEMBER:    My name is Tanya Decco.        I work

10:11:33    5   for -- I'm a cashier at Super 1 Foods in Longview, Texas.

10:11:40    6   My mother has COPD.      It's getting severe.      I'm taking care

10:11:45    7   of her.     And my husband -- I am married for eight years.

10:11:48    8   My husband is disabled.      He had -- he has personal reasons

10:11:55    9   why he's on disability.      If you need to know, I'll be glad

10:12:00   10   to share.

10:12:02   11             THE COURT:    That's okay.

10:12:03   12             PANEL MEMBER:    I have one stepdaughter and a

10:12:06   13   grand -- grand-baby by her.       I have a son that's in the

10:12:11   14   Navy, active.     And I have a 12-year old that I'm also

10:12:19   15   taking care of.

10:12:21   16             THE COURT:    Yes, ma'am.

10:12:22   17             PANEL MEMBER:    I thought that we're supposed to

10:12:25   18   tell you the reason why --

10:12:27   19             THE COURT:    Well, at the very end we'll discuss

10:12:30   20   about what would make this week a difficult week for you to

10:12:37   21   serve as a juror.      Sounds like you've got your plate full

10:12:41   22   as it is.

10:12:42   23             PANEL MEMBER:    I really do.

10:12:43   24             THE COURT:    I understand.     We'll get through the

10:12:45   25   voir dire process, and the attorneys may have some
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10:12:48    1   questions for you, but we'll address what we call hardship

10:12:51    2   things at the very end.      But I appreciate your comments,

10:12:55    3   Ms. Decco.

10:12:57    4              PANEL MEMBER:   Okay.     For my spare time, I just

10:12:59    5   like taking care of my child and everybody else -- pretty

10:13:04    6   much everybody else.

10:13:04    7              THE COURT:   Doesn't sound like you have much spare

10:13:09    8   time.

10:13:09    9              PANEL MEMBER:   I don't.

10:13:11   10              THE COURT:   All right.     Thank you, ma'am.

10:13:11   11              PANEL MEMBER:   Thank you.

10:13:12   12              THE COURT:   Ms. Morrow?

10:13:23   13              PANEL MEMBER:   My name is Sheila Morrow.        I'm a

10:13:27   14   widow.     I live in Chapel Hill.     I have two kids.      Music.

10:13:40   15              THE COURT:   Okay.   Thank you, ma'am.

10:13:43   16              Okay.   I'm now going to ask counsel for the

10:13:47   17   Plaintiff to introduce himself and his client, as well as

10:13:52   18   members of their team who will be presenting this case, as

10:13:58   19   well as any witnesses who will testify during the

10:14:00   20   Plaintiff's presentation of its case-in-chief.

10:14:04   21              As he comes forward to speak to you, I'm going to

10:14:10   22   ask the panel to have a few questions in mind for the

10:14:13   23   people who are introduced and identified.          Do you know the

10:14:19   24   people who are introduced or identified?          Are you related

10:14:25   25   to them?     Do you have any kind of connection to them at
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10:14:30    1   all, a social connection, a business connection, through

10:14:37    2   church or the community or something like that?           Have you

10:14:39    3   had any kind of business dealings with them?

10:14:42    4              With respect to the attorneys, were you ever

10:14:45    5   represented by them or by members of their law firm?

10:14:49    6   Really, just any kind of knowledge about or familiarity

10:14:52    7   with any of the people who are either introduced here in

10:14:55    8   the courtroom or identified.

10:14:57    9              Mr. Bennett?

10:15:00   10              MR. BENNETT:     Thank you, Your Honor.     Joshua

10:15:03   11   J. Bennett here on behalf of Lone Star Technological

10:15:06   12   Innovations, LLC.

10:15:06   13              THE COURT:     Mr. Bennett, if you would go to the

10:15:09   14   podium.

10:15:10   15              MR. BENNETT:     Yes, Your Honor.    Here with us is

10:15:13   16   Jesse Rice on behalf of Lone Star.        My co-counsel is John

10:15:21   17   Saba.     And Jason Bloom is here with us, as well.         We have

10:15:25   18   other lawyers who may help us out who couldn't fit into the

10:15:28   19   room.     But Monica Litle and Brad Liddle who work with me in

10:15:33   20   my office.     And then John Lee who is a lawyer out of

10:15:38   21   California.     So that's my legal team and our client.

10:15:40   22              Our witnesses will be -- our first witness will be

10:15:43   23   Mr. Rice, and then we'll call on other witnesses -- a

10:15:46   24   couple of experts.      One will be Dr. Al Ducharme, as well as

10:15:52   25   Glenn Perdue.     So those will be our witnesses.        There will
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10:15:56    1   be witnesses called, as well, from the other side, so those

10:16:00    2   are our witnesses and parties, Your Honor.

10:16:05    3           THE COURT:     Thank you, Mr. Bennett.

10:16:06    4           Okay.    So, ladies and gentlemen of the panel, of

10:16:09    5   the people introduced by Mr. Bennett or identified as

10:16:12    6   potential witnesses in the case, do any of you know any of

10:16:16    7   them, any -- any relationship with them?          With respect to

10:16:20    8   the attorneys, have you ever been represented by them or by

10:16:23    9   members of their firm?     Are you related to anybody, know

10:16:28   10   them in any way, go to church with anyone?

10:16:33   11           I take it by your silence, no one is familiar with

10:16:36   12   any of those folks.     Okay.   All right.

10:16:39   13           Very well.     Let me ask Mr. Joshi to come forward

10:16:43   14   at this time.

10:16:45   15           Oh, I'm sorry.      Mr. Oliver, you're selecting the

10:16:48   16   jury.

10:16:50   17           Mr. Oliver, if you would, please go to the podium,

10:16:52   18   and we'll do the same thing with respect to the Defendants.

10:16:55   19           And, ladies and gentlemen, I'll ask you to have

10:16:57   20   the same questions in mind for the people introduced by

10:17:01   21   Mr. Oliver and identified by him as witnesses in the case.

10:17:08   22           MR. OLIVER:     Thank you, Your Honor.

10:17:09   23           Good morning.      I think it's still morning.         My

10:17:11   24   name is Andrew Oliver.     I'm a lawyer for ASUSTeK.         I'll

10:17:16   25   probably refer to them as ASUS during the course of the
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10:17:19    1   trial.

10:17:20    2             I am in Tyler from time to time but haven't been

10:17:24    3   here since before COVID.      So if you saw me before and knew

10:17:28    4   me from before, then you would have seen me with a

10:17:31    5   respectable hair cut, not a long haircut that my pastor

10:17:35    6   almost didn't recognize me in.

10:17:37    7             My co-counsel is Vinay Joshi.        We worked together

10:17:41    8   as lawyers for about twenty -- we started working together

10:17:44    9   about 20 years ago.

10:17:46   10             Mr. Michael McCarady is going to be the corporate

10:17:52   11   representative for ASUS.      He is from Dallas, lived in

10:17:56   12   Dallas long-term.     ASUS tried to send him out of Texas, and

10:18:00   13   he refused.   But Mr. McCarty represents -- works in

10:18:06   14   customer service and has teams that all over South America

10:18:10   15   and Central America and some of the United States that he

10:18:14   16   supervises for ASUS.

10:18:15   17             We're going to have a few witnesses that are not

10:18:18   18   here today.   Jaime or Jaime Morquecho.        He is from

10:18:22   19   California, works for ASUS.

10:18:25   20             Mr. Alvin Lin will be a witness.        He is from

10:18:31   21   Taiwan.   It's probably unlikely you have met him, but I

10:18:34   22   wanted to give his name just in case.

10:18:42   23             Dr. Robert Stevenson, you may have seen him

10:18:47   24   briefly walk in.    He is a professor at the University of

10:18:47   25   Notre Dame.   He'll be testifying.
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10:18:55    1           And also Brett Reed, who you may have seen walk in

10:18:55    2   earlier -- and they both left when they were asked to

10:19:00    3   leave -- is a witness from a company called Competition

10:19:00    4   Economics.

10:19:01    5           We won't have any other lawyers coming into the

10:19:04    6   courtroom, and those are all the witnesses and the

10:19:06    7   corporate representative.

10:19:09    8           THE COURT:     Thank you, Mr. Oliver.

10:19:11    9           So, ladies and gentlemen, of the people who were

10:19:16   10   introduced or identified by Mr. Oliver as either attorneys

10:19:20   11   working in the case or witnesses in the matter, do any of

10:19:26   12   you know any of them, familiar with them at all, or related

10:19:30   13   to them at all, go the church with them?          Anyone have any

10:19:35   14   familiarity at all with any of the people identified or

10:19:38   15   introduced by Mr. Oliver?

10:19:40   16           Okay.    I take it by your silence, you do not.

10:19:43   17           Now, my next question relates to prior jury

10:19:51   18   service you all have -- may have had.         And so I'm looking

10:19:53   19   for a number of categories.       It can be any kind of a case,

10:19:57   20   a criminal case or a civil case, or a -- were you've served

10:20:00   21   as members of a jury or a grand jury, either in state court

10:20:05   22   or federal court.    I just need to know generally what kind

10:20:08   23   of case it was, where it was, and whether the jury reached

10:20:11   24   a verdict.

10:20:13   25           So anybody on the left side of the room already
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10:20:16    1   served on a jury?

10:20:18    2             All right.   Let's just take it row by row.

10:20:21    3             We'll start with you, Ms. Vaughan.

10:20:25    4             Ms. Vaughan, would you come forward, please.

10:20:29    5             PANEL MEMBER:    Previously, I've served on two

10:20:33    6   juries.   One was an assault case, and one was a shoplifting

10:20:37    7   case.

10:20:38    8             THE COURT:   Were both of those in Smith County?

10:20:40    9             PANEL MEMBER:    They were.

10:20:41   10             THE COURT:   And did a jury reach a verdict in both

10:20:44   11   cases?

10:20:47   12             PANEL MEMBER:    Yes.

10:20:47   13             THE COURT:   Okay.      Thank you, ma'am.

10:20:48   14             All right.   Who else?

10:20:52   15             Let's see.   Yes, sir.      Mr. Hailey?     If you'll just

10:20:54   16   come forward.

10:20:54   17             PANEL MEMBER:    I was on two trials.        Both civil.

10:20:58   18             THE COURT:   And whereabouts was that?

10:20:59   19             PANEL MEMBER:    One was in Dallas back in the '70s,

10:21:02   20   and one was in Van Zandt County about two years ago.

10:21:07   21             THE COURT:   All right.      Did you reach a verdict

10:21:10   22   both times?

10:21:12   23             PANEL MEMBER:    Yes, sir.

10:21:12   24             THE COURT:   Okay.      Thank you, Mr. Hailey.

10:21:15   25             Who else in the first -- Mr. Mitchell?
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10:21:27    1           PANEL MEMBER:      I served on -- I served on one in

10:21:31    2   Henderson -- Rusk County.      It was a sexual case, and we

10:21:32    3   found him not guilty.

10:21:34    4           THE COURT:     Okay.      Thank you, sir.

10:21:42    5           Mr. Bostic?

10:21:44    6           PANEL MEMBER:      I served on one, and it was a

10:21:47    7   statutory rape case, and it was -- he was found guilty.

10:21:51    8           THE COURT:     Okay.      Thank you, sir.

10:21:53    9           Mr. Lambeth, did you raise your hand?

10:21:57   10           PANEL MEMBER:      Yes.     Yes, Your Honor.

10:22:04   11           I served on a civil case that was a contract

10:22:09   12   dispute case out of Kaufman County.

10:22:12   13           THE COURT:     And where was it?

10:22:13   14           PANEL MEMBER:      Kaufman County --

10:22:13   15           THE COURT:     Kaufman.

10:22:13   16           PANEL MEMBER:      -- where I formerly lived.

10:22:17   17           THE COURT:     Oh, okay.      All right.     Reach a verdict

10:22:17   18   in that case?

10:22:19   19           PANEL MEMBER:      Yes, Your Honor, we did.

10:22:21   20           THE COURT:     Okay.      Thank you, sir.

10:22:21   21           Let's -- right side of the room.            Ms. Skoog?

10:22:28   22           PANEL MEMBER:      I previously served in a civil

10:22:30   23   trial in Gregg County, personal injury, and it was probably

10:22:34   24   about 30 years ago.

10:22:36   25           THE COURT:     Reach a verdict?
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10:22:36    1            PANEL MEMBER:     Yes, we did.

10:22:38    2            THE COURT:    Okay.      Who else?

10:22:40    3            Let's see, Ms. Rodgers?

10:22:43    4            PANEL MEMBER:     I served on a trial, DWI, in

10:22:46    5   Anderson County.

10:22:47    6            THE COURT:    Reach a verdict?

10:22:49    7            PANEL MEMBER:     Yes.

10:22:49    8            THE COURT:    Thank you, ma'am.

10:22:57    9            Who else on the right side of the room?           Anybody

10:22:59   10   else?   Nobody else?

10:23:01   11            Okay.   All right.       My next question relates to any

10:23:05   12   previous involvement that you may have had, a family member

10:23:09   13   might have had, or a close, personal friend might have had

10:23:12   14   in some sort of a legal proceeding.           And -- so it can be

10:23:16   15   any court, it can be a criminal matter, it can be a civil

10:23:20   16   matter that concerned yourself, a member of your family, or

10:23:24   17   close personal friend, and the categories are Plaintiff,

10:23:30   18   Defendant, witness, or victim.

10:23:33   19            And I don't need to know a lot of details or you

10:23:35   20   know, exactly what happened.        If you'd just generally tell

10:23:39   21   me what kind of case it was and sort of which categories

10:23:44   22   you would fall in, in that regard.

10:23:47   23            All right.    Left side of the room.        Anybody?

10:23:50   24            Ms. Vaughan, if you would.

10:23:57   25            PANEL MEMBER:     It was a child custody case for my
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10:24:00    1   grandchildren.

10:24:00    2           THE COURT:     Okay.      Thank you, ma'am.

10:24:11    3           Who else on the left side of the room?            Anyone

10:24:13    4   else on the left side of the room?

10:24:15    5           Right side of the room?

10:24:18    6           Yes, ma'am.     Ms. Johnson?

10:24:19    7           PANEL MEMBER:      I was a Plaintiff in a medical

10:24:20    8   malpractice suit for my mother's death.

10:24:24    9           THE COURT:     Okay.      Thank you, ma'am.

10:24:34   10           Mr. Wilkinson?

10:24:34   11           PANEL MEMBER:      I had a case on an adoption in Rusk

10:24:38   12   County for my daughter.

10:24:39   13           THE COURT:     Where you -- when you were adopting

10:24:41   14   her?

10:24:41   15           PANEL MEMBER:      Yes.

10:24:42   16           THE COURT:     Okay.      Thank you, Mr. Wilkinson.

10:24:46   17           Who else on the right side of the room?

10:24:50   18           Ms. Miller?

10:24:58   19           PANEL MEMBER:      For my son.     He had got in trouble

10:25:01   20   with -- got caught with some marijuana, so...

10:25:05   21           THE COURT:     Okay.      All right.   Thank you, ma'am.

10:25:06   22           Who else on the right side of the room?

10:25:08   23           Yes, sir.     Mr. Bostic?

10:25:12   24           PANEL MEMBER:      I don't know if this counts.         My

10:25:14   25   wife and I had to go to court over the adoption of my son.
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10:25:18    1             THE COURT:     That's fine.      That's fine.     Thank you

10:25:20    2   for telling me that.

10:25:21    3             One more.

10:25:22    4             Ms. Rodgers?

10:25:26    5             PANEL MEMBER:     This is very difficult for me to

10:25:28    6   even say.   I'm not sure if it's going to be a case or -- or

10:25:32    7   a case.

10:25:33    8             THE COURT:     Yes, ma'am.

10:25:34    9             PANEL MEMBER:     My brother was murdered a month

10:25:36   10   ago.

10:25:36   11             THE COURT:     Oh, ma'am, I'm so sorry.

10:25:38   12             PANEL MEMBER:     So I'm not sure if there will be

10:25:41   13   justice or not.

10:25:42   14             THE COURT:     Okay.   Okay.     All right.     Thank you

10:25:44   15   for telling me that, Ms. Rodgers.

10:25:48   16             PANEL MEMBER:     I have a family member -- sorry --

10:25:50   17   that was involved with a drug case.

10:25:51   18             THE COURT:     All right.      Thank you, ma'am.

10:25:54   19             Anyone else?

10:25:57   20             So let me just -- of those who came forward and

10:26:01   21   told us a little bit about your involvement with the

10:26:05   22   judicial system prior to today, is there anything about

10:26:09   23   anyone's experience that you think would make it difficult

10:26:14   24   for you to serve as a juror in this case and be fair and

10:26:19   25   impartial to both sides?
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10:26:21    1           Is there anything about your experience with

10:26:24    2   the -- our justice system in light of that experience that

10:26:31    3   would -- that would sort of start you out, before you know

10:26:36    4   anything about the facts of this case, leaning one side or

10:26:40    5   the other?    Anybody think they would have any trouble

10:26:44    6   setting any previous experience aside?

10:26:47    7           I take it by your silence you would not.

10:26:50    8           All right.     My next question is this:        Will you,

10:26:55    9   if you are selected to be a member of this jury, be able to

10:27:00   10   render a verdict that is solely based on the evidence that

10:27:04   11   is presented at trial and in the context of the law as I

10:27:09   12   give it to you in my instructions, disregarding any other

10:27:14   13   ideas or notions or beliefs about the law that you may have

10:27:20   14   encountered in reaching your verdict?

10:27:26   15           Does anyone think they would have any trouble

10:27:28   16   doing that?    I take it by your silence you would not.

10:27:31   17           If you're selected as a juror in this case, one of

10:27:36   18   the rules that I will tell you about is that you can't talk

10:27:39   19   about the case with anyone until all of the evidence has

10:27:43   20   been presented and you have been instructed on the law.

10:27:46   21   That means you can't talk to your family members in the

10:27:50   22   evenings about it, you can't talk to your fellow jurors

10:27:54   23   during the course of the trial, until at the very end and I

10:27:57   24   tell you, you can begin your deliberations at that point.

10:28:02   25           So that means you -- you can't communicate with
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10:28:05    1   anyone in any way, whether in writing or email or text

10:28:09    2   messaging or commenting or blogging on any social media

10:28:18    3   site like Twitter or Facebook or Instagram or any of those.

10:28:26    4   And if you feel like you would have trouble doing that,

10:28:30    5   then you can't let yourself become a member of the jury in

10:28:33    6   this case.

10:28:34    7            Is there anyone here today who would not be able

10:28:37    8   to comply with that restriction?

10:28:40    9            Okay.    I take it by your silence you all could.

10:28:43   10            I will also instruct you that you cannot conduct

10:28:47   11   any type of independent or personal research or

10:28:51   12   investigation regarding any of the matters involved in this

10:28:54   13   case.   So you can't use your cellphone or a tablet or a

10:29:01   14   computer or any kind of device to do any kind of research

10:29:05   15   or investigation regarding the case, the matters in the

10:29:07   16   case, the legal issues, the parties involved, or the

10:29:10   17   attorneys involved.

10:29:11   18            So in the evenings, you can't go home and, you

10:29:15   19   know, Google the parties' names or the attorneys' names or

10:29:22   20   try to find out anything about the case.

10:29:24   21            Likewise, if you happen inadvertently to come

10:29:28   22   across any type of information, you must ignore that

10:29:33   23   information.     I doubt there will be anything in the

10:29:36   24   newspapers about this case or on television or the radio,

10:29:41   25   but if there is, I would ask that you just ignore that, and
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10:29:45    1   don't read the article or change the -- change the channel.

10:29:52    2            Having said that, if you feel you cannot follow my

10:29:56    3   instructions in that regard, again, you can't let yourself

10:29:59    4   become a member of the jury.

10:30:01    5            Is there anyone here who feels like they could not

10:30:05    6   comply with my instructions in that regard?

10:30:08    7            All right.    I take it by your silence, you could

10:30:11    8   all follow the rules on that.

10:30:14    9            Is there any other reason that you could think

10:30:17   10   about that you could not sit on the jury in this case and

10:30:21   11   render a verdict, a fair verdict based upon the evidence

10:30:27   12   that's presented to you and in the context of the

10:30:30   13   instructions I give you about the law that you are to

10:30:35   14   apply?   Is there anyone who would not be able to do that?

10:30:45   15            All right.    I want to say a couple more things

10:30:48   16   before I turn the questioning over to the parties.

10:30:53   17            The jurors who are selected will actually serve in

10:30:56   18   the role of judges of the facts and will make the sole

10:31:00   19   determination about what the facts are in the case.

10:31:06   20            My job as the Judge is to rule on questions of

10:31:09   21   law, evidence, and procedure, and to control the courtroom

10:31:11   22   and the flow of the trial.

10:31:13   23            I want to say a couple of things about our

10:31:16   24   judicial system that will hopefully put things in proper

10:31:21   25   perspective.   Our judicial system is an adversary system.
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10:31:30    1   That means that during the trial, each side and their

10:31:33    2   lawyers are going to try to present their respective cases

10:31:36    3   to the jury in the very best light possible.

10:31:38    4           And with regard to the lawyers, they, I know --

10:31:41    5   not these particularly but larger -- lawyers as a whole

10:31:46    6   sometimes are criticized by the public and the media, and I

10:31:50    7   think this often results from a basic misunderstanding of

10:31:54    8   our adversary system in which lawyers are required to act

10:32:02    9   as advocates for competing parties and are ethically and

10:32:06   10   legally obligated to zealously assert his or her client's

10:32:11   11   position under the rules of our system.

10:32:13   12           By presenting the very best case possible, I think

10:32:18   13   that attorneys assist the jurors in better weighing the

10:32:24   14   relevant evidence in order for the jury to determine the

10:32:27   15   truth and to arrive at a just verdict based on the

10:32:37   16   evidence.

10:32:37   17           This is a system of justice that has served our

10:32:41   18   nation well for more than 200 years.         And our lawyers --

10:32:44   19   America's lawyers have been and continue to be a critical

10:32:47   20   part of that process.

10:32:47   21           So as the trial goes forward, I may frown at these

10:32:53   22   attorneys from time to time, I may growl at them from time

10:32:56   23   to time, but it's just because I'm trying to make sure they

10:32:59   24   don't get outside the boundaries of our adversary system

10:33:03   25   and our rules of procedure.       But I would ask that you keep
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10:33:06    1   in mind that they're just doing their jobs, and I think

10:33:08    2   it's all important for us -- all of you to be aware that

10:33:12    3   that's the case as we go forward.

10:33:13    4           The parties will now have an opportunity to ask

10:33:16    5   some questions of you.     Again, there are no wrong answers.

10:33:23    6   As long as your answer is a truthful response to the

10:33:26    7   question that's asked, that's the right answer.

10:33:29    8           The lawyers and their clients are entitled to the

10:33:32    9   information to be gained through these questions, and they

10:33:34   10   are not here to unduly pry into your private affairs but to

10:33:40   11   gather information for the purpose of selecting a fair and

10:33:43   12   impartial jury.

10:33:48   13           Now, if I don't think they're entitled to ask a

10:33:51   14   question, I'll certainly let them know that, but these

10:33:54   15   attorneys are familiar with the rules of our court and I

10:33:57   16   know they will follow those.

10:33:58   17           Again, if any of you have any serious hesitancy at

10:34:03   18   all about answering a question in front of the entire

10:34:05   19   panel, just let me know that, and we can deal with that at

10:34:09   20   the very end.

10:34:10   21           I will now allow counsel for the Plaintiff to voir

10:34:16   22   dire the jury.

10:34:16   23           MR. BENNETT:      Thank you, Your Honor.       May I have a

10:34:18   24   five-minute warning, please, Your Honor?

10:34:20   25           THE COURT:     Yes.
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10:34:21    1            MR. BENNETT:     Thank you.

10:34:25    2            Ladies and gentlemen of the jury panel, I'll echo

10:34:27    3   the Judge's appreciation.        We appreciate you taking time

10:34:31    4   out of your lives to do your civic duty.

10:34:35    5            Y'all shared information about yourselves.            I

10:34:37    6   think it's only fair I do the same.         I have been married

10:34:42    7   21 years.     I have four kids.     And if Judge and Mr. Lyle

10:34:46    8   permit me, I'll join the twins club.         The last two I had

10:34:50    9   were twins.     We had my oldest daughter, my boy, and then

10:34:55   10   twins.   It was a surprise, so we quit at four before we had

10:35:00   11   quadruplets.     We stay busy.     When I'm not at work, I'm at

10:35:04   12   home having fun with my family.        We like to hit national

10:35:07   13   parks when we can.     We've hit a few of those.        We've spent

10:35:08   14   time in the Ozarks.     That's what we like to do.

10:35:13   15            So in a prior life, I was a school teacher, and I

10:35:17   16   taught down in McAllen, Texas.        I coached some sports,

10:35:20   17   helped them start their first wrestling team.           Taught

10:35:23   18   government, and that's actually what got me kind of

10:35:25   19   thinking about law.     I taught basically constitutional law

10:35:29   20   to high school seniors, and I made the decision and it's

10:35:32   21   been a good decision.

10:35:33   22            But teaching is a little bit what we're talking

10:35:35   23   about today.     We call it patents, but that's what patents

10:35:39   24   do, they teach.     They teach an idea to the public.         And

10:35:41   25   that's what we're here to talk about, an idea, an
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10:35:43    1   innovation that Lone Star owns that it's seeking to protect

10:35:46    2   the unauthorized use from another company, and that's ASUS.

10:35:52    3             It's sort of like a rental property.         We open it

10:35:56    4   up to the public.    If they want to come and use it, they

10:35:59    5   have to pay for that use.      Those who take it and don't pay,

10:36:03    6   we have rights to assert.      That's what we're here to do is

10:36:05    7   assert those rights and protect it.

10:36:08    8             I've got the patent here.       It's not terribly long

10:36:11    9   for a patent.   I won't be able to do it justice in the time

10:36:17   10   I have.   I don't have a lot of time.        I need to ask some

10:36:20   11   questions.   But a high level summary of the patent is it's

10:36:23   12   a method -- you'll hear more about this -- for displaying

10:36:28   13   real-time video images on a monitor and a way to enhance

10:36:31   14   and control color use on that monitor, and a change of

10:36:37   15   color and only that one color as desired by the user.             And

10:36:40   16   we'll show later in the trial that that innovation has some

10:36:43   17   value.

10:36:43   18             Now, of course, ASUS -- they deny all that, that

10:36:46   19   they infringe on our rights, that they're using -- we call

10:36:50   20   it infringement.    It's -- trespassing is another way of

10:36:52   21   thinking about that, that they trespass on our rights.

10:36:55   22   They say they don't.

10:36:56   23             They'll also say that we've overstated what we

10:37:00   24   think the worth of that invention is.         They think it's

10:37:03   25   pennies on the dollar at best, and we say it's worth a lot
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10:37:06    1   more than that, 57 cents or so.        Multiplied over hundreds,

10:37:11    2   maybe thousands of devices, that's gets to be a big

10:37:14    3   difference.     And that's part of our dispute.        We're far

10:37:18    4   apart -- really why we're here, why we need you to help us

10:37:21    5   resolve that dispute.

10:37:23    6              In fact, we really can't do that without you.

10:37:24    7   This is the last refuge we have to resolve that dispute and

10:37:31    8   stick up for our property.

10:37:33    9              So with that background of the case, picking a

10:37:37   10   jury is sort of how I took my ACTs, SATs when I was going

10:37:42   11   to college.     It's sort of you pick what you think works and

10:37:44   12   you eliminate the rest, right?       It's best guess.       So that's

10:37:47   13   really what this is about.      We're asking questions to find

10:37:48   14   out fairness.     The Judge touched on that earlier, right?

10:37:51   15   All of us are a product of our life experiences, and all of

10:37:54   16   those life experiences influence how we lean, one way or

10:37:57   17   the other.     The Judge mentioned that earlier.

10:37:59   18              So, for example, having been a teacher, if this

10:38:02   19   were a case about a teacher maybe giving a little too much

10:38:07   20   discipline, having spent some time in the classroom, I

10:38:09   21   might lean towards that teacher's side because I empathize

10:38:13   22   a little bit.     That's okay to lean.      Lean doesn't

10:38:15   23   disqualify you.     What's wrong is if you lean, and you don't

10:38:19   24   tell us.     That's what we're here to find out, which way do

10:38:19   25   you lean?
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10:38:24    1            So my questions, if I ask them, I'm not picking on

10:38:26    2   you.   If you need a private answer, like the Judge said, we

10:38:30    3   can wait until the end.      You can tell me that, and we'll

10:38:32    4   hold it until the end.     But fairness to both sides is what

10:38:36    5   we're after here.     And so let's just talk about which way

10:38:38    6   you lean on some issues.

10:38:38    7            So let's start with just the obvious one,

10:38:41    8   lawsuits.     How many folks think there's just too many

10:38:46    9   lawsuits?     Anyone out there?

10:38:50   10            PANEL MEMBER:     Too many lawsuits?

10:38:52   11            MR. BENNETT:     Too many lawsuits, yes.       All right.

10:38:55   12   Hands up -- hands up high.

10:38:57   13            Mr. Ayers, tell me about that.         Why do you think

10:39:00   14   there's too many lawsuits.

10:39:02   15            THE COURT:     Mr. Ayers, could you come to the

10:39:05   16   microphone?

10:39:07   17            PANEL MEMBER:     There's enough stuff that people

10:39:11   18   argue about.     I feel like it comes down to whose ego is

10:39:16   19   bigger than whose, and nobody wants to tuck tail and admit

10:39:20   20   a wrongdoing at a time when we're all adults.           You

10:39:23   21   understand someone did something wrong, and it's just -- no

10:39:28   22   one want to feel inferior, I feel like, in life.              It's

10:39:33   23   just -- egos get in the way, and everybody wants to cause

10:39:35   24   an argument and just -- it just happens too much.

10:39:40   25            MR. BENNETT:     Okay.   Thank you, Mr. Ayers.
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10:39:43    1   Appreciate that.     Anyone feel like Mr. Ayers, too many

10:39:46    2   lawsuits?

10:39:46    3             Ms. Skoog?

10:39:48    4             PANEL MEMBER:    Well, I just think there are too

10:39:53    5   many.    I think they're filed frivolously many times, but I

10:39:57    6   also realize that sometimes it's the only way matters get

10:40:00    7   resolved.

10:40:00    8             MR. BENNETT:    Okay.     And so --

10:40:01    9             PANEL MEMBER:    It's a question of number.

10:40:02   10             MR. BENNETT:    Right.     There may be a lot, but each

10:40:05   11   case can be decided on its own merits?

10:40:09   12             PANEL MEMBER:    Right.

10:40:10   13             MR. BENNETT:    And some of them have merit and some

10:40:12   14   don't?

10:40:12   15             PANEL MEMBER:    Right.

10:40:13   16             MR. BENNETT:    Thank you, Ms. Skoog.       Anyone else?

10:40:16   17   Too many lawsuits?

10:40:19   18             Ms. Morrow?

10:40:30   19             PANEL MEMBER:    I just think there's too many --

10:40:30   20             MR. BENNETT:    Is it --

10:40:33   21             PANEL MEMBER:    Like McDonald's.

10:40:33   22             MR. BENNETT:    Okay.     Do you feel, though, like --

10:40:37   23   like Ms. Skoog, that sometimes there may be too many but

10:40:39   24   there's good ones and there's bad ones and that if -- you

10:40:43   25   could weigh the evidence fairly on a good one?
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10:40:46    1              PANEL MEMBER:    Yeah.

10:40:47    2              MR. BENNETT:    Okay.    Let me ask this question.

10:40:49    3   When you got a dispute like this -- please feel free to

10:40:52    4   take your seat, Ms. Morrow.         Thank you.

10:40:55    5              When you have a dispute, you really have two

10:40:57    6   choices.     You can do nothing, right, and let it go?            And

10:41:00    7   some people feel that way, morally that they just should

10:41:04    8   let it go, or you can stick up for yourself and stick up

10:41:08    9   for your rights.

10:41:11   10              Anyone feel like the first way, if you have a

10:41:13   11   right, even if it's trespassed, just -- you feel like that

10:41:16   12   it's wrong to file a lawsuit, you shouldn't file one to

10:41:19   13   enforce your rights?       Even if it's a small -- what if it's

10:41:22   14   a really small right, maybe a tiny piece of property,

10:41:27   15   anybody feel that way, you should just let it go?            No

10:41:31   16   hands?     Okay.

10:41:32   17              How about anyone involved with any associations,

10:41:42   18   East Texans Against Lawsuits, anything like that?            Any

10:41:44   19   hands?     Anyone a part of that?      Okay.

10:41:47   20              Anyone been a witness in a case?        Anybody ever

10:41:50   21   been a witness in a court case?         Okay.    Seeing no hands --

10:41:58   22   oh, sorry.     Yes?

10:42:02   23              PANEL MEMBER:    Again, I was just a witness in a

10:42:04   24   medical malpractice suit with my mom.

10:42:08   25              MR. BENNETT:    Okay.
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10:42:09    1            PANEL MEMBER:     Just a witness, so...

10:42:10    2            MR. BENNETT:     All right.    And any experience there

10:42:13    3   make you feel one way or the other about the -- leaning one

10:42:15    4   way or the other toward Plaintiff or Defendant?

10:42:17    5            PANEL MEMBER:     No, sir.

10:42:18    6            MR. BENNETT:     Okay.   Thank you.

10:42:22    7            Now, I want to talk about Lone Star's business

10:42:25    8   model, all right?     It's going to come up in the case.          We

10:42:28    9   own patents.     In this particular one, there's one patent.

10:42:32   10   We'll call it the '435 patent.        That's how you heard it

10:42:35   11   referred to during the lawsuit.        And when folks infringe on

10:42:38   12   the patent, we sue them because that's what the law permits

10:42:42   13   us to do, to enforce that right, to ensure that that right

10:42:46   14   is maintained.     And we -- we sue, we collect settlements.

10:42:50   15   We also call those licenses.       There's a license right that

10:42:53   16   goes with the patent.

10:42:55   17            So anyone have a problem with that business model?

10:42:57   18   That just sounds strange to you?        You don't like it?

10:43:02   19            Ms. Ray, what do you think about that business

10:43:05   20   model?   Can you come to the mic, ma'am?         Thank you.

10:43:12   21            PANEL MEMBER:     I think it's fine.       I have no

10:43:14   22   problem with it.     If something is going wrong and you think

10:43:20   23   you -- a right or somebody is infringing on your behalf or

10:43:25   24   patent or whatever, they have a right to stick up for it.

10:43:29   25            MR. BENNETT:     Mr. Lambeth, back in the corner
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10:43:32    1   there.   Sorry to pick on you all the way back there, but

10:43:35    2   what do you think about that, what Ms. Ray said?

10:43:43    3            PANEL MEMBER:     I have to plead ignorance.         I don't

10:43:46    4   understand it.     I'm interested in hearing more about it.             I

10:43:49    5   don't really know.

10:43:50    6            MR. BENNETT:     All right.    Anyone feel like

10:43:52    7   Mr. Lambeth?     Not heard much about it?      Don't know much

10:43:57    8   about it?   Hands up high.     Okay.    Most of you.

10:44:00    9            How about anyone here who's sued a company before,

10:44:07   10   other than Ms. Johnson?      Anyone here filed a lawsuit

10:44:15   11   against a company?

10:44:16   12            Mr. Lambeth, I think we understand now you've --

10:44:19   13   you don't have to come all the way up.         As a lawyer, you've

10:44:22   14   had a few trials.     We heard about that.       Thank you.

10:44:24   15            How about in terms of the amount of money asked?

10:44:32   16   You're going to hear later, there's a few million involved

10:44:38   17   in our demand.     Anyone think that's just -- as a

10:44:41   18   categorical matter, just can't award that much in damages?

10:44:45   19   It's just too much for any lawsuit?         Anyone feel that way?

10:44:49   20   No?   Seeing no hands.

10:44:50   21            How about a property owner or an athlete who tries

10:44:54   22   to get top dollar for what they do, for their invention,

10:44:58   23   for their property, for what they contribute?           Anyone have

10:45:01   24   a problem with that, an athlete who holds out, not showing

10:45:05   25   up until you give me my -- my big money contract?             Anyone?
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10:45:09    1           Tell me about that.       Why, Ms. Stanford, please?

10:45:15    2           PANEL MEMBER:      Just a personal belief as far as

10:45:17    3   the athletes go and the money that they get and they have

10:45:21    4   to have, and we have starving children on the street.

10:45:21    5           MR. BENNETT:      Okay.

10:45:24    6           PANEL MEMBER:      It's a personal thing.

10:45:25    7           MR. BENNETT:      Thank you, Ms. Stanford.

10:45:29    8           Mr. Bostic, please?

10:45:34    9           PANEL MEMBER:      I sometimes feel like athletes

10:45:37   10   on -- are not -- whenever they get their contract, they

10:45:44   11   kind of go backwards, if that makes sense.          But in this

10:45:51   12   situation, I would have to hear more before I made my

10:45:56   13   decision.   So a contract versus an athlete are two

10:46:00   14   different situations.

10:46:01   15           MR. BENNETT:      Okay.   Thank you, Mr. Bostic.

10:46:04   16   Appreciate you.

10:46:04   17           How about stock market, right?          The idea behind

10:46:09   18   the stock market is you buy a stock at a certain price, you

10:46:14   19   hope it's low, and you hope to sell high.

10:46:16   20           Anyone find any problems?         You don't like the

10:46:18   21   stock market?     Maybe it's a little too much like gambling?

10:46:23   22   You don't favor it?     You don't like to use it?        Don't like

10:46:26   23   it when others do it?

10:46:27   24           No?     Okay.

10:46:28   25           Now, the Judge mentioned a little bit about
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10:46:37    1   burdens of proof, the way the burdens of proof work out,

10:46:40    2   what we have to prove to show that ASUS infringed on our

10:46:44    3   rights.     It's called the preponderance of the evidence, and

10:46:46    4   that's basically the scales are dead even, and we throw one

10:46:50    5   more piece of paper on there that weighs in favor of us.

10:46:53    6   That means we've shown by a preponderance of the evidence,

10:46:55    7   proven our right to protect our property.

10:46:58    8             Anyone have a problem with that standard?          Just

10:47:00    9   that doesn't sound right to you if you're going to hold

10:47:04   10   somebody liable for potentially millions of dollars, you

10:47:09   11   need more than that?      You feel like that 50-50 plus one is

10:47:12   12   not enough for you?      You can't follow the Judge's

10:47:16   13   instructions if he told you that's the standard that must

10:47:18   14   be followed?      Anyone feel that way?

10:47:20   15             Anyone feel it should be higher?

10:47:23   16             Anyone feel it should be lower?        You shouldn't

10:47:25   17   need to prove even that much?

10:47:27   18             Okay.    Seeing no hands.

10:47:28   19             What about in a case that involves mostly

10:47:31   20   circumstantial evidence, right?        Judge will tell you a

10:47:35   21   little later about that.      I don't want to get too deep into

10:47:39   22   the weeds.     But there's direct evidence, what we call the

10:47:42   23   proverbial smoking gun, and there's circumstantial

10:47:43   24   evidence.     It's evidence that tends to prove that fact but

10:47:45   25   not quite like that smoking gun.        The case is based mostly
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10:47:50    1   on that kind of evidence, circumstantial evidence.

10:47:52    2             How many of y'all just couldn't -- you need direct

10:47:55    3   evidence to hold somebody liable for potentially millions

10:47:59    4   of dollars?

10:47:59    5             Mr. Bostic, tell me about that.        Why?

10:48:05    6             PANEL MEMBER:      I'm the type of person where you

10:48:07    7   show me the evidence, I've got proof.         You tell me about

10:48:11    8   what's happened -- you tell me, okay, this is what happened

10:48:15    9   but you got no proof.       Okay.   Why?   Why don't you -- why

10:48:21   10   can't you prove to me that's what happened?

10:48:24   11             MR. BENNETT:      So circumstantial evidence is a form

10:48:25   12   of proof.     Could you follow circumstantial evidence and

10:48:29   13   still hold someone liable?

10:48:33   14             PANEL MEMBER:      If there's enough of it there.       You

10:48:35   15   got to have enough of it there.        You got to show me why

10:48:38   16   there's enough -- why there's evidence there.           Why -- you

10:48:39   17   got to show me the evidence, if that makes -- you got to

10:48:43   18   have enough -- something there to show me that there's a

10:48:47   19   reason.     That's proof.

10:48:49   20             You got to show me.       You got to have something

10:48:52   21   physical there.     You got to have -- you got to give me a

10:48:55   22   reason.     You got make me -- give me a reason that there --

10:48:58   23   there's evidence there.

10:48:59   24             MR. BENNETT:      Understood.    Thank you, Mr. Bostic.

10:49:03   25             Anyone feel like Mr. Bostic?
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10:49:03    1            Ms. --

10:49:07    2            PANEL MEMBER:     Rodgers.

10:49:07    3            -- Rodgers.     Thank you.    We used to have numbers.

10:49:11    4            PANEL MEMBER:     I agree with Mr. Bostic.        If you

10:49:17    5   don't have the evidence in front of you or something,

10:49:19    6   whether it's hearsay, whether it's on social media, whether

10:49:23    7   it's anything with that matter, I need physical evidence.

10:49:25    8   I want it laid out.     I want to be able to see it.         I want

10:49:29    9   to be able to hear it.

10:49:31   10            Speaking of preference from experience that I'm

10:49:33   11   going through right now, I don't care about what's on

10:49:35   12   social media, what statements, anything.          I want it --

10:49:38   13   evidence.     I want to be able to see it.       I want to be able

10:49:40   14   to hear it.     I want to be able to review it, go through it

10:49:43   15   step-by-step, and understand the process of the evidence

10:49:45   16   that you have, that you can defend in court.

10:49:49   17            MR. BENNETT:     Okay.   Thank you.

10:49:51   18            Mr. Ayers, tell me about that.

10:49:58   19            PANEL MEMBER:     I was always told not to assume

10:50:00   20   anything.     So if it's black and white, it's black and

10:50:05   21   white.   If you don't know, don't guess.

10:50:09   22            MR. BENNETT:     Okay.   Thank you.

10:50:10   23            Anyone feel like Mr. Ayers?

10:50:12   24            All right.     In terms of hobbies, any gamers here

10:50:12   25   anywhere?
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10:50:24    1            Mr. Ayers?

10:50:24    2            Any hands high?       Play a lot of video games?

10:50:26    3   Social media?     iPad?    Whatever it is.     No?

10:50:29    4            How about IT profession?          Been in IT, worked in

10:50:32    5   IT, networking?     Anything like that?

10:50:38    6            Yes, Mr. Bostic, you have?

10:50:40    7            PANEL MEMBER:       In the past.

10:50:41    8            MR. BENNETT:       In the past?

10:50:42    9            Okay.    Anyone else?

10:50:44   10            How about digital photography?          Really into it,

10:50:49   11   sort of a hobby, use software that involves digital

10:50:58   12   photography?     Anyone?    Hands high if you do.      No?

10:51:00   13            How about social media users?          Instagram?   TikTok?

10:51:05   14   Whatever it is.

10:51:05   15            Mr. Ayers, okay.

10:51:05   16            Hands high, hands high.

10:51:07   17            All right.       Those of you with your hands up edit

10:51:10   18   photos through that social media?          Any photo editing done

10:51:10   19   there?   No.

10:51:13   20            All right.       Ms. Elson; is that right?     All right.

10:51:16   21   Thank you.

10:51:30   22            Your Honor, that concludes my examination.

10:51:33   23            THE COURT:       Very well.

10:51:34   24            At this time, the Defendant may voir dire the

10:51:36   25   panel.
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10:51:40    1            MR. OLIVER:    Again, folks, thank you for -- thank

10:51:48    2   you for being here.

10:51:49    3            My name is Andrew Oliver.        Like my colleague here,

10:51:54    4   I'll share a little bit about myself so that you have a

10:51:57    5   little bit of familiarity with me.

10:51:58    6            I've been married for about 24 years.          I have two

10:52:02    7   kids.   They're both daughters.      One's a preteen; one's a

10:52:06    8   teen.   So while I don't have the one-year-old twin issue,

10:52:11    9   I've got my own issues to deal with.

10:52:15   10            In my free time, I tend to spend a lot of time

10:52:20   11   with my kids.   So I'm teaching Sunday school for their

10:52:24   12   Sunday school classes, going to soccer games, and we like

10:52:28   13   to take road trips.     Like my colleague here said he likes

10:52:33   14   to visit national parks, this summer, we're road-tripping

10:52:39   15   up to Montana to see Glacier National Park and Yellowstone.

10:52:39   16   So that's what we like to do with our free time.

10:52:41   17            My colleague, Mr. Joshi, also has two kids a

10:52:44   18   little older than mine.      His son just finished his first

10:52:49   19   year at Baylor, and his daughter is in high school.            And he

10:52:52   20   also spends a lot of time at soccer games like myself.

10:52:56   21            Questions for you, you heard a few of -- a few

10:53:00   22   questions about photography and so on and digital editing.

10:53:04   23            Is anybody here a professional artist or a graphic

10:53:08   24   designer, or have you done work in that area, including

10:53:13   25   electronic work or photo work?       Anybody with that type of
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10:53:18    1   experience?

10:53:18    2            Okay.    This is a little bit sensitive of a

10:53:21    3   question.     So maybe Your Honor can say whether they should

10:53:27    4   answer once I ask it.

10:53:28    5            But the question is:      Is anybody color blind, or

10:53:33    6   would you have difficulty seeing representations of color?

10:53:35    7            Is that okay to ask, Your Honor?         Okay.

10:53:37    8            THE COURT:    I think so.

10:53:38    9            MR. OLIVER:    Anybody color blind?        Okay.

10:53:41   10            Would anybody have difficulty seeing something on

10:53:44   11   a screen, like reading words on that big screen there or if

10:53:49   12   we're looking at a smaller screen like this, seeing images

10:53:57   13   on it?   Would anybody have a hard time seeing that from

10:54:01   14   where you're sitting?     And you'll probably be a little

10:54:05   15   closer if you're actually on the panel.

10:54:07   16            Okay.    Does anybody have any issues with somebody

10:54:17   17   having rights that they feel are violated for 14 or 16

10:54:21   18   years and then suing the person violating those rights

10:54:25   19   without ever contacting them before the lawsuit?

10:54:28   20            So you feel like somebody has been violating your

10:54:30   21   rights for 10 years, but you never tell them, and then you

10:54:34   22   sue them for millions of dollars?        Any problems with that?

10:54:40   23            Okay.    Does anybody ever feel like a Defendant is

10:54:42   24   guilty just because they get sued because Plaintiff must

10:54:46   25   have had a reason to sue them, so they must be guilty?             No?
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10:54:50    1             Okay.   Does anybody feel like the Plaintiff should

10:54:58    2   get the benefit of the doubt coming into the trial because

10:55:01    3   they filed a lawsuit, and you're now in court?

10:55:06    4             You saw my colleague briefly hold up a copy of the

10:55:14    5   patent.   You didn't get to see what's in it.          You'll get a

10:55:19    6   chance to see what's in it, but the patent is issued by the

10:55:23    7   U.S. Patent Office.     It comes with a presumption that it's

10:55:27    8   valid.

10:55:28    9             But if you're asked to decide based on evidence

10:55:30   10   that the patent is invalid and if Judge Schroeder tells

10:55:35   11   you, take this evidence, apply these principles of law, and

10:55:38   12   decide whether the patent is valid or invalid, you have the

10:55:42   13   power to overturn the Patent Office, do you feel like you

10:55:46   14   would not be able to do that, that you would be blocked

10:55:49   15   because you feel like the Patent Office issued a patent,

10:55:52   16   and, therefore, there's no way for me as a juror to turn it

10:55:57   17   over?

10:55:58   18             Okay.   Final question.     Don't want to take up all

10:56:09   19   of your time.     Do you feel like -- do any of you have any

10:56:12   20   feelings that you would not be able to be fair to an

10:56:17   21   international company?     ASUS is international.        They have

10:56:21   22   got operations here.     They have got operations in Taiwan

10:56:24   23   and other countries.

10:56:26   24             As I mentioned, Mr. McCarty's oversees teams that

10:56:30   25   help service ASUS products in South America.
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10:56:34    1           But do you feel like you would not be able to be

10:56:36    2   fair to an international company that manufactures products

10:56:40    3   outside of the United States and sells them within the

10:56:42    4   United States?    No?

10:56:44    5           Okay.    Well, thank you.      I didn't get to -- didn't

10:56:52    6   have to have anybody come up to the stand.

10:56:54    7           Appreciate your time.

10:56:55    8           THE COURT:      Thank you, Mr. Oliver.

10:56:57    9           Let me ask counsel for the parties to pass up

10:57:01   10   lists for any additional questions.

10:57:18   11           MR. BENNETT:      We have just a few, Your Honor.

10:57:23   12           THE COURT:      If you would, pass those up.

10:57:23   13           MR. OLIVER:      Your Honor, we don't have any further

10:57:27   14   questions.

10:57:52   15           MR. BENNETT:      May I approach, Your Honor?

10:57:58   16           THE COURT:      Yes, please.

10:58:21   17           Okay.    Ladies and gentlemen of the jury, thank you

10:58:25   18   for your attention and your patience this morning.

10:58:27   19           I'm going to ask three jurors to remain in the

10:58:31   20   courtroom, and I want to tell you a little bit about the

10:58:35   21   next phase.

10:58:36   22           I'm going to dismiss everyone to adjourn to Judge

10:58:42   23   Mitchell's courtroom for a short period.          We have to have

10:58:45   24   further discussion outside of your presence, and all of

10:58:48   25   that will take I think about somewhere between 20 and
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10:58:51    1   30 minutes.

10:58:52    2           And I hope to have you walk -- brought back in,

10:58:56    3   and by the time we have you brought back in, we will have

10:58:59    4   the jury selected, and those of you who are not on the jury

10:59:04    5   will be able to get your week started.

10:59:07    6           What I would like for you to do is to remember a

10:59:10    7   couple of rules.     Don't discuss anything about the case

10:59:14    8   with anyone.     When the jury begins its deliberations at the

10:59:20    9   end of the week, it'll base its decision solely upon the

10:59:25   10   evidence that comes through that witness stand and through

10:59:27   11   the admission of exhibits.

10:59:32   12           So nothing you've seen so far this morning, of

10:59:36   13   course, will have anything to do with the jury's actual

10:59:38   14   deliberations.     So don't start forming opinions in your

10:59:42   15   mind about the case based on some conversation you might

10:59:45   16   have with someone.

10:59:46   17           Talk about the nasty weather we had this morning

10:59:50   18   and what it's -- looks like it's going to be like all week,

10:59:55   19   talk about football or grandkids or whatever you want to

10:59:59   20   talk about, just not about the case.

11:00:01   21           Also, don't do any research about the case into

11:00:05   22   the parties or the attorneys.

11:00:08   23           I'm going to ask, let's see, Mr. Wilkinson,

11:00:13   24   Ms. Elson, and Ms. Decco, if you would, to remain back, and

11:00:20   25   everyone else is going to be dismissed at this time.
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11:00:23    1           Please keep your masks on, and observe social

11:00:29    2   distancing protocols, get a drink of water, use the

11:00:33    3   restroom.    We'll get you back into the courtroom as quickly

11:00:38    4   as we can.

11:01:30    5           (Jury panel out.)

11:01:33    6           THE COURT:     Okay.      You all may be seated.

11:01:37    7           Okay.    Mr. Wilkinson, if you would come forward.

11:01:37    8           (Panel member brought forward.)

11:01:54    9           THE COURT:     Mr. Wilkinson, you raised your hand in

11:01:58   10   the beginning when I asked about anything that you might

11:02:02   11   have had planned for this week that would create a problem

11:02:04   12   for you serving on the jury.        I've got a couple of jurors

11:02:09   13   still -- panel members still in here.         Can we talk about it

11:02:14   14   in front of everybody?

11:02:16   15           PANEL MEMBER:      Yes.

11:02:16   16           THE COURT:     Okay.

11:02:17   17           PANEL MEMBER:      The businesses that I own is kind

11:02:18   18   of -- basically they're the boarding kennels.           I have two

11:02:23   19   boarding kennels and a dog grooming service.           The one I

11:02:27   20   have at my residence, full-time, I work it from sometimes

11:02:32   21   6:00 o'clock to about 8, 9:00 o'clock at night, for the

11:02:38   22   health of the dogs, you know, let them out and stuff.

11:02:41   23   Since the COVID, I've laid off six people --

11:02:41   24           THE COURT:     Yes, sir.

11:02:44   25           PANEL MEMBER:      -- and I've got two of them back.
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11:02:47    1   We are running low.     We don't -- we haven't had that much

11:02:51    2   business.     We're just now starting to get the business.

11:02:54    3           THE COURT:     Okay.

11:02:54    4           PANEL MEMBER:      So I've got one person that helps

11:02:57    5   me, and I'm not paying overtime, so she can only work about

11:03:02    6   40 hours a week --

11:03:03    7           THE COURT:     Yes, sir.

11:03:04    8           PANEL MEMBER:      -- which is about half of what I

11:03:06    9   normally run.     But her days is -- you know, she's had to

11:03:11   10   have people take her kid to school this morning so she can

11:03:15   11   come to work early, and we were no -- you know, advance

11:03:18   12   about that.     On Thursdays she's got prior arrangements, and

11:03:24   13   she's off on Thursdays so I can get her to work some of the

11:03:27   14   weekends for me.

11:03:28   15           THE COURT:     Okay.

11:03:28   16           PANEL MEMBER:      So on Thursday, I'm the only one

11:03:32   17   running the main facility.      It's not our biggest facility,

11:03:37   18   but it's our main facility.

11:03:39   19           THE COURT:     Yes, sir.     Okay.   Tell you what,

11:03:42   20   Mr. Wilkinson, let me ask you to step out in the hall very

11:03:46   21   briefly, and let me visit with the attorneys.

11:03:48   22           PANEL MEMBER:      Okay.

11:03:49   23           THE COURT:     I'll have you brought right back in.

11:03:52   24           (Panel member excused to hallway.)

11:03:52   25           THE COURT:     Either side have any objection to
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11:04:01    1   releasing Mr. Wilkinson?

11:04:05    2            MR. BENNETT:     No objection, Your Honor.

11:04:07    3            MR. JOSHI:     No objection.

11:04:08    4            THE COURT:     Would you have him brought back in?

11:04:11    5            (Panel member brought into courtroom.)

11:04:16    6            THE COURT:     Mr. Wilkinson, you can stand right

11:04:22    7   there.   I appreciate you telling us what your situation is.

11:04:25    8            I hope once we get past the pandemic and life gets

11:04:29    9   back more normal for you that you will be able to come back

11:04:33   10   and serve as a juror for us, but I'm going to release you

11:04:36   11   at this time.

11:04:37   12            PANEL MEMBER:     Thank you very much.

11:04:37   13            THE COURT:     Thank you very much.

11:04:39   14            MR. BENNETT:     Thank you, Mr. Wilkinson.

11:04:43   15            (Panel member excused from courtroom.)

11:04:43   16            THE COURT:     Ms. Elson.

11:04:48   17            MR. BENNETT:     Your Honor, if I may, I miscounted.

11:04:52   18   It's my fault.    I think we've got enough jurors left after

11:04:56   19   Mr. Wilkinson still.     We probably don't need to talk to

11:05:01   20   Ms. Elson --

11:05:02   21            THE COURT:     I think I need to talk to them because

11:05:04   22   they mentioned that they had a hardship.

11:05:04   23            (Panel member brought into courtroom.)

11:05:07   24            THE COURT:     Yes, ma'am, Ms. Elson?

11:05:08   25            PANEL MEMBER:     I have a 9-month-old daughter, and
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11:05:10    1   right now she can't go to daycare because of COVID.            She's

11:05:15    2   not old enough.

11:05:15    3            THE COURT:     Yes, ma'am.

11:05:16    4            PANEL MEMBER:     So I have somebody outside of

11:05:18    5   there.   A tree just fell on her house, so they're getting a

11:05:22    6   camper, and that's the day that it's being delivered and

11:05:26    7   she can't watch my daughter.

11:05:27    8            THE COURT:     Okay.   It sounds like to me you

11:05:29    9   probably got more an your plate this week than you can say

11:05:34   10   grace over.     If you will step out in the hall real quick,

11:05:37   11   let me visit with the attorneys.

11:05:39   12            (Panel member excused to hallway.)

11:05:39   13            THE COURT:     Either side have any objection to

11:05:42   14   releasing Ms. Elson?

11:05:44   15            MR. BENNETT:     No objection, Your Honor.

11:05:46   16            MR. JOSHI:     No objection.

11:05:47   17            THE COURT:     All right.    Have her brought back in.

11:05:51   18            (Panel member brought into courtroom.)

11:05:51   19            THE COURT:     Ms. Elson, I'm going to release you.

11:05:54   20   Thank you.     I hope you will come back some time and be on a

11:06:03   21   jury for us.

11:06:04   22            PANEL MEMBER:     Thank you.

11:06:04   23            THE COURT:     All right.    Thank you, ma'am.

11:06:04   24            MR. BENNETT:     Thank you, Ms. Elson.

11:06:06   25            THE COURT:     Ms. Decco, if you would.
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11:06:08    1              (Panel member brought forward.)

11:06:08    2              THE COURT:     Ms. Decco, you went into some of the,

11:06:11    3   I guess, hardships maybe that you've got going on in your

11:06:14    4   life right now, and it seems to me you've got plenty to

11:06:20    5   worry about without serving on a jury.          I appreciate your

11:06:24    6   service.     I don't think either of the parties have any

11:06:26    7   objection to releasing you.

11:06:28    8              MR. BENNETT:     None.

11:06:31    9              MR. OLIVER:     No objection.

11:06:32   10              THE COURT:     Okay.     Thank you, Ms. Decco, for being

11:06:36   11   here.     I hope you will come back some time and be on a jury

11:06:41   12   for us.

11:06:42   13              PANEL MEMBER:     Thank you.

11:06:43   14              THE COURT:     Thank you, ma'am.

11:06:43   15              (Panel member excused from courtroom.)

11:06:43   16              THE COURT:     Okay.     Cause challenges?     Any?

11:06:47   17              MR. BENNETT:     No, Your Honor.     Plaintiff has none.

11:06:56   18              MR. OLIVER:     Your Honor, just one.        I'm not

11:06:58   19   sure --

11:06:59   20              THE COURT:     Could you go to the podium so I can

11:07:01   21   hear you well?

11:07:02   22              MR. OLIVER:     Your Honor, just one.        I don't know

11:07:04   23   if this rises to your standard, but just want to raise it.

11:07:09   24   Celsey Rodgers mentioned her brother was murdered, and she

11:07:16   25   wasn't sure if she could get justice.          And I'm not sure
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11:07:22    1   whether she'll be able to fairly deliver justice.

11:07:22    2              THE COURT:     Mr. Oliver, I'd like to hear from

11:07:25    3   Mr. Bennett about this.       And, Mr. Bennett, I will just tell

11:07:26    4   you candidly, I think Ms. Rodgers is a little bit of a

11:07:27    5   problem.

11:07:28    6              MR. BENNETT:     We agree, Your Honor.

11:07:29    7              THE COURT:     Okay.   Let's release Ms. Rodgers by

11:07:33    8   agreement of the parties.         And I think that if that is the

11:07:35    9   case, based upon the shuffled list, which you all have

11:07:42   10   before you or should have before you, Ms. Rodgers is Juror

11:07:47   11   No. 10, correct?

11:07:54   12              MR. BENNETT:     That's correct, Your Honor.

11:07:58   13              MR. OLIVER:     Yes, that's correct.

11:08:00   14              THE COURT:     We have released Mr. Wilkinson due to

11:08:05   15   a hardship, and we are releasing Ms. Rodgers by agreement

11:08:24   16   of the parties.

11:08:55   17              I'm informed that Mr. Gross would like to speak to

11:08:59   18   us, and I think we better do that.

11:08:59   19              (Panel member brought into courtroom.)

11:09:53   20              THE COURT:     Come around, Mr. Gross.

11:09:55   21              PANEL MEMBER:     Where do you want me?

11:09:56   22              THE COURT:     Come up to the podium -- or to the

11:10:00   23   microphone, please.

11:10:00   24              PANEL MEMBER:     Yes, sir.

11:10:01   25              THE COURT:     Do you have something that you need to
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11:10:03    1   speak to us about that didn't come up before?

11:10:06    2            PANEL MEMBER:     Yes.   I just wanted to bring it up.

11:10:09    3   I thought in some of questionnaire or questioning, it would

11:10:11    4   come up a little bit.     When I filled out my questionnaire

11:10:14    5   or my survey or -- you know, and sent it in and everything,

11:10:17    6   my wife kind of got on me that I didn't bring it up -- I

11:10:21    7   guess you could call it a medical condition.           But I have a

11:10:24    8   real issue -- kind of chronically -- of nodding off and

11:10:29    9   getting very sleepy.     And I had sleep apnea surgery in

11:10:34   10   2003.   I've been on a CPAP machine since about 2015.            Lost

11:10:41   11   about 35 pounds in the last two years, so that has helped.

11:10:41   12   I still have some issues.      I just went through another

11:10:44   13   sleep study -- third -- third one, I guess, I've had.             And

11:10:45   14   home study and then where you go to the place.           And I went

11:10:47   15   to a new -- it's called the Sleep Institute of Tyler, new

11:10:57   16   place that I hadn't been before.

11:11:00   17            Anyway, I'm about to switch to a BiPAP machine

11:11:03   18   instead of a CPAP.     My wife is convinced that -- has told

11:11:08   19   the doctor, and he thinks there are some reasons to be

11:11:11   20   concerned about like slight narcolepsy.          Not the kind where

11:11:15   21   you just collapse or fall asleep like that, but like where

11:11:20   22   you go into REM sleep immediately.        I can just be sitting

11:11:24   23   and nod off for a second and kind of go into a dream state.

11:11:28   24   Anyway, it just causes some issues with concentration.

11:11:34   25            THE COURT:    Focus and attention?
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11:11:35    1             PANEL MEMBER:     Yeah.    And my attention.     So,

11:11:37    2   anyway, I don't want to be in a situation where I'm

11:11:40    3   embarrassing myself, and I get -- usually get pretty good

11:11:44    4   sleep, I got about 7 hours sleep last night.           That's really

11:11:48    5   good for me.

11:11:48    6             THE COURT:     That's a lot more than I got.

11:11:48    7             PANEL MEMBER:     That's really good for me.

11:11:51    8   Sometimes it's five and a half or six hours.           But anyway --

11:11:53    9   and I'm not trying to make some kind of excuse.           If I had

11:11:55   10   my phone, I could show you all the appointments and all

11:11:58   11   that kind of stuff, which I can't.

11:11:59   12             THE COURT:     I understand.

11:12:00   13             PANEL MEMBER:     But I don't want to embarrass

11:12:02   14   myself.     I don't want to be in a position where I'm trying

11:12:02   15   to remember --

11:12:02   16             THE COURT:     Right.

11:12:03   17             PANEL MEMBER:     -- if somebody else is talking

11:12:04   18   about something and we're deliberating or something like

11:12:06   19   that, and I'm like I don't even remember that and that kind

11:12:08   20   of thing.     Anyway, that's just my concern with that.

11:12:09   21             THE COURT:     Okay.    Let me ask -- Mr. Bennett, do

11:12:13   22   you have any questions for Mr. --

11:12:16   23             PANEL MEMBER:     Gross.

11:12:17   24             THE COURT:     -- Mr. Gross?

11:12:18   25             MR. BENNETT:     Just a couple, if I may, Your Honor.
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11:12:24    1              THE COURT:     Yes.

11:12:24    2              MR. BENNETT:     Mr. Gross -- and I'm not fussing at

11:12:26    3   you -- but is it the case today you nodded off a little bit

11:12:29    4   during the selection?

11:12:30    5              PANEL MEMBER:     Probably.     I mean, there were a

11:12:32    6   couple of times I was kind of fidgeting, and, you know, I

11:12:35    7   kind of -- yeah, probably.

11:12:36    8              MR. BENNETT:     Okay.     And if you were on the jury,

11:12:38    9   would you have difficulty paying attention, focusing on

11:12:40   10   some -- what's going to be highly exhilarating to me and

11:12:44   11   pretty dry maybe to some other folks?

11:12:47   12              PANEL MEMBER:     Maybe.     My work -- I'm on my feet

11:12:51   13   all day.    When I sit down, it's not for real long periods

11:12:55   14   of time.    The only time I struggle with it is in -- last

11:13:01   15   year, we had meetings -- Zoom-type meetings.           My supervisor

11:13:03   16   knows about it.    He knows that I may get up and stand over

11:13:06   17   to the side and that kind of thing in a meeting, especially

11:13:08   18   after lunch, something like that, but possibly -- possibly.

11:13:11   19              MR. BENNETT:     Thank you.     Appreciate it.

11:13:13   20              THE COURT:     Mr. Oliver, any questions you have?

11:13:15   21              MR. OLIVER:     No, Your Honor.

11:13:16   22              THE COURT:     Okay.     Mr. Gross, let me ask you to go

11:13:19   23   back in the hall and let me visit with the attorneys and

11:13:23   24   we'll make a decision.       I appreciate very much you bringing

11:13:28   25   this to my attention and the parties' attention and your
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11:13:35    1   candor about it.     And I'll visit with them, and we'll

11:13:38    2   decide the proper approach.       But thank you very much and

11:13:40    3   best of luck with getting it resolved.

11:13:43    4           PANEL MEMBER:      Thank you.     Appreciate it.

11:13:47    5           (Panel member excused to hallway.)

11:13:47    6           THE COURT:     What do you want to do about

11:13:52    7   Mr. Gross?

11:13:52    8           MR. BENNETT:      I think probably for cause, we have

11:13:54    9   to strike him.     I saw him nod off during presentations

11:13:58   10   today, during voir dire.

11:14:00   11           THE COURT:     Mr. Oliver, any objection to that?

11:14:02   12           MR. OLIVER:     No objection.

11:14:03   13           THE COURT:     All right.     We'll just release him by

11:14:05   14   agreement of the parties.

11:14:06   15           All right.     So that removes Mr. Gross, which I

11:14:06   16   think means we now strike -- each side will have three

11:14:06   17   preemptory strikes.

11:14:25   18           As you know, we have released Mr. Gross, we have

11:14:29   19   released Mr. Wilkinson based on a hardship, and we've

11:14:30   20   released Ms. Rodgers by agreement of the parties.            With the

11:14:40   21   eight jurors who will be among the jury and three

11:14:42   22   preemptory strikes assigned, that should put us through

11:14:46   23   Juror No. 17.

11:14:47   24           Do the parties agree with that?

11:14:49   25           MR. BENNETT:      That would be Ms. Miller,
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11:14:51    1   Your Honor -- Mr. Lyle, excuse me.

11:14:53    2           THE COURT:     I'm sorry, Mr. Bennett?

11:14:56    3           MR. BENNETT:      I wasn't sure who No. 17 was,

11:14:58    4   Your Honor.   I was just making sure I had my notes right.

11:15:01    5           THE COURT:     17 is Mr. Lyle.      Do the parties agree

11:15:04    6   with the strike zone as I have described it?

11:15:07    7           MR. BENNETT:      Yes, Your Honor.

11:15:08    8           MR. OLIVER:     Yes, Your Honor.       Meaning everyone

11:15:11    9   below 17 won't be on it regardless?

11:15:14   10           THE COURT:     That is correct.      That's correct.

11:15:16   11           All right.     So you guys will have 15 minutes to

11:15:19   12   make your strikes, and we'll go back on the record then.

11:15:24   13   We'll be in recess.

11:15:26   14           (Recess taken.)

11:19:28   15           COURT SECURITY OFFICER:        All rise.

11:38:01   16           THE COURT:     Please be seated.

11:38:10   17           Okay.    Thank you, ladies and gentlemen, for your

11:38:14   18   patience with us.     It took -- took maybe a little bit

11:38:18   19   longer than I -- than I suggested it would.

11:38:29   20           Mrs. Schroeder, if you would now call the names of

11:38:31   21   the jurors selected.

11:38:32   22           COURT DEPUTY:      Kelly Miller.

11:38:34   23           Steve Mitchell.

11:38:37   24           Debra Stanford.

11:38:42   25           Brian Bittick.
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11:38:43    1           Jim Lambeth.

11:38:46    2           Wilma Ray.

11:38:48    3           Judy Johnson.

11:38:59    4           Karen Vaughan.

11:39:01    5           THE COURT:     Okay.    Ladies and gentlemen of the

11:39:05    6   panel, those who were not selected to serve as members of

11:39:10    7   the jury, I am about to excuse you, and I do so with the

11:39:14    8   thanks of the Court for your being here.

11:39:17    9           I know it's been a long morning.          As I explained

11:39:20   10   earlier, you all have performed a great public service by

11:39:23   11   being here today, and I hope that the next time you are

11:39:27   12   called to appear for jury service that you come with the

11:39:31   13   same positive, helpful attitude that you have shown to all

11:39:35   14   of us today.

11:39:36   15           So as I said at the very beginning, I really do

11:39:38   16   believe that jury service is one of the most important

11:39:41   17   public services you can render to your nation.           And by

11:39:45   18   being here today and by participating as you have, you

11:39:49   19   have -- you're doing what your country has asked you to do,

11:39:53   20   too.

11:39:54   21           So on behalf of the Eastern District of Texas, the

11:39:57   22   parties involved in this lawsuit and the attorneys, I want

11:39:59   23   to thank you for your presence here today.

11:40:02   24           Those of you not selected as members of the jury

11:40:06   25   are dismissed at this time.       Thank you.
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11:40:10    1           (Venire panel out.)

11:40:50    2           THE COURT:     Okay.    You all may be seated.

11:40:53    3           Okay.     Ladies and gentlemen of the jury, if you

11:40:56    4   would, please stand at this time, and Mrs. Schroeder will

11:41:01    5   administer the oath.

11:41:04    6           (Jurors sworn.)

11:41:18    7           THE COURT:     Okay.    Ladies and gentlemen of the

11:41:22    8   jury, I -- the good news is we've got lunch for you.             We

11:41:28    9   will be providing lunch for you throughout the course of

11:41:31   10   the week.

11:41:32   11           The bad news is it's not quite here yet --

11:41:32   12           COURTROOM DEPUTY:       Yes, it is here.

11:41:36   13           THE COURT:     Oh, I thought it was noon.

11:41:36   14           COURTROOM DEPUTY:       No, it's here.

11:41:39   15           THE COURT:     Okay.    Your lunch is here.

11:41:41   16           Let me give you a couple of instructions.            When

11:41:46   17   you get back from lunch, I will have some more fulsome

11:41:50   18   instructions for you about what the case is about and some

11:41:54   19   rules I'm going to ask you to follow throughout the course

11:41:57   20   of the week.

11:41:59   21           For now, the rules are fairly simple.           Don't talk

11:42:04   22   about anything you have seen so far.         You haven't heard any

11:42:08   23   testimony.     You haven't heard any instructions on the law.

11:42:11   24   You haven't heard any arguments of the attorneys.            So the

11:42:16   25   things that you will base your deliberations and your
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11:42:20    1   verdict on haven't started yet.

11:42:24    2           So don't talk about the case.          Don't do any

11:42:27    3   investigation about the case.       Don't Google the parties or

11:42:31    4   the subject matter or the attorneys or anything of that

11:42:35    5   nature, and, likewise, please don't post anything about the

11:42:38    6   proceedings so far.

11:42:40    7           And, essentially, those are the rules I'm going to

11:42:43    8   ask you to follow.     As I said, I'll give you further

11:42:47    9   instructions when you get back from lunch.

11:42:50   10           Let me tell you a little bit about what the trial

11:42:52   11   week will be like.     I will ask you all to be here by 8:45

11:42:58   12   in the morning, and we'll start promptly with you here in

11:43:02   13   the courtroom at 9:00.

11:43:06   14           We will go somewhere until the mid morning, and

11:43:08   15   we'll take a 15-minute break in the morning.           We'll break

11:43:12   16   over the lunch hour for about an hour.         We'll come back,

11:43:16   17   and we'll go until somewhere in the neighborhood of 3:00 in

11:43:19   18   the afternoon and we'll take a 15-minute break, and then

11:43:22   19   we'll go until about 5:00 at the end of the day.

11:43:27   20           If we have a witness whose testimony might take a

11:43:31   21   little bit longer to -- in order to get him or her off the

11:43:34   22   stand and completed, we might go a little bit after 5:00.

11:43:39   23   If we have a witness whose testimony is about to begin and

11:43:42   24   it will be a longer examination and it's, you know,

11:43:47   25   10 minutes until 5:00 o'clock, we might stop a little early
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11:43:51    1   for that day.     It'll just be subject to witness

11:43:53    2   availability and scheduling, but that is generally what our

11:43:56    3   trial day will look like.

11:43:58    4            As I said, we will provide lunch for you each day

11:44:03    5   here, and that will, you know, eliminate the need of your

11:44:10    6   having to arrange for that and get in and out of the

11:44:14    7   courthouse.     Besides the weather is going to be bad all

11:44:17    8   week long, too.

11:44:19    9            So that's generally what our trial day will look

11:44:22   10   like.   I will give you, as I said, further instructions.

11:44:26   11            One other thing that I will tell you is the

11:44:28   12   attorneys and I will get here early in the morning to try

11:44:32   13   to resolve any evidentiary matters that need to be resolved

11:44:35   14   outside of your presence.      We'll do that over the lunch

11:44:38   15   hours, as well, and we will stay here in the evenings to

11:44:41   16   resolve anything so that we don't make you wait for us in

11:44:45   17   the courtroom -- I mean, in the jury room.

11:44:47   18            I'm not a big fan of making the jury wait, and we

11:44:51   19   will do our very best, I know, to avoid that where at all

11:44:57   20   possible.

11:44:57   21            However, they are a necessary part of any trial

11:45:05   22   occasionally, and there might be something that we have to

11:45:08   23   discuss outside of your presence and that will require you

11:45:12   24   to wait for us in the jury room.        But I'll promise you,

11:45:15   25   we're going to keep that to a bare minimum, and we'll do
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11:45:18    1   all -- we will all do our very best and -- and keep that to

11:45:22    2   a minimum.

11:45:24    3              So let me go ahead and release you now.

11:45:27    4              Mr. Richardson, is their lunch back in the jury

11:45:32    5   room?

11:45:33    6              COURT SECURITY OFFICER:     Yes, sir.

11:45:34    7              THE COURT:    Your lunch is in the jury room right

11:45:36    8   through those double doors right there.

11:45:45    9              We will plan on resuming here in the courtroom at

11:45:48   10   1:00.   That will give you a little extra time.          And then

11:45:49   11   we'll begin with preliminary instructions, and then

11:45:52   12   immediately following that, the attorneys will present

11:45:54   13   their opening statements to you.

11:45:56   14              So we'll be in recess at this time.

11:45:59   15              COURT SECURITY OFFICER:     All rise for the jury.

11:45:59   16              (Jury out.)

12:37:04   17              (Recess.)

01:06:50   18              COURT SECURITY OFFICER:     All rise.

01:06:50   19              THE COURT:    Please be seated.

01:06:56   20              Okay.   Just a couple of things before we get

01:06:59   21   started.

01:07:03   22              Mr. Joshi, I have reviewed documents that were

01:07:05   23   marked as Plaintiff's Exhibit 26.        I guess what I want to

01:07:10   24   understand from you is, candidly, I think what's there is

01:07:17   25   okay.
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01:07:19    1              Is it your contention that there is anything

01:07:24    2   inconsistent in the documents that would weigh against what

01:07:29    3   the Plaintiff has represented to us that those are ASUS

01:07:32    4   user manuals?

01:07:34    5              MR. JOSHI:   So the ones that I have reviewed, I

01:07:38    6   couldn't review all 139 of them, they are -- they look like

01:07:42    7   our manuals.

01:07:44    8              What -- the bigger concern is the bigger

01:07:47    9   collection, there were many non-ASUS things.           Some of the

01:07:53   10   ASUS manuals that -- that they look very similar to ours,

01:07:57   11   they're not from -- they were not pulled down from an ASUS

01:08:00   12   website.    So I can't be sure, but --

01:08:02   13              THE COURT:   Well, I guess my question for you and

01:08:05   14   what I would request is if there are some that you think

01:08:10   15   that -- if there are, indeed, some that you believe are

01:08:13   16   inconsistent, then you're going to need to raise that with

01:08:16   17   me and let me know that.

01:08:18   18              But based on my review, I do think there is

01:08:22   19   sufficient evidence to authenticate these user manuals

01:08:26   20   under Federal Rule of Evidence 901(b)(4).          So I'm going to

01:08:31   21   overrule ASUS's objection based on authentication.

01:08:35   22              Certainly, to the extent you want to

01:08:49   23   cross-examine, you know, any witness about where the

01:08:52   24   documents came from, you may do so, but I think there is

01:08:56   25   enough evidence for the jury to consider these documents as
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01:08:56    1   exhibits.

01:09:03    2            And I also don't believe that the user manuals are

01:09:03    3   hearsay because they're a statement of a party opponent

01:09:03    4   under 801(d)(2).

01:09:15    5            And then was there a question -- you all didn't

01:09:17    6   raise this or we didn't discuss it, but with respect to

01:09:19    7   Claim 17 being invalidated, was there an issue that we

01:09:23    8   needed to discuss regarding that?

01:09:24    9            MR. BENNETT:     Yes, that was Plaintiff's issue,

01:09:26   10   Your Honor.

01:09:27   11            Let me grab the microphone, sorry.          Is it on?

01:09:28   12   There we go.

01:09:30   13            Okay.    That was Plaintiff's issue.        There were

01:09:31   14   some -- Your Honor will recall -- it went off.           There we

01:09:34   15   go.   You got to be really close.       Sorry about that.      Okay.

01:09:37   16   Try again.

01:09:37   17            So you'll recall at the end of the May 11th,

01:09:43   18   pretrial hearing, Mr. Joshi raised the issue of talking

01:09:47   19   about Claim 17.     Your Honor asked us to discuss it.         We

01:09:51   20   didn't agree.     And it's in their opening slides.

01:09:55   21            They want to talk about the invalidated -- the

01:10:01   22   other -- the second invalidated independent claim.            We

01:10:04   23   think that's unduly prejudiced under 403, likely to confuse

01:10:07   24   the jury, and not helpful to the case.

01:10:10   25            THE COURT:     Mr. Oliver?
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01:10:12    1           MR. OLIVER:     Yes, Your Honor.

01:10:13    2           The intent, just so you know the context, is we

01:10:15    3   plan to tell the jury that only the method claims are at

01:10:19    4   issue, and when they look at the patent, Claim 17 and all

01:10:23    5   of the system claims are not at issue, and that's because

01:10:27    6   Your Honor invalidated those claims already.

01:10:30    7           The issue that Plaintiff has raised is whether

01:10:36    8   it's prejudicial to discuss that.

01:10:38    9           As you recall, I was not at the hearing, but

01:10:42   10   Plaintiff wanted to discuss the procedural history of the

01:10:47   11   patent and said it was entirely acceptable to address the

01:10:51   12   jury and to say whether there had been challenges to

01:10:56   13   invalidity.    And Plaintiff has taken the position that

01:11:00   14   that's okay.

01:11:02   15           And our response was if it's okay for you to

01:11:05   16   address that and whether there have been challenges to

01:11:09   17   invalidity, we should be able to raise the same issues, as

01:11:13   18   well.

01:11:13   19           THE COURT:     May I see the slide?

01:11:14   20           MR. BENNETT:      I have it -- I have it here,

01:11:16   21   Your Honor, if I may approach.

01:11:18   22           MR. OLIVER:     The slide just shows a cut-out from

01:11:21   23   Claim 17, but my intent in speaking, just to make sure

01:11:26   24   you're fully aware, is to say Claim 17 isn't at issue.

01:11:31   25   There's no issue with selling the products.
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01:11:33    1           THE COURT:     So this is not the slide where it says

01:11:35    2   the claim was invalidated.      You're talking about that's

01:11:40    3   just the claim --

01:11:41    4           MR. OLIVER:     I'm talking about what I'm going to

01:11:43    5   say when that slide is up.      I'm going to say, you don't

01:11:48    6   have to consider Claim 17.      Judge Schroeder

01:11:51    7   already invalidated Claim 17 --

01:11:51    8           THE COURT:     You can say you don't have to consider

01:11:54    9   Claim 17.   That's no longer in the case.

01:11:55   10           MR. OLIVER:     Okay.

01:11:56   11           THE COURT:     Does that solve it?

01:11:57   12           MR. BENNETT:      Yes, Your Honor.

01:11:58   13           MR. OLIVER:     Thank you.

01:12:02   14           THE COURT:     I think that's too prejudicial under

01:12:08   15   403, Mr. Oliver.

01:12:09   16           MR. OLIVER:     Okay.

01:12:09   17           THE COURT:     Anything else we need to address

01:12:11   18   before we have the jury brought in?

01:12:13   19           MR. BENNETT:      Yes, Your Honor.      We have one other

01:12:16   20   issue with slides.     This one has to do with their motion

01:12:19   21   for reconsideration, as well, which we responded to.             They

01:12:20   22   want to raise inoperability --

01:12:20   23           THE COURT:     There should be an order out for

01:12:22   24   motion for consideration on the docket.

01:12:24   25           MR. BENNETT:      Oh, okay.
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01:12:30    1              THE COURT:     It's not yet.

01:12:31    2              MR. BENNETT:     Okay.     So this is in their slide

01:12:33    3   deck.     They intend to address it apparently, so we raised

01:12:37    4   it to prevent it being raised or similar issues, confusing

01:12:43    5   the jury, Rule 403.

01:12:45    6              MR. OLIVER:     Yes, Your Honor.       Your Honor has said

01:12:47    7   that -- in the order that inoperability is a question of

01:12:52    8   law only in this case, and we asked for reconsideration and

01:12:55    9   pointed out the case law that said Section 101 issues go to

01:13:01   10   the jury as an issue of fact.

01:13:03   11              So we don't know whether you've reconsidered that,

01:13:07   12   but if you say it's only a question of law, then we'll

01:13:11   13   delete it.     But we weren't completely clear because your

01:13:14   14   order said:     If Plaintiff continues to urge this matter,

01:13:19   15   you know, there could be another challenge by -- or I mean,

01:13:24   16   if Defendant continues to urge the matter, there might be

01:13:27   17   another challenge by Plaintiff.          And so we weren't sure of

01:13:30   18   the context of where we would be urging that --

01:13:32   19              THE COURT:     Sure.     So I appreciate that, and it

01:13:34   20   hasn't -- it's not on the docket yet, and my apologies

01:13:38   21   about that.     We will email you a copy of it.         You will have

01:13:41   22   it.     You'll understand what the analysis was, but

01:13:45   23   ultimately it's a question for the Court, not the jury.

01:13:45   24              MR. OLIVER:     Okay.     Thank you.

01:13:54   25              THE COURT:     So you will get that slide --
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01:13:56    1             MR. OLIVER:    I will delete this slide.        It won't

01:13:59    2   be a --

01:13:59    3             THE COURT:    All right.    Let's have the jury

01:14:01    4   brought in.

01:14:04    5             COURT SECURITY OFFICER:      All rise for the jury.

01:14:06    6             (Jury in.)

01:15:00    7             THE COURT:    Please be seated.

01:15:03    8             Okay.   Ladies and gentlemen of the jury, you have

01:15:15    9   now been sworn in as the jury that will try this case.             As

01:15:19   10   the jury, you will decide disputed questions of fact.             And

01:15:23   11   as the Judge, I'll decide questions of law and procedure.

01:15:27   12             From time to time during the trial and at the end

01:15:30   13   of the trial, I'll instruct you on the law that you must

01:15:35   14   follow in making your decision.

01:15:37   15             Very soon the lawyers for each side will make what

01:15:41   16   is called an opening statement.        Opening statements are

01:15:45   17   meant to help you understand the evidence.          However, what

01:15:49   18   the lawyers say during their opening statements is not

01:15:53   19   evidence.     It's only what they expect the evidence to show.

01:15:56   20             You should base your decision only on the evidence

01:16:00   21   that you hear and that comes in from the witness stand into

01:16:04   22   evidence through depositions and from the exhibits that I

01:16:11   23   have admitted into evidence.

01:16:11   24             You will rely on this evidence in making your

01:16:15   25   decision as to the verdict in this case.
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01:16:17    1           The party who brings a lawsuit is called the

01:16:21    2   Plaintiff, and the Plaintiff in this case is Lone Star

01:16:26    3   Technological Innovations, LLC, who will be referred to as

01:16:28    4   Plaintiff or Lone Star during the trial.

01:16:30    5           The party against whom the suit is brought is

01:16:33    6   called the Defendant, and in this action the Defendant is

01:16:39    7   ASUSTeK Computer, Inc., who will be referred to as the

01:16:43    8   Defendant or ASUS during the trial.

01:16:46    9           As I told you during voir dire this morning, this

01:16:49   10   is a case of alleged patent infringement.          After the

01:16:54   11   opening statements, Lone Star will call witnesses and

01:16:57   12   present evidence, and then ASUS will have an opportunity to

01:17:01   13   call witnesses and present evidence.

01:17:03   14           After the parties' main cases are completed, Lone

01:17:09   15   Star may be permitted to present what is called rebuttal

01:17:12   16   evidence.   After all of the evidence is in, I will instruct

01:17:15   17   you on the applicable law, and I will give you detailed

01:17:20   18   instructions, both orally as I am doing now, and at the end

01:17:25   19   of the case you will also have written instructions to take

01:17:28   20   with you to the jury room.

01:17:30   21           After I have given you your final instructions,

01:17:33   22   after all of the evidence is in and after you have heard

01:17:37   23   those instructions, then you will hear the closing

01:17:41   24   arguments of the party -- of the parties.          And after you

01:17:45   25   have heard their closing arguments, then and only then will
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01:17:51    1   you retire to the jury room to start discussing the case to

01:17:54    2   deliberate and to reach a verdict.

01:17:56    3              Throughout the course of the trial, I want you to

01:17:58    4   keep an open mind.     Don't decide any fact until you have

01:18:02    5   heard all of the evidence, then the closing arguments, and

01:18:06    6   then my instructions.

01:18:08    7              You should pay close attention to the evidence and

01:18:13    8   the testimony.     If you would like to take notes during the

01:18:15    9   trial, you may do so.     And we've got some notebooks that --

01:18:20   10   do you have your notebooks yet?        Okay.

01:18:23   11              You can make notes in your notebooks any time you

01:18:27   12   want to.     And if you decide to do that, be careful not to

01:18:30   13   get so involved in your note taking that you become

01:18:33   14   distracted or miss part of the testimony.          You don't need

01:18:37   15   to write down everything that happens.         Just take the notes

01:18:40   16   that you feel are appropriate or would be helpful to you.

01:18:44   17              Your notes, however, are only to be used as an aid

01:18:49   18   to your memory.     And if later your memory is different from

01:18:52   19   your notes, you should rely upon your memory and not your

01:18:56   20   notes.     Just because something gets written down on the

01:18:59   21   note pad doesn't make it any more important than your own

01:19:04   22   recollection or another person's recollection.

01:19:07   23              So don't be influenced by any notes that either

01:19:10   24   you take or someone else takes.        A juror's notes are not

01:19:15   25   entitled to any greater weight than the recollection of
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01:19:19    1   each juror concerning the testimony.

01:19:25    2           Now, we do have a court reporter who is present

01:19:26    3   and taking down stenographic notes in the courtroom, but a

01:19:30    4   copy of that testimony will not be available for your use

01:19:33    5   during deliberations.

01:19:35    6           On the other hand, any exhibits that are

01:19:37    7   introduced into evidence, that would be documents and other

01:19:40    8   physical evidence, will be available for you during your

01:19:47    9   deliberations.

01:19:48   10           Now, my next instruction is very important.             Our

01:19:53   11   Constitution guarantees a trial by an impartial jury, and

01:19:57   12   that means that you as jurors must decide the case solely

01:20:03   13   based on the evidence that's presented here in the

01:20:07   14   courtroom and on the law that I give to you that you must

01:20:12   15   follow in your deliberations.

01:20:13   16           Until all of the evidence has been presented and

01:20:15   17   the arguments have been made and I have given you

01:20:18   18   instructions, you may not discuss this case with anyone,

01:20:21   19   even your fellow jurors.

01:20:23   20           So when you go to lunch or you take a break, you

01:20:27   21   all feel free to talk about whatever you want to, just

01:20:30   22   don't talk about the case.

01:20:32   23           After you begin your deliberations, of course, you

01:20:40   24   can discuss the case with your fellow jurors, but you can't

01:20:46   25   discuss it with anyone else until the very end and the case
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01:20:49    1   is over with and I have released you from that restriction.

01:20:53    2             So during the trial, you may also not conduct any

01:21:04    3   independent investigation about the case or the matters or

01:21:12    4   legal issues, attorneys involved in the case.           Don't learn

01:21:15    5   anything -- don't try to learn anything about the case from

01:21:17    6   any outside source.     And that's very important.

01:21:20    7             The bottom line for the important work you're

01:21:23    8   going to be doing as jurors is that you have to base your

01:21:26    9   verdict only on the testimony that has been given under

01:21:30   10   oath that complies with the rules of evidence we are

01:21:34   11   required to follow and the exhibits that have been legally

01:21:37   12   admitted into evidence here in the courtroom, along with

01:21:43   13   the instructions that I give you about the law.           So don't

01:21:45   14   go to any other source to receive information, don't read

01:21:50   15   anything in the newspaper or listen to anything on the

01:21:56   16   radio or watch television.

01:21:59   17             If something should appear there, and as I said

01:22:03   18   before, I think it's unlikely it will, but if it does, just

01:22:07   19   don't read the article, don't watch the article or

01:22:09   20   listen -- don't watch the story or listen to the radio

01:22:13   21   report.

01:22:15   22             Don't use the Internet or Google to find out any

01:22:19   23   information about the case or the parties or the attorneys.

01:22:22   24   So don't go home and try to do your own investigation about

01:22:25   25   the facts of the case.     That would be extremely improper.
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01:22:30    1            And the reason, again, is very important.           It

01:22:35    2   would violate your oath as a juror because you would be

01:22:39    3   considering something other than the evidence that has been

01:22:42    4   presented here in the courtroom.        And if that were to

01:22:47    5   happen, it could result in a mistrial.

01:22:52    6            There's been an enormous amount of time and effort

01:22:54    7   and expenditures by the parties to get this case to this

01:22:59    8   point.   And if you were to engage in behavior like that, it

01:23:03    9   potentially could jeopardize getting a verdict.           So please

01:23:15   10   remember that rule.

01:23:16   11            I will remind you about these rules throughout the

01:23:19   12   course of the case and I do that, of course, not because I

01:23:22   13   have any concern about your ability to follow those rules

01:23:25   14   but just to emphasize their importance.

01:23:27   15            I told you earlier you can't talk to anybody, and

01:23:35   16   that includes your family and your friends.          So in the

01:23:40   17   evenings you can't talk to them about the case.           I -- I

01:23:46   18   think it's unlikely to happen, but if someone should

01:23:51   19   approach you to talk to you about the case, you should

01:23:57   20   refuse to do so and inform me immediately.

01:24:01   21            You should also not allow the case to be discussed

01:24:04   22   in your presence.     And that means during a trial like this,

01:24:11   23   kind of holding yourself apart from anybody, except your

01:24:16   24   fellow jurors, who you run into in the courthouse, in the

01:24:20   25   halls, in the elevators waiting to go through the security
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01:24:25    1   line in the morning.

01:24:26    2           It is important for you not only to be fair and

01:24:30    3   impartial but also to appear to be fair and impartial.             So

01:24:37    4   that is an important rule I'll ask you to follow, as well.

01:24:41    5           The attorneys and the parties are all very

01:24:46    6   personable, nice folks, and I'm sure they would like

01:24:51    7   nothing other than to visit with you while you're in the

01:24:53    8   courthouse, but they're following my rules in this regard

01:24:56    9   and so they won't be speaking to you.         And they're doing

01:24:59   10   that not because they are rude or impolite or anything like

01:25:04   11   that, but just they know what my rules are in this regard,

01:25:08   12   and they're certainly going to want to follow those.

01:25:12   13           So you will have a juror badge on throughout the

01:25:15   14   course of the trial and -- so people will know who you are

01:25:21   15   and they should not be approaching you.

01:25:24   16           Now, we all use smartphones and tablets and

01:25:33   17   computers in our daily lives.       You can't communicate with

01:25:38   18   anyone about the case at all.       Don't post any updates on

01:25:41   19   any social networking site or anything like that.            No

01:25:47   20   tweets on Twitter or status updates on Facebook.            No

01:25:53   21   mention about the case on any kind of site.          Don't text

01:25:58   22   anyone about anything or email anyone about this case for

01:26:00   23   the same reason I gave you before.        It could potentially

01:26:04   24   result in a waste of a lot of time and expense that

01:26:07   25   everybody has put into getting the case ready to trial.                So
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01:26:10    1   I'll ask you to follow that instruction very carefully.

01:26:14    2             As I told you before we broke for lunch, there

01:26:17    3   will be occasions when I have to visit with the attorneys

01:26:21    4   outside your presence.     I'll try to keep those times to a

01:26:25    5   bare minimum.   We'll be here in the morning to deal with

01:26:30    6   things, we'll deal with things over the lunch hour, and at

01:26:33    7   the conclusion of the day, after you have left, but they

01:26:36    8   are an inevitable part of any trial.         And it almost

01:26:41    9   certainly will happen that we ask you to wait for us in the

01:26:44   10   jury room while we resolve some legal or evidentiary

01:26:50   11   matter.

01:26:51   12             I'd ask you not to speculate or worry about what

01:26:55   13   we're discussing outside of your presence, and I'll ask you

01:26:59   14   for your patience in the event you do have to wait.

01:27:02   15             All right.   Let me explain to you a little bit

01:27:06   16   about the parties and the nature of the case.           It is a

01:27:09   17   patent case, and it involves a patent that's been

01:27:13   18   identified as U.S. Patent No. 6,724,435.          And that patent

01:27:19   19   will also be known throughout this trial by its last three

01:27:24   20   digits, the '435 or the '435 patent.

01:27:28   21             Generally, the patent relates to technology for

01:27:31   22   color control for digital video images.          Lone Star contends

01:27:42   23   that certain ASUS products infringe Claims 1, 2, 3, 5, 6,

01:27:47   24   13, 14, and 15 of the '435 patent, and these claims will be

01:27:51   25   referred to as what we call asserted claims.           Lone Star
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01:27:56    1   also contends that it is entitled to damages as a result of

01:28:01    2   this alleged infringement.

01:28:03    3           ASUS -- or ASUS denies that it has infringed the

01:28:07    4   asserted claims of the '435 patent, and it contends that

01:28:11    5   the patent is invalid.     It further contends that Lone Star

01:28:15    6   is not entitled to damages.

01:28:18    7           Now, all of this may sound like Greek to you.                I

01:28:22    8   know it's a lot of new words that are thrown at you.             I

01:28:27    9   will define a lot of the words for you as we go through the

01:28:30   10   instructions, and the attorneys will discuss them with you

01:28:33   11   in their opening statements.       And the witnesses are going

01:28:38   12   to help you understand the words.        So don't feel

01:28:42   13   overwhelmed at this point.      You're going to get a lot of

01:28:44   14   education this week and a lot of help from the attorneys

01:28:47   15   and the witnesses for both sides.

01:28:49   16           I do want to explain to you a little bit about our

01:28:53   17   patent system generally in the United States.           You saw the

01:28:55   18   video this morning before jury selection.

01:28:59   19           Patents are issued by the Patent and Trademark

01:29:02   20   Office, which is part of the United States government.               The

01:29:06   21   government is empowered by our Constitution to enact patent

01:29:11   22   laws and to issue patents to protect inventions.

01:29:15   23           Inventions that are protected by patents may be

01:29:18   24   products, compositions, or methods for doing something or

01:29:24   25   for using or making a product or a composition.
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01:29:28    1           The purpose of the patent system is to help

01:29:31    2   advance science and technology, and it -- our system

01:29:40    3   achieves this purpose by granting to the owner of the

01:29:43    4   patent the right for the term of the patent to exclude any

01:29:47    5   other person from making, using, offering for sale,

01:29:51    6   selling, or importing the invention covered by the patent

01:29:54    7   anywhere in the United States.

01:29:55    8           A patent is granted for a set period of time.

01:29:58    9   Once a patent expires, the invention then becomes part of

01:30:03   10   what we call the public domain, which means that anyone is

01:30:07   11   free to use it, and the patent owner may no longer exclude

01:30:11   12   anyone from making use of the invention that is claimed in

01:30:15   13   the patent.

01:30:16   14           During the term of the patent, however, if another

01:30:20   15   person without the patent owner's permission makes, uses,

01:30:25   16   sells, offers to sell, or imports into the United States

01:30:28   17   something that is covered by the claims of the patent, then

01:30:31   18   that person is said to infringe the patent.

01:30:34   19           The patent owner may enforce a patent against

01:30:38   20   persons or companies believed to be infringers in a lawsuit

01:30:44   21   in federal court just as in this case.         The law does not

01:30:47   22   require that the patent owner give advance notice to a

01:30:51   23   Defendant that the Plaintiff intends to file suit.

01:30:55   24           Everyone, however, has the right to use existing

01:31:00   25   knowledge and principles.      A patent cannot remove from the
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01:31:03    1   public the ability to use what was known or obvious before

01:31:08    2   the invention was made or patent protection was sought.

01:31:12    3             Thus, to be entitled to patent protection, an

01:31:20    4   invention must be new, useful, and nonobvious.

01:31:23    5             To obtain a patent, the applicant must file a

01:31:26    6   patent application with the United States Patent Office.

01:31:32    7   After the applicant files this application, a patent

01:31:34    8   examiner exams the application to determine whether the

01:31:38    9   invention described in the patent application meets the

01:31:42   10   requirements of the patent laws for patentable inventions.

01:31:47   11             If the examiner concludes that the legal

01:31:50   12   requirements for a patent have all been satisfied, he or

01:31:53   13   she allows the claims, and the application issues as a

01:31:58   14   patent.

01:31:58   15             The process from the filing of the application to

01:32:01   16   the issuance of a patent is called patent prosecution.             The

01:32:07   17   record of papers that is related to the patent prosecution

01:32:13   18   is referred to as prosecution history or file history.

01:32:18   19             The granting of the patent by the Patent Office

01:32:23   20   carries with it the presumption that the patent is valid.

01:32:27   21             From the issuance of a patent, it is presumed that

01:32:31   22   its subject matter is new, useful, and constitutes an

01:32:35   23   advance that was not at the time the invention was made

01:32:39   24   obvious to one of ordinary skill in the art.           However, that

01:32:43   25   presumption may be rebutted at trial, and you, the finder
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01:32:46    1   of fact, may find the patent to be invalid.

01:32:50    2           I want to instruct you about the significance of

01:32:53    3   the patent claims.

01:32:54    4           The claims of a patent are the main focus of a

01:32:59    5   patent case because the claims are what define the patent

01:33:03    6   owner's rights under the law.       That is, the claims define

01:33:08    7   what the patent owner may exclude others from doing during

01:33:12    8   the term of the patent.

01:33:13    9           The claims of a patent serve two purposes.             First,

01:33:18   10   they set the boundaries of the invention covered by the

01:33:23   11   patent, and, second, they provide notice to the public of

01:33:27   12   those boundaries.

01:33:29   13           Thus, when a method is accused of infringing a

01:33:32   14   patent, the patent claims are compared to the accused

01:33:36   15   method to determine whether there is infringement.            The

01:33:40   16   claims of the patent are what infringed when patent

01:33:44   17   infringement occurs -- or are what are infringed when

01:33:47   18   patent infringement occurs because the claims define what

01:33:51   19   the invention is.

01:33:52   20           In researching your determinations with respect to

01:33:56   21   infringement, you must consider each claim separately.

01:34:00   22           Now, when claims define the invention, sometimes

01:34:03   23   there's disagreement between the parties as to what certain

01:34:06   24   words or terms in the claims mean.        And when this happens,

01:34:10   25   they ask the Court to interpret those terms in light of the
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01:34:14    1   patent as a whole, and this is to help solve their

01:34:20    2   disagreement and to give you, the jury, guidance in

01:34:23    3   applying the claims to the facts of the case.

01:34:26    4             This happened in this case, and at some time prior

01:34:30    5   to the trial, we had a hearing, and I heard arguments and

01:34:33    6   then rendered a claim interpretation of the disputed terms.

01:34:36    7             My interpretation of the language of the claims

01:34:40    8   should not be taken as an indication by you that I have a

01:34:44    9   personal opinion or any opinion at all regarding issues

01:34:49   10   such as infringement.     Those issues are yours alone to

01:34:54   11   decide.   But you must use the meanings when you decide the

01:34:58   12   issues of infringement.

01:35:00   13             I want to give you some information about the

01:35:03   14   issue that will be presented to you in the trial, as well

01:35:07   15   as a short overview of the applicable law.

01:35:11   16             At the close of the trial, I will give you some

01:35:14   17   specific instructions that you must follow in reaching your

01:35:17   18   verdict, and you will also be given a verdict form and

01:35:22   19   questions that you must answer in providing your verdict.

01:35:26   20             All of that will happen at the very end of the

01:35:28   21   case, but I want you to understand and provide you with

01:35:31   22   some instructions that will help you -- that you will need

01:35:36   23   to follow in deciding the case.

01:35:37   24             We talked this morning, the attorneys did, about

01:35:41   25   some burdens of proof.
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01:35:43    1           In any legal action, the facts are -- the facts

01:35:47    2   are proven by a acquired standard of evidence that is known

01:35:51    3   as the burden of proof.      And as I told you before -- or the

01:35:56    4   attorneys may have mentioned, you may have heard about it

01:36:01    5   in connection with a criminal case, the burden of proof

01:36:05    6   that is called proof beyond a reasonable doubt is not used

01:36:11    7   in this case or any other civil case.         That's used in

01:36:15    8   criminal cases.

01:36:16    9           In this case, Lone Star must prove its claims of

01:36:20   10   patent infringement and damages by what we call a

01:36:25   11   preponderance of the evidence.       And when a party has the

01:36:28   12   burden of proof by a preponderance of the evidence, it

01:36:36   13   means that you must be persuaded that what the party seeks

01:36:41   14   to prove is more probably true than not true.

01:36:44   15           Put another way, if you were to put the evidence

01:36:48   16   for and against the party into scales -- opposite sides of

01:36:53   17   the scales, preponderance of the evidence means that the

01:36:57   18   scale must tip at least somewhat toward the party who has

01:37:01   19   the burden of proof.

01:37:02   20           ASUS -- or ASUS has the burden of proving

01:37:09   21   invalidity by clear and convincing evidence, and that means

01:37:14   22   evidence that produces in your mind a firm belief or

01:37:17   23   conviction as to the matter at issue.

01:37:21   24           Although proof to an absolute certainty is not

01:37:27   25   required, clear and convincing evidence does require a
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01:37:30    1   greater degree of persuasion than is necessary for the

01:37:35    2   burden -- for the preponderance of the evidence standard.

01:37:39    3   If the proof establishes in your mind a firm belief or

01:37:44    4   conviction, then that standard has been met.

01:37:50    5             Again, the standard that is called beyond a

01:37:53    6   reasonable doubt is one that is used in criminal cases, and

01:37:57    7   you should put it out of your mind.

01:37:59    8             Now, let me visit with you about your duties as

01:38:03    9   jurors.

01:38:04   10             You really will have two duties as jurors.           The

01:38:11   11   first is to decide the facts based upon the evidence that

01:38:14   12   is presented.   That is your job and your job alone.

01:38:17   13             Your second duty is to apply the law as I give it

01:38:21   14   to you to those facts that you find.         You must follow those

01:38:25   15   instructions on the law even if you disagree with them.

01:38:29   16             Each of the instructions that I have given you now

01:38:33   17   and the instructions I will give you at the end of the

01:38:36   18   trial are important, and you must follow all of those.

01:38:39   19             I want you to do that, and I know that you will do

01:38:43   20   that, because it is important for you to be able to perform

01:38:47   21   your duties fairly and impartially.         You should not allow

01:38:53   22   sympathy, prejudice, fear, public opinion, or anything else

01:38:56   23   to influence you in any way.

01:39:00   24             Nothing that I have said this morning, this

01:39:02   25   afternoon, or at any part during the trial is meant to
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01:39:09    1   indicate in any way any opinion on my part about what I

01:39:13    2   believe the facts are or what I believe your verdict should

01:39:16    3   be.   Again, you, the jury, will be the sole judges of the

01:39:23    4   facts in this case.

01:39:25    5              You will hear testimony from a number of witnesses

01:39:29    6   in the case.     Some of them will be here present in the

01:39:33    7   courtroom.     But some have not been able to travel from

01:39:37    8   their homes for medical or other reasons concerning the

01:39:42    9   pandemic.    And you will see those witnesses who testify

01:39:50   10   remotely through screens, the screen in the courtroom.            And

01:39:55   11   you should give those witnesses the same -- or you should

01:40:01   12   examine their testimony according to the same weight and

01:40:05   13   credibility as you would any other witness, and you should

01:40:08   14   consider their testimony as if they were here, present in

01:40:12   15   the courtroom and testifying in the courtroom.

01:40:19   16              All right.     That concludes my opening instructions

01:40:21   17   for you.

01:40:22   18              I have given you some logistical information about

01:40:26   19   what your trial day will be like, so you have a general

01:40:30   20   idea of what to expect as the trial proceeds.

01:40:34   21              And with those preliminary comments, at this time,

01:40:37   22   the Plaintiff may present its opening statement.

01:40:44   23              MR. SABA:    Thank you, Your Honor.     May it please

01:40:54   24   the Court.     Counsel.

01:40:56   25              Ladies and gentlemen, good afternoon.
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01:40:59    1           As Americans and Texans, we have to respect the

01:41:04    2   property rights of others, and when someone takes another

01:41:09    3   property right without permission, we have a legal system

01:41:11    4   in place to correct that.      And, ladies and gentlemen, that

01:41:16    5   is why you have been called today.

01:41:17    6           We are here today because Defendant, ASUS, has

01:41:21    7   wrongfully used and continues to use Lone Star's

01:41:25    8   technology.     My name is John Saba.     I'm a lawyer

01:41:32    9   representing Plaintiff, Lone Star, over here.          I was born

01:41:34   10   and raised in Dallas and now live in Austin.          And I want to

01:41:39   11   thank all of you for your time serving in this case today.

01:41:42   12           This is a patent infringement case.          Plaintiff,

01:41:44   13   Lone Star, owns a patent on display technology.           And

01:41:47   14   Defendant, ASUSTeK, a Taiwanese company, has infringed on

01:41:52   15   that patent.

01:41:53   16           You may or may not be familiar with patents.

01:41:56   17   Patents are granted for inventions.        It's a property right,

01:42:00   18   an intellectual property right granted by the

01:42:04   19   U.S. government for an invention.        And the owner of a

01:42:06   20   patent owns the rights to the invention.

01:42:08   21           Intellectual property rights are no different than

01:42:12   22   regular property rights.     If you own a piece of property,

01:42:15   23   like your home, then you have the right to control that

01:42:18   24   property.     You can control who comes on and off your

01:42:22   25   property, you can charge rent if you want to rent it out,
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01:42:25    1   and if you own a patent, then you have the right to control

01:42:28    2   how that invention is used.      Be it real property or

01:42:33    3   intellectual property, it's essentially the same.

01:42:37    4           Over the course of the next few days, you're going

01:42:40    5   to hear a fair amount of technology, displays and monitors

01:42:46    6   and color changes, and while some of that may seem

01:42:50    7   complicated, this case is really quite simple.           The

01:42:53    8   evidence will show that this case really comes down to

01:42:57    9   three things.

01:42:59   10           Number one, Lone Star owns United States -- a

01:43:03   11   United States patent for an invention to make color

01:43:05   12   correction changes on displays, monitors, and televisions,

01:43:09   13   an invention that essentially has made its way into many,

01:43:13   14   many modern televisions, monitors and displays.

01:43:17   15           Number two, ASUS infringes on that patent.              ASUS

01:43:23   16   sells monitors and displays in this country that contain

01:43:26   17   the patented invention color-changing technology.              And the

01:43:30   18   evidence will show that Lone Star's expert, who we'll talk

01:43:35   19   about more in a second, tells you how the products infringe

01:43:39   20   because he tested the products, he reviewed the ASUS

01:43:42   21   product manuals and other technical documents, and he even

01:43:46   22   reviewed the source code on the chips contained in some of

01:43:50   23   the ASUS displays.    ASUS even advertises the infringing

01:43:55   24   technology themselves.

01:43:56   25           And, number three, Lone Star is entitled to
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01:44:00    1   damages.

01:44:01    2              And, ladies and gentlemen, that is why you're

01:44:03    3   here, and I want to talk to you briefly about each of

01:44:07    4   these.

01:44:07    5              Lone Star is a Texas company which owns the patent

01:44:12    6   at issue in this matter.     The patented invention involves

01:44:15    7   the ability to change individual colors on a display.

01:44:18    8              Specifically, Lone Star owns U.S. Patent

01:44:27    9   No. 6,724,435.

01:44:28   10              And as Judge Schroeder informed you, we

01:44:32   11   refer -- we'll be referring to the patent as the '435

01:44:35   12   patent throughout this week.       That's the last three digits

01:44:40   13   of the registration number.

01:44:42   14              The patent is titled:    Method for Independently

01:44:47   15   Controlling Hue Or Saturation of Individual Colors in a

01:44:48   16   Real Time Digital Video Image.       The '435 patent describes

01:44:52   17   an invention that you're probably already familiar with.

01:44:55   18   The evidence will show it's an important feature in many,

01:45:00   19   if not all, modern televisions and displays.          And it

01:45:05   20   teaches, as we say in patent law, the concept of changing

01:45:08   21   an individual color without changing the other colors.

01:45:11   22              In order to understand the importance of the

01:45:15   23   invention, I want to talk to you a little bit about the

01:45:19   24   problem that existed before the patent was invented.            And

01:45:23   25   before I do, I need to tell you a little about some terms
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01:45:26    1   that you're going to hear about this week, terms that I

01:45:29    2   learned from taking this case on -- and like, for example,

01:45:33    3   hue or saturation of a color.       I had no idea what those

01:45:36    4   terms meant.

01:45:37    5             Hue is the shade of color or tint.

01:45:41    6             Saturation is the intensity of color.

01:45:44    7             So let me explain to you the problem that existed.

01:45:47    8   In the early 2000s, before the patented invention, a user

01:45:52    9   was only able to change the hue or saturation of all the

01:45:57   10   colors on a monitor.     It was all or nothing.       You couldn't

01:46:03   11   change one color.

01:46:04   12             And so on the far left, you see the picture of the

01:46:07   13   television that looks like it's in black and white.            That's

01:46:11   14   without any saturation whatsoever.        That's an unsaturated

01:46:16   15   photo.    And as saturation is increased, you get the super

01:46:20   16   vividness over there on the right.

01:46:21   17             But what was needed was the ability to select one

01:46:26   18   color and change that color without changing the other

01:46:29   19   colors.    For example, this picture of a parrot, if you

01:46:32   20   wanted to change the hue of blue to green, there needed to

01:46:37   21   be a way to do that.     So here, you see the picture of a

01:46:41   22   parrot with blue feathers, and then it changes to green,

01:46:45   23   but the yellow feathers don't change.

01:46:48   24             The problem of color changing technology becomes

01:46:53   25   more complex when we're talking about televisions and
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01:46:56    1   monitors, i.e., videos.     And let me use this as an example.

01:47:02    2   Because I'm from Dallas, I'm a lifetime Cowboys fan.            This

01:47:09    3   is a picture of Roger Staubach.       Assume for purposes of

01:47:16    4   this example, that this is a 60-second YouTube clip of

01:47:21    5   Roger Staubach.     In order for this image to be displayed,

01:47:25    6   just a still image to be displayed, it typically requires

01:47:29    7   about 2 million pixels of data.

01:47:32    8             So that picture, without any playing, consists of

01:47:36    9   about 2 million pixels of data, which are the color dots on

01:47:42   10   that screen.   Every video or most videos have about 30 to

01:47:46   11   60 frames per second.     So that means for one second of

01:47:49   12   video, we're talking about 50 million -- approximately 50

01:47:53   13   million pixels of data.     And that's a lot of date.

01:47:59   14             So if I wanted to change the blue in

01:48:01   15   Mr. Staubach's jersey, I have to essentially sift through

01:48:04   16   about 50 million pixels of data.       Now you have an idea of

01:48:10   17   how complicated the problem is.

01:48:13   18             The '435 invention solved it with the ability to

01:48:18   19   change hue or saturation of one individual color without

01:48:22   20   changing the other colors.      The invention was appealing to

01:48:27   21   so many, but nowadays it is -- it became more or less a

01:48:32   22   standard feature.

01:48:33   23             When we talk about patents, we talk about patent

01:48:39   24   claims.   And patent claims define the boundaries of the

01:48:46   25   invention just like a fence line -- just like a fence line
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01:48:54    1   puts the metes and bounds on any boundary of real estate.

01:49:00    2   All right.     And this is a copy of the patent that my

01:49:03    3   co-counsel was talking about this morning.          And it's

01:49:07    4   about 18 pages long.

01:49:08    5            To get to the claims, you go to the back, and it

01:49:11    6   says:   What is claimed, Number 1.       And it starts off:      A

01:49:15    7   method of independently controlling hue or saturation,

01:49:20    8   these steps consisting of.      And I want to talk to you very

01:49:24    9   briefly about that because you're going to be hearing more

01:49:27   10   about Claim 1, which is the primary claim.

01:49:30   11            Now, Claim 1 may seem like a lot of information,

01:49:33   12   but if you break it down into five steps, it's not that

01:49:36   13   complicated.     And you're going to hear Plaintiff, Lone

01:49:39   14   Star, talk all about the Claim 1 steps.

01:49:41   15            The first step of Claim 1, Step 1(a), is:

01:49:45   16   Receiving and characterizing the digital input image.            That

01:49:50   17   is getting a signal.     Whether your television or monitor is

01:49:54   18   plugged into cable, whether it's plugged into a computer,

01:49:56   19   it's getting a signal from something.

01:49:58   20            Step 1(b):    Selecting to independently change the

01:50:04   21   hue or saturation.     That is the monitor or display's

01:50:07   22   ability to change one color.      We're going to talk about

01:50:10   23   that more in a second.

01:50:11   24            Three:    Identifying a plurality of input image

01:50:19   25   pixels containing that color range.
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01:50:22    1              Four:   Determining the output image pixel values.

01:50:29    2              And, five:   Displaying the image.

01:50:31    3              The evidence will show that ASUS's products also

01:50:36    4   do these five steps.

01:50:38    5              The evidence will show that typically this color

01:50:41    6   changing feature is included on displays, and what we'll

01:50:45    7   refer to during the trial as an on-screen display.            An

01:50:49    8   on-screen display or OSD is usually -- this is an example

01:50:53    9   of a monitor -- is usually hued from one of the buttons on

01:51:00   10   the display itself.

01:51:02   11              So, for example, if there's an on/off button and

01:51:04   12   some selection buttons, you pull it up and you see a menu

01:51:06   13   similar to that, and then you can effectuate a number of

01:51:10   14   changes, including selecting the input, changing hue or

01:51:15   15   saturation, et cetera.

01:51:15   16              And the devices at issue in this case regard what

01:51:19   17   we'll refer to as 6-axis color control or 3-axis color

01:51:28   18   control.    3-axis is red, green, and blue.       6-axis is red,

01:51:36   19   green, blue, cyan, magenta, and yellow.

01:51:48   20              Let's talk about Point No. 2.      ASUS is a large

01:51:50   21   computer and display manufacturer located in Taiwan,

01:51:53   22   Republic of China.

01:51:54   23              Now, you may or may not be familiar with ASUS or

01:51:56   24   its brands.    ASUS sells a number of computer -- excuse me,

01:52:00   25   consumer electronic products here in the United States.
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01:52:02    1   The types that are at issue in this case are monitors or

01:52:05    2   displays, whichever you prefer to call them.          And we'll

01:52:08    3   refer to those products throughout the trial as the accused

01:52:12    4   products.

01:52:12    5           The evidence will show that the accused products

01:52:15    6   infringe on the patent because they include functionality

01:52:18    7   for a user to change individual color without affecting

01:52:25    8   other colors.

01:52:26    9           ASUS does not have permission to use the patented

01:52:29   10   technology in their products.       Unlike other display

01:52:32   11   companies that actually have a license to use the patented

01:52:35   12   technology, like Sharp, Acer, and NEC, ASUS does not, and

01:52:41   13   therefore is liable for patent infringement.

01:52:42   14           There are approximately 135 accused product

01:52:52   15   families at issue in this lawsuit, all displays, and all of

01:52:57   16   the ASUS products are sold in the United States for

01:53:00   17   millions of dollars.

01:53:01   18           And the evidence will show, ladies and gentlemen,

01:53:04   19   that ASUS advertises on its website the patented

01:53:12   20   technology.     You're going to be presented with

01:53:15   21   Plaintiff's 14 -- Exhibit 14, pardon me, where ASUS

01:53:19   22   advertises on its website 6-axis independent color

01:53:26   23   adjustment, customized hue or saturation control with 6

01:53:30   24   color adjustment allows you to adjust 6 colors

01:53:33   25   independently without affecting the other colors.
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01:53:37    1              THE COURT:     Mr. Saba, hold on just one moment.

01:53:39    2              MR. OLIVER:     Your Honor, this is one of the slides

01:53:41    3   that we objected to and were told was changed for the

01:53:44    4   presentation.

01:53:45    5              MR. SABA:     Your Honor, I don't believe this slide

01:53:48    6   was objected to in our opening.       I think it was objected to

01:53:52    7   in Dr. Ducharme's.       And it's Plaintiff's 14, as I told

01:53:57    8   Mr. Oliver yesterday.

01:53:58    9              MR. OLIVER:     I guess -- I believe we objected to

01:53:59   10   it.   I'm not going to press the issue.        We'll drop the

01:54:03   11   objection at this point.       I do not think it's in

01:54:06   12   Exhibit 14, but I'll let him continue.         I'm sorry.

01:54:10   13              MR. SABA:     Thank you.

01:54:10   14              THE COURT:     Continue.

01:54:11   15              MR. SABA:     Ladies and gentlemen, you will be

01:54:15   16   presented at trial how the language of this advertisement

01:54:17   17   is nearly -- it's similar, if not identical, to the '435

01:54:22   18   patent.

01:54:22   19              Over the course of the next few days, you're going

01:54:26   20   to hear from several Lone Star witnesses, including Lone

01:54:29   21   Star's expert technical witness, Dr. Al Ducharme.

01:54:34   22   Dr. Ducharme is an expert in display technology.            He's a

01:54:38   23   professor, a Ph.D. of electrical engineering where he

01:54:44   24   taught display technology at the University of Central

01:54:48   25   Florida.    He has over 30 years of experience in the field
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01:54:51    1   of display technologies.

01:54:53    2           Dr. Ducharme will testify on why the ASUS

01:54:55    3   products -- the accused products infringe on the patent.

01:54:58    4   He actually tested a -- two ASUS displays with

01:55:04    5   sophisticated color sensing equipment to confirm his

01:55:08    6   theories.   He examined the source code on the display chips

01:55:17    7   in the accused products, and he reviewed technical

01:55:23    8   documentations and specifications.

01:55:26    9           Dr. Ducharme will testify that ASUS's products

01:55:28   10   infringe on the patented invention, and he will provide a

01:55:32   11   detailed analysis of how each step of each claim asserted

01:55:37   12   infringes on the '435 patent.

01:55:37   13           The evidence will show that the bottom line is if

01:55:41   14   the monitor can change one color at a time without changing

01:55:44   15   the other colors, it's using Lone Star's technology and

01:55:48   16   infringing Lone Star's patent.

01:55:49   17           You're going to hear from ASUS, as well, after the

01:55:57   18   Plaintiff rests in their case.       ASUS is going to tell you

01:55:59   19   that their products don't infringe.        The evidence that will

01:56:02   20   show that they're going to criticize Dr. Ducharme for only

01:56:07   21   testing a few products, but I will submit to you that you

01:56:12   22   don't need to eat all the cookies in the package to know

01:56:14   23   that they're chocolate chip.

01:56:19   24           They are going to criticize Dr. Ducharme's

01:56:21   25   analysis of the source code, but the evidence will show
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01:56:23    1   that ASUS did not inspect the source code.          At the end of

01:56:28    2   the day, Lone Star believes it will easily meet its burden

01:56:33    3   of proof to show infringement.

01:56:35    4            ASUS will also likely argue that the patent that

01:56:39    5   the United States government issued, the '435, is not

01:56:44    6   valid.   And -- but as -- but as you heard this morning in

01:56:51    7   the video, a patent is presumed to be valid just like your

01:56:54    8   driver's license is presumed to be valid.

01:56:57    9            Finally, ASUS will probably argue that they don't

01:57:01   10   have to pay anything.     But the evidence will show that if

01:57:06   11   you find infringement, that the -- the law -- the law

01:57:13   12   affords Lone Star what is called a reasonable royalty.

01:57:17   13            So after you decide infringement and validity, you

01:57:20   14   will then be asked to award a damages amount of no less

01:57:24   15   than a reasonable royalty.

01:57:25   16            You're going to hear from Lone Star's damages

01:57:28   17   expert, Mr. Glenn Perdue, who -- he will walk you through

01:57:33   18   his calculations to arrive at a reasonable royalty.

01:57:40   19            He's going to discuss something called a

01:58:01   20   hypothetical negotiation.      It's a special construct, and

01:58:01   21   it's unlike a regular negotiation.        In a hypothetical

01:58:01   22   negotiation, you will assume that the patent is infringed.

01:58:01   23   The evidence will show that it is.        You assume that the

01:58:01   24   patent is valid.    The evidence will show that it is.          And

01:58:02   25   you will assume that ASUS wants the technology.           The
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01:58:04    1   evidence will show why else is it in their product.

01:58:08    2              And at the conclusion of evidence, we are going to

01:58:11    3   ask you to award Lone Star at least $2.8 million for ASUS

01:58:20    4   infringing its intellectual property rights.

01:58:23    5              Thank you.

01:58:31    6              THE COURT:    Okay.   At this time, ASUSTeK may

01:58:34    7   present its opening statement.

01:58:36    8              MR. OLIVER:    Can we switch the monitors to -- we

01:59:28    9   kept it plugged in when we tested it this morning.            Should

01:59:28   10   we plug them into the cable that they used?

01:59:31   11              THE COURT:    Yeah, why don't we try that.

02:00:38   12              MR. OLIVER:    Thank you for your patience.       I'm

02:00:40   13   sorry about that slight technical difficulty.          Hopefully my

02:00:45   14   controller will work.      Okay.   Good.

02:00:49   15              Ladies and gentlemen, once again, I want to start

02:00:51   16   by thanking you for being here and thank you for your

02:00:55   17   service.    I know there are places that you would rather be

02:00:58   18   than sitting in a courtroom listening to this exciting

02:01:02   19   patent case about monitors and color technology.           But

02:01:06   20   because you're here, we really appreciate it and appreciate

02:01:09   21   what you're doing to help us reach justice.

02:01:13   22              As I said this morning, my name is Andrew Oliver.

02:01:17   23   I'm a lawyer for ASUS.      My colleague, Vinay Joshi, is here

02:01:23   24   at the table with me.      Michael McCarady, the ASUS

02:01:29   25   representative, is here from Dallas.        Mr. McCarady is a
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02:01:33    1   long-time Texan.    And like I said, he refused to leave

02:01:37    2   Texas when ASUS asked him to move to Indiana.          He's been

02:01:44    3   married for 30 years, has four kids, grandkids, Air Force

02:01:49    4   veteran, loves working for ASUS, and was able to move into

02:01:55    5   a job where he is managing a bunch of people in South

02:01:59    6   America and different places in the United States, serving

02:02:02    7   these products when somebody has a problem with them.

02:02:05    8            Jaime Morquecho is a witness that's going to be

02:02:09    9   appearing by video from California.        He was planning to be

02:02:12   10   here, as well, had a very unfortunate family health

02:02:17   11   situation where his brother is essentially in terminal

02:02:24   12   illness and getting very close and he needs to be with his

02:02:27   13   brother, but he is going to testify by video.

02:02:29   14            Mr. Alvin Lin is going to testify from Taiwan by

02:02:38   15   video.   He is not here because of COVID because once

02:02:42   16   somebody leaves Taiwan and then tries to step back in, they

02:02:45   17   have to go into a two-week quarantine where they're locked

02:02:49   18   up in their house or hotel for two weeks and can't do

02:02:52   19   anything else.

02:02:52   20            So you'll also see -- I'm going to ask the other

02:02:56   21   witnesses that are here to stand up.

02:03:02   22            Dr. Robert Stevenson, he's an electrical

02:03:06   23   engineering professor from Notre Dame.         He'll be talking

02:03:13   24   about the technology that's at issue.

02:03:14   25            And Mr. Brett Reed is an economist, and he'll be
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02:03:17    1   talking about the value of the patent when we get to that

02:03:20    2   point in the case.

02:03:27    3              I just wanted to put up here an image for you from

02:03:30    4   the ASUS website just to give you -- it might be hard to

02:03:33    5   read, but give you an idea.

02:03:34    6              Up at the top, you can see ASUS manufactures

02:03:36    7   mobile phones, laptops, displays, desktops, motherboards,

02:03:42    8   networking equipment, different computer accessories.

02:03:45    9              We have a few of them here.      I've got some boxes

02:03:48   10   here that we'll show you at some point.         We have a couple

02:03:51   11   of monitors here that we'll be showing.         I'll use one of

02:03:56   12   those during the demonstration.       We have got an ASUS

02:04:05   13   projector here that we'll also be showing you.

02:04:07   14              But the company is headquartered in Taiwan but is

02:04:13   15   a worldwide company, and they have about -- the testimony

02:04:18   16   you'll hear is that they have about 300 employees in the

02:04:22   17   United States.     A good chunk of those are in California,

02:04:25   18   but the other employees are spread around, like

02:04:31   19   Mr. McCarty, and operate at different places in the

02:04:34   20   country.

02:04:34   21              I wasn't real familiar with ASUS until I went to

02:04:38   22   Taiwan once.     My brother is a long-term missionary in

02:04:42   23   Taiwan, and I went to his wedding, and I saw the products

02:04:46   24   everywhere in Taiwan.     They seem to be a big seller there.

02:04:50   25   They're not as big in the market here in the United States,
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02:04:53    1   but you will see ASUS laptops or monitors from time to time

02:04:58    2   if you go to, say, a Walmart or a Best Buy or something

02:05:01    3   like that.

02:05:01    4              This case is a patent infringement case, and given

02:05:04    5   that it's a patent infringement case and it's about

02:05:07    6   monitors, you might be wondering why does this guy have a

02:05:12    7   picture of a gun up on the screen and a word like "hunting"

02:05:17    8   or "murderer" or something like that.

02:05:19    9              We're going to get into some complex technology,

02:05:23   10   and I want to give you an analogy that will help you center

02:05:27   11   this around something you're really familiar with.

02:05:29   12              When I was a kid, I grew up in a pretty small town

02:05:32   13   in Arizona, way smaller than Tyler.        Just about everybody I

02:05:36   14   knew had a gun, and we knew that we had a right to have a

02:05:39   15   gun.   People used it for hunting.       People used it to go

02:05:44   16   target shooting.     Some people had gun collections.

02:05:48   17              Where I lived, there wasn't much need for having a

02:05:50   18   gun to protect yourself.     There wasn't a lot of crime, but

02:05:56   19   some people keep guns legally to protect themselves.            And

02:05:59   20   while we know having a gun is legal, selling a gun, buying

02:06:03   21   a gun is legal, but there are certain things you can't do

02:06:06   22   with it.     And one of the things that I put up there that I

02:06:09   23   thought of is you can't murder somebody.

02:06:13   24              Am I permitted to take the mask off?

02:06:15   25              THE COURT:   Yes, you are.    Yes.
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02:06:16    1           MR. OLIVER:     It's getting a little uncomfortable

02:06:18    2   to speak with the mask on.

02:06:19    3           Murdering is a method of using the gun, right?

02:06:23    4   You point it at someone, and you pull the trigger.            That's

02:06:25    5   one way to use it.

02:06:27    6           Hunting is another way.        You point it at something

02:06:31    7   else, not a person, and shoot.

02:06:34    8           Same with collecting, that's one way of using it.

02:06:36    9   You display it.

02:06:38   10           If this were a case about guns, the situation we

02:06:41   11   have here is Lone Star would be telling us you can't own

02:06:45   12   guns because having that gun is something that's not legal,

02:06:48   13   because what they're going to be telling you is selling

02:06:54   14   these ASUS products in the United States is enough to show

02:06:58   15   infringement.     But it's not.

02:06:59   16           What they need to show is they need to show that

02:07:04   17   somebody actually uses a very specific, very obscure menu

02:07:09   18   item in the United States, and they won't show that.

02:07:11   19           And what I'm going to -- I'm going to tell you a

02:07:17   20   little bit about the claims of the patent.

02:07:19   21           As Mr. Saba showed you, the patent -- you'll have

02:07:25   22   a copy of this.     It's got numbered claims in it.        They're

02:07:30   23   numbered 1 to 38.     And you will see claims starting at

02:07:35   24   Claims 17 to 38 that talk about the system, okay?           That's a

02:07:40   25   claim on a monitor, a device itself.
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02:07:45    1             If that claim were something we were considering,

02:07:48    2   actually selling the device could potentially infringe the

02:07:53    3   patent.   But Claim 17 and all of the ones below it, 17

02:07:57    4   through 38, they're not at issue in this case.           They have

02:08:01    5   been removed from the case.

02:08:04    6             So we're just talking about Claims 1 and a couple

02:08:08    7   of the other claims that talk about -- not a system but a

02:08:11    8   method.   A method is a way of using a product.          What's at

02:08:17    9   issue in this case is the particular way a product is used.

02:08:22   10             So, you know, briefly going back to the gun

02:08:25   11   analogy, having the gun, having the system is not at issue.

02:08:32   12   It's the question of how you use it.        Everybody can have a

02:08:35   13   gun; nobody can murder someone.

02:08:39   14             Here, everybody can have this monitor.         Nobody can

02:08:43   15   use it in a very particular way.       What I want you to listen

02:08:47   16   for is evidence that people in the United States use that

02:08:51   17   and there's -- and whether there's evidence that anybody

02:08:55   18   uses that method, because there won't be evidence of that.

02:08:59   19             Now, I want to talk to you a little bit more about

02:09:02   20   the technology, and to do that, I want to talk a little bit

02:09:07   21   about pixels on the monitor.

02:09:09   22             When you look at a computer monitor, you see an

02:09:11   23   image, that image is made up of millions of dots.           Each of

02:09:15   24   those dots, if you got out a magnifying glass and you

02:09:19   25   looked at it, each of them would have a blue, a red, and a
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02:09:24    1   green component, little crystals -- crystals change when

02:09:28    2   electrical voltages are applied to them.         They change how

02:09:32    3   much light they let through.

02:09:33    4           And those three little crystals make up a pixel,

02:09:38    5   and then each -- you know, they can be changed in intensity

02:09:43    6   to vary the color.     A lot of red and no blue or green means

02:09:47    7   it looks red.     A lot of blue and no red or green means it

02:09:51    8   looks blue.     And mixing them, you can show millions -- in

02:09:57    9   fact, some monitors, I can't even comprehend it, but some

02:10:00   10   monitors can show billions of colors, and I didn't even

02:10:06   11   know there were such things as billions of colors.

02:10:09   12           But this is some background for you because you're

02:10:12   13   going to hear a lot of talk about changing red, green, or

02:10:19   14   blue, but the important thing is -- in this case to focus

02:10:22   15   on is the menus.     And we've already seen some menus.

02:10:28   16           This is what Lone Star is calling a 6-axis and

02:10:31   17   ASUS calls a 6-axis menu.      And you can see at the top of

02:10:35   18   that menu on the right, it says 6-axis hue, and it says

02:10:38   19   6-axis saturation.     And I will flip forward to the

02:10:41   20   saturation selection.

02:10:43   21           You can -- as I go back and forth, you can see

02:10:46   22   somebody can move between hue and saturation, and they can

02:10:49   23   also move to something called gain which is a completely

02:10:53   24   different thing.

02:10:55   25           And then they can choose one of those colors:
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02:10:58    1   red, green, blue, cyan, which is kind of an aqua blue,

02:11:01    2   magenta, which is almost purple, and, yellow, which we all

02:11:10    3   know.    And they can adjust components of that in the 6-axis

02:11:14    4   menu.

02:11:15    5             Those menus only appear in these ProArt, which are

02:11:20    6   essentially professional artist products.         And one of the

02:11:23    7   ProArt products, if you look up at the upper left, you can

02:11:27    8   see "PA" for ProArt.

02:11:29    9             The ProArt products have the 6-axis menu that Lone

02:11:33   10   Star is focused on.     Those ProArt products are

02:11:37   11   about 2 percent of these dollars that ASUS makes off of its

02:11:43   12   sales.    So Lone Star's case is based on 2 percent of the

02:11:46   13   sales, but it's asking you to award damages on a 100

02:11:50   14   percent of the sales.

02:11:51   15             So what you would need to consider and think about

02:11:54   16   is any number that they give you is probably going to be --

02:11:58   17   need to be divided by at least 50 to account for just the

02:12:02   18   ProArt products, unless you find that the other products

02:12:05   19   infringe.

02:12:06   20             And if we look at the other products, we'll see

02:12:09   21   that they have menus that are different.         So focus on the

02:12:13   22   menus that you see and the menus that you hear about.            This

02:12:18   23   menu has brightness, contrast, saturation, and color

02:12:22   24   temperature.    And there is within some of these menu, not

02:12:26   25   all of them, within some of them, there's a way to adjust
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02:12:31    1   red, green, or blue, those three colors that I showed you

02:12:36    2   on the pixel.

02:12:38    3            But not every product has a menu like that.

02:12:42    4   There's also products that have only the ability to control

02:12:45    5   brightness.     And here you can see, you know, just as a

02:12:48    6   representation, we've got two light bulbs.          One is off,

02:12:54    7   it's dark.     One is on, it's bright.     They're both the same

02:12:59    8   color white.     One is just brighter than the other.

02:13:01    9            Brightness controls that aspect of it, not whether

02:13:04   10   it's red versus green versus blue, and not the saturation,

02:13:10   11   which is what Mr. Saba showed you goes from gray to an

02:13:13   12   intense color.

02:13:14   13            And I have a product here, this S -- this S1

02:13:27   14   projector, which only has a menu like this.

02:13:29   15            Your Honor, may I move a little closer to the

02:13:33   16   jury?

02:13:33   17            THE COURT:    Not without a microphone, you may not.

02:13:36   18   If you have a microphone, you may.

02:13:38   19            MR. OLIVER:    So the S1 product is a projector.

02:13:44   20   I'll try to project it here on the wall next to you.            It

02:13:47   21   may or may not be visible in the court.

02:13:53   22            And it's got a menu in it -- oh, it's going to be

02:13:56   23   tough to see, but I'm hoping you will have it in the jury

02:14:05   24   room.   But as we look at it here on the screen or on the

02:14:08   25   wall, you can control volume, brightness, contrast.            This
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02:14:16    1   is a display selection, splendid.        You can either choose

02:14:27    2   standard color or theater, and aspect ratio.          You can

02:14:31    3   choose the projection position.       If you're going to put it

02:14:33    4   on the table or hang it upside down, it'll flip the image.

02:14:38    5   And then there's setup that just gives you the language

02:14:41    6   basically.    And there's an information, that's not a

02:14:56    7   setting, and then back to display.

02:14:58    8           In this product, I'm hoping you'll have this, but

02:15:02    9   if not, we'll at least have some testimony about it.            There

02:15:06   10   is no way to control red, green, or blue.         There's no way

02:15:10   11   to control hue or saturation, as shown in the patent.            Yet

02:15:21   12   Lone Star's expert witness, Dr. Ducharme, claimed that that

02:15:24   13   product infringed.    He says, they all operate the same.

02:15:34   14   Pay close attention to the menus that we show you.

02:15:38   15           What Dr. Ducharme did was he analyzed one ASUS

02:15:45   16   product, and he said -- or two ASUS products, and he said,

02:15:48   17   from this, I conclude that 130 products infringe, including

02:15:52   18   screens and projectors.

02:15:55   19           We're going to show you about -- during the trial

02:16:01   20   about 10 or 15 other products that don't infringe, that

02:16:06   21   don't have the same menus, that don't have the same

02:16:09   22   features.    We're also going to show you even the products

02:16:12   23   he analyzed don't infringe because they don't meet the

02:16:17   24   requirements of the claim.

02:16:18   25           Now, remember, this is about using a method, not
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02:16:21    1   using a product.     When you or I sit down and we do work --

02:16:26    2   most of us aren't artists -- we plug in the monitor, and we

02:16:30    3   use it.     We don't ever use that menu to alter things.

02:16:33    4   Somebody might use it once in a while, but, again, watch

02:16:36    5   for evidence that they won't be able to show you that

02:16:39    6   people actually use those menus in the United States.

02:16:42    7             We're not sitting with a professional artist setup

02:16:48    8   to manage the color of an image.       These products are

02:16:54    9   sold -- other than the 2 percent of ProArt products, these

02:16:57   10   products are sold to ordinary people that are using

02:17:00   11   monitors.

02:17:01   12             Again, a U.S. patent covers what happens in the

02:17:05   13   United States.     I realize I'm missing Alaska and Hawaii

02:17:08   14   there, but you get the idea.      It doesn't matter if somebody

02:17:12   15   uses the method in another country.        It doesn't matter if

02:17:16   16   the factory were to use that menu to calibrate it outside

02:17:19   17   of the U.S., because what we're talking about with the U.S.

02:17:23   18   patent laws is what happens inside the U.S.

02:17:25   19             Now, these products get manufactured, they get put

02:17:29   20   in a box somewhere in the world, and they get shipped to

02:17:33   21   distributors.     You might see them at Amazon, Best Buy,

02:17:39   22   Walmart, some other less famous distributors.          A lot of

02:17:44   23   these distributors are international, and you'll hear that

02:17:48   24   Lone Star won't even show how many of these products

02:17:51   25   actually went to consumers in the U.S.         They may have been
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02:17:56    1   shipped by UM or Sonex through somebody in Canada or Europe

02:18:00    2   or Mexico or another country.

02:18:02    3              As I said, Mr. McCarady runs teams that service

02:18:06    4   these products in South America.

02:18:14    5              The products go into a box, and so on the box,

02:18:17    6   ASUS doesn't perform the method, and the box comes to the

02:18:20    7   U.S.    Just like -- I realize Colt is a U.S. manufacturer,

02:18:20    8   but when a manufacturer puts a product in a box and ships

02:18:25    9   it, they don't take it out and shoot it.         They don't take

02:18:28   10   it out and murder somebody once it gets there.

02:18:29   11              The other thing we'll look at and we'll hear about

02:18:32   12   is a bunch of these products are made by companies other

02:18:36   13   than ASUS.     ASUS contracts with multiple companies called

02:18:48   14   original device manufacturers, or you may have heard the

02:18:48   15   term ODM.     ASUS says, I want a screen that's this big, that

02:18:48   16   displays this many colors, that has these features that

02:18:54   17   looks like this, and if you can build it, we'll put the

02:18:57   18   ASUS name on it, and we'll buy it from you.          Those

02:19:01   19   companies make the screens.

02:19:03   20              ASUS doesn't even know what goes into a lot of the

02:19:05   21   screens.     They just know what they see when they look at

02:19:09   22   it.    They don't know what chips are in the screen.          They

02:19:12   23   don't make the software or know what software goes in the

02:19:16   24   screens.     They just sell what comes to them in the box

02:19:19   25   after testing some of them to make sure they meet the
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02:19:22    1   standards.

02:19:22    2              And you will hear from Dr. Ducharme that he did a

02:19:25    3   test.     He took apart one of these monitors, and he found a

02:19:29    4   chip in it.     And he then goes on to claim that all of the

02:19:32    5   products from this little projector to monitors, to other

02:19:40    6   projectors, and other size monitors have the same chip in

02:19:43    7   it and have the same software.

02:19:46    8              And pay very close attention because when he shows

02:19:53    9   you the chip and he shows you the software, you will see

02:19:56   10   that the chip number doesn't even match the software

02:19:59   11   number.     And you'll also see that he mixed and matched

02:20:03   12   software from different products such that he doesn't even

02:20:06   13   have a complete package of software for one product.

02:20:10   14              The software is not a huge deal.       The menus are

02:20:13   15   the huge deal.     But this -- what this is going to show is

02:20:16   16   that his analysis is flawed, and he hasn't even fairly

02:20:20   17   considered what may be in those products.         Look for the

02:20:24   18   menus.     Look for the hue and saturation adjustment in each

02:20:30   19   product.

02:20:31   20              The other thing that Dr. Ducharme will show you is

02:20:34   21   he tested either three colors or he tested six colors.

02:20:39   22   These monitors have 60 million colors or they might have a

02:20:44   23   billion colors.     Like I said, it's hard for me to

02:20:49   24   comprehend.

02:20:50   25              The method here talks about independently
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02:20:53    1   controlling hue or saturation of individual colors,

02:20:56    2   selecting to independently change the hue or saturation of

02:20:59    3   an individual color.     And then when you go down to the

02:21:03    4   bottom of the claim, it says:       Without affecting the hue or

02:21:07    5   saturation of any other individual color.

02:21:09    6            The question is:     Out of those 16 billion colors,

02:21:14    7   and he tested either three or six colors, how does he --

02:21:20    8   how can he prove to you that none of the others changed?

02:21:24    9   He can't.   And what we're going to do -- if Mr. Joshi will

02:21:28   10   come up here and help me for a minute -- we're going to

02:21:31   11   show you a few colors.     We're going to show you that the

02:21:36   12   mon- -- that -- the monitor that Dr. Ducharme testified

02:21:40   13   about.   We're going to show you that, indeed, the other

02:21:54   14   colors change --

02:21:55   15            THE COURT:     Mr. Oliver, I need you with a

02:21:57   16   microphone if you're going to be away from the --

02:22:03   17            Mr. Saba?

02:22:06   18            MR. SABA:     Your Honor, we would like to object for

02:22:08   19   the -- for the Defendants doing a demonstration in opening

02:22:12   20   of this sort.

02:22:13   21            THE COURT:     Well, I'm going to give him a little

02:22:16   22   latitude.

02:22:18   23            MR. SABA:     Thank you, Your Honor.

02:22:24   24            MR. OLIVER:     Hello?

02:23:00   25            What we've got here is the color that's in -- on
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02:23:03    1   the screen.     And what I'm going to do, I'm going to go to

02:23:08    2   the menu.     And this product -- the menu is down on the --

02:23:14    3   on the bottom, and I'm going to move to the color

02:23:17    4   selection, and I'm going to show you that when we change

02:23:24    5   the -- what's -- when we change the red, green, or blue,

02:23:29    6   I'm going to decrease red, you're going to see at least a

02:23:34    7   couple of others change in color.        You can see that the

02:23:44    8   magenta changed to a dark blue.       Yellow changed to green.

02:23:50    9   I'll take that back up so you can see.

02:23:54   10            But changing red changes other colors, but you can

02:23:57   11   also look at what was white here.        As I altered it, white

02:24:07   12   changes to blue.     As I bring the red back up, white changes

02:24:13   13   red.   The same thing is going to be true if you change

02:24:16   14   green or blue.

02:24:17   15            As we listen to the testimony and as we listen to

02:24:22   16   Dr. Ducharme who tested only a couple of colors, he is not

02:24:25   17   going to be able to tell you what actually happened.            He

02:24:28   18   has to show that you can change red without changing any

02:24:33   19   other colors.

02:24:35   20            It's going to become blatantly obvious that other

02:24:39   21   colors change when you change red.        That's one of the

02:24:41   22   reasons that ASUS says they don't infringe this patent,

02:24:46   23   because they don't.

02:24:47   24            Another feature we'll talk about with Dr. Ducharme

02:24:50   25   is saturation.     In some of the products, he talks about how
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02:24:54    1   a single saturation control for the whole screen is

02:24:58    2   infringing.    And that saturation control, if we go to it --

02:25:23    3   if I decrease the saturation, it's going to take this down

02:25:26    4   to gray.    You see the whole -- the whole screen turns gray

02:25:35    5   when I change the saturation.

02:25:36    6              You may or may not recall from the -- from Lone

02:25:41    7   Star's opening statement that -- that the -- they said the

02:25:54    8   problem was the whole screen turned gray.         The solution was

02:25:58    9   something different.     But yet, Dr. Ducharme is going to

02:26:02   10   come up here and tell you that -- doing exactly what was

02:26:05   11   around before the patent infringes.

02:26:08   12              The other thing -- so there will be much more time

02:26:53   13   for demonstrating this during the trial, these color

02:26:56   14   changes, and you'll see it in more detail, exactly what

02:27:00   15   happens.    But you could see when I showed you that -- I'm

02:27:03   16   just a lawyer so you can't take what I showed you as

02:27:07   17   evidence -- but when one of the witnesses shows you, then

02:27:09   18   you will be able to take that as evidence.          They will be

02:27:12   19   able to show you with multiple colors.         I'm running low on

02:27:16   20   time.    I've only got a couple minutes left, so I'm going to

02:27:21   21   rush through a couple of other things I want to talk to you

02:27:23   22   about.

02:27:24   23              If somebody invents something before the patent,

02:27:27   24   that can invalidate the patent.       And in this case,

02:27:35   25   Mr. Brett -- I don't know Mr. Brett, but Mr. Brett invented
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02:27:39    1   a patent in 1998 before the application for this '435

02:27:42    2   patent was filed in 2001.      Three years earlier Mr. Brett

02:27:50    3   had a system that does what we're talking about.           The upper

02:27:53    4   left, you can see an input.      If you go to the right just a

02:27:57    5   little bit, you can see RGB there.        Drops down to the

02:28:02    6   middle, hue and saturation and luminance, the three -- I'm

02:28:13    7   going to walk over because my laser printer doesn't work.

02:28:18    8   RGB, that comes down here, hue, saturation, and luminance.

02:28:24    9   They go across.     Delta means it's change.

02:28:29   10           So what changes, RGB, goes back up, adds in,

02:28:36   11   outputs the signal.     This was three years before the '435

02:28:39   12   patent was filed.

02:28:47   13           We're also going to show you something called

02:28:48   14   double-patenting.     Double-patenting is a concept that

02:28:52   15   basically is when somebody tries to cheat on the Patent

02:28:54   16   Office a little bit.     The U.S. government says:        You file a

02:28:58   17   patent application, you get 20 years of exclusivity.

02:29:03   18           Sometimes what people do is a couple years later

02:29:06   19   they file another patent application and they try and get

02:29:08   20   another patent on the same thing.

02:29:10   21           And what you will see here is 6,122,012 and the

02:29:15   22   '435 patent.   If we zoom in on them, you will see the same

02:29:19   23   inventor, Yosef Segman of Zichron Yaacov, Israel -- Yosef

02:29:26   24   Segman of Zichron Yaacov.      Oplus Technology is the company

02:29:30   25   that owns the technology.      And look down at the bottom,
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02:29:32    1   filed March 1999.     Filed August 2001.     So two years later

02:29:39    2   he filed another patent on the same thing to try and get

02:29:42    3   more length, more exclusivity, more money out of it even

02:29:46    4   though you're only allowed to file a patent once.           So there

02:29:50    5   will be testimony about exactly what's shown in these

02:29:54    6   patents.

02:29:54    7              The final thing I want to discuss with you is

02:29:57    8   money.     We don't think there's infringement, as I have told

02:29:59    9   you.     The menus don't support it.     They don't do the things

02:30:04   10   that Dr. Ducharme said.     The colors change when they're not

02:30:08   11   supposed to to infringe the patent.        But if you do find

02:30:12   12   infringement on something, a reasonable royalty is what is

02:30:15   13   going to be calculated.     Mr. Reed is going to come up, and

02:30:22   14   he's going to tell you why he thinks there's some problems

02:30:24   15   with the methodology that Lone Star used.

02:30:28   16              They're asking for money too early.       They can't

02:30:29   17   get money before they notify ASUS of alleged infringement.

02:30:32   18   They didn't even notify ASUS until they filed a lawsuit.

02:30:36   19              There's too many products, including about 40

02:30:40   20   products in their damages that aren't even accused of

02:30:44   21   infringement.     They're asking for too high of a royalty

02:30:47   22   because of a flat analysis.

02:30:49   23              Mr. Reed will explain that further.

02:30:52   24              Thank you for your patience.      Thank you for your

02:30:54   25   time.     I'll see you later in the case, and turn it over to
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                                                                                    130



02:30:57    1   the Plaintiff at the time.

02:31:03    2           THE COURT:     Thank you, Mr. Oliver.

02:31:05    3           Does either party wish to invoke the Rule?

02:31:08    4           MR. BENNETT:     There's no witnesses to invoke the

02:31:10    5   Rule against, Your Honor.      Plaintiff does not.

02:31:12    6           THE COURT:     Okay.

02:31:13    7           MR. OLIVER:     No, Your Honor.

02:31:14    8           THE COURT:     Okay.   Very well.

02:31:19    9           Ladies and gentlemen of the jury, before the

02:31:22   10   Plaintiff presents its first witness, we're going to take

02:31:25   11   our afternoon break at this time.

02:31:27   12           I'm going to ask you all to adhere to social

02:31:31   13   distancing as best you can.      And as I mentioned to you in

02:31:36   14   my preliminary instructions, don't talk to anybody about

02:31:39   15   the case until you have heard all of the evidence and I

02:31:43   16   have instructed you on the law.       Feel free to talk about

02:31:47   17   the weather or football or baseball or whatever you want to

02:31:50   18   talk about, just don't talk about what you have heard thus

02:31:53   19   far in the case.

02:31:54   20           So we will be in recess about 15 minutes.

02:32:03   21           COURT SECURITY OFFICER:        All rise for the jury.

02:32:06   22           (Jury out.)

02:32:52   23           THE COURT:     Please be seated.

02:32:54   24           Okay.   There were a couple of objections.           I think

02:32:57   25   one objection each in opening.       I don't know if the parties
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                                                                                    131



02:33:01    1   wish to say anything further about that.         I had understood

02:33:03    2   the slides were agreed.

02:33:07    3           Mr. Oliver -- and I confirmed that, so I don't

02:33:10    4   know what the issue was with respect at least to

02:33:13    5   Defendant's objection.

02:33:15    6           MR. OLIVER:     I'm sorry, Your Honor.       We did object

02:33:21    7   to that slide in the expert witness presentation.           It was

02:33:23    8   taken out.   It was my mistake.      I apologize.

02:33:28    9           THE COURT:     Okay.

02:33:29   10           MR. SABA:     On our objection, Your Honor?

02:33:33   11           THE COURT:     Yeah.

02:33:34   12           MR. SABA:     Well, candidly, I don't believe we knew

02:33:39   13   they were going to do a demonstration, but I think the ship

02:33:41   14   has sailed on that, so...

02:33:43   15           THE COURT:     I'm sorry?

02:33:45   16           MR. SABA:     I think it's already too late, so,

02:33:45   17   yeah.

02:33:46   18           THE COURT:     That ship has sailed.

02:33:48   19           MR. SABA:     Thank you, Your Honor.

02:33:48   20           THE COURT:     Okay.   We'll be in recess.

02:48:13   21           (Recess taken.)

02:51:03   22           THE COURT:     Anything we need to discuss before we

02:51:07   23   have the jury brought in?

02:51:10   24           MR. BENNETT:     No, Your Honor.

02:51:12   25           THE COURT:     Mr. Richardson, if you would have the
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                                                                                    132



02:51:16    1   jury brought in.

02:51:17    2            MR. OLIVER:     Your Honor, Mr. Joshi is going to be

02:51:19    3   attending to the Plaintiff's first witness.

02:51:21    4            THE COURT:     Okay.   Very well.

02:51:27    5            (Jury in.)

02:53:29    6            THE COURT:     Please be seated.

02:53:43    7            Okay.    At this time, the Plaintiff may call its

02:53:46    8   first witness.

02:53:47    9            MR. BENNETT:     Your Honor, the Plaintiff calls

02:53:50   10   Jesse Rice.

02:54:00   11            (Witness sworn.)

02:54:19   12            THE COURT:     You may proceed.

02:54:20   13            MR. BENNETT:     Thank you, Your Honor.

02:54:22   14                JESSE RICE, PLAINTIFF'S WITNESS, SWORN

02:54:22   15                           DIRECT EXAMINATION

02:54:22   16   BY MS. BENNETT:

02:54:25   17   Q.   Mr. Rice, please tell the jury what your position is

02:54:29   18   with Lone Star.

02:54:29   19   A.   I'm the managing director of Lone Star.

02:54:32   20   Q.   Could you adjust the mic, sir.      Say that again, please.

02:54:36   21   A.   I'm the managing director of Lone Star.

02:54:38   22   Q.   What does it mean to be managing director at Lone Star?

02:54:42   23   A.   Essentially means I'm in charge of making decisions for

02:54:45   24   the company.

02:54:46   25   Q.   Okay.   Does Lone Star have any employees?
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02:54:48    1   A.   It does not.

02:54:49    2   Q.   Does it have any staff?

02:54:51    3   A.   It does not.

02:54:52    4   Q.   Does it have any offices?

02:54:54    5   A.   It does not.

02:54:55    6   Q.   What does Lone Star have?

02:54:57    7   A.   Lone Star owns some intellectual property.

02:55:00    8   Q.   And what is it that Lone Star does?

02:55:02    9   A.   Lone Star does intellectual property development,

02:55:09   10   licensing, patented technology.

02:55:11   11   Q.   Okay.   When you're not at Lone Star or not working with

02:55:15   12   Lone Star, what are you doing?

02:55:16   13   A.   My regular day job is I am a software engineer.

02:55:20   14   Q.   Okay.   Other than being a software engineer, what do

02:55:27   15   you do?

02:55:27   16   A.   I enjoy hiking, vacationing, traveling with my wife.

02:55:31   17   Q.   Tell the jury a little bit about your family.

02:55:36   18   A.   Sure.   I live with my wife up in Redmond, Washington.

02:55:39   19   Been married for about 10 years now.        My wife is originally

02:55:42   20   from India, and the rest of her family lives here in Texas.

02:55:46   21   Q.   Okay.   So you -- I'm sorry, did you -- where do you

02:55:50   22   live, did you say?    I wasn't sure what you said.

02:56:00   23   A.   My wife and I live up in Redmond, Washington.

02:56:03   24   Q.   Okay.   In terms of the '435 patent that's at issue, how

02:56:05   25   is it that Lone Star acquired it?
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02:56:07    1   A.   Originally, in about 2009, during the financial crisis,

02:56:11    2   I was looking for some additional investment or financial

02:56:20    3   security opportunities as, you know, the threat of layoffs,

02:56:24    4   et cetera, became more real.      And real estate was not

02:56:28    5   necessarily the best investment opportunity at that time.

02:56:31    6   I had some -- one small piece of real estate prior to that

02:56:35    7   going down in value at that time.        And so intellectual

02:56:40    8   property was another investment possibility that I decided

02:56:43    9   to explore in 2009.

02:56:50   10            I heard through some acquaintances that Intel had

02:56:54   11   a patent portfolio available for sale and decided to

02:56:59   12   explore that, was able to do some research on the portfolio

02:57:03   13   that they had available and was able to do some negotiation

02:57:08   14   with them and acquire the portfolio from them.

02:57:10   15   Q.   Okay.   So just so we're clear, did you invent the

02:57:13   16   patent, the invention that's at issue in the patent,

02:57:17   17   the '435?

02:57:17   18   A.   I did not.

02:57:18   19   Q.   Okay.   And when you acquired it, did you buy it

02:57:20   20   personally, or did some -- was it by some other means?

02:57:23   21   A.   A -- I formed an LLC in Washington State, and that LLC

02:57:31   22   purchased the portfolio.

02:57:34   23   Q.   All right.    Was it the same LLC as Lone Star?

02:57:36   24   A.   It was not.

02:57:37   25   Q.   Okay.   How did Lone Star get it, then?
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                                                                                    135



02:57:39    1   A.   In 2011, Lone Star was formed, and in 2013, the patents

02:57:48    2   were transferred from the original entity to Lone Star.

02:57:53    3   Q.   Okay.    We have seen those.       There's some binders to

02:57:57    4   your right there.        We've seen it enough times.     Plaintiff's

02:58:00    5   Exhibit No. 1 is the patent.

02:58:01    6               MR. BENNETT:     Your Honor, we move for its

02:58:03    7   admission.

02:58:03    8               THE COURT:     Any objection?     Subject to the

02:58:08    9   previous objection.

02:58:10   10               MR. JOSHI:     Yes.   No further --

02:58:11   11               THE COURT:     Very well.     It'll be received.

02:58:13   12               MR. BENNETT:     Thank you.

02:58:13   13               Denver, thank you.

02:58:13   14   BY MR. BENNETT:

02:58:15   15   Q.   All right.    It should be on your monitor there in front

02:58:18   16   of you.      Is that what -- is that what Lone Star acquired?

02:58:20   17   A.   Yes.

02:58:21   18   Q.   All right.    Now, you mentioned you purchased or

02:58:27   19   acquired the patent with intent to make a return on it.

02:58:34   20   Explain that.      How would -- how would you make a return off

02:58:36   21   of a patent?

02:58:37   22   A.   Typically, with -- the main monetization of a patent is

02:58:44   23   around licensing the patented technology to other

02:58:46   24   companies.

02:58:47   25   Q.   Okay.    When you say "licensing," we've heard that word
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                                                                                    136



02:58:50    1   a few times.      In your own words, how would you describe the

02:58:55    2   licensing?     What does that mean?

02:58:57    3   A.   Sure.   It essentially means creating a contract that

02:59:03    4   authorizes another company to use the patented technology,

02:59:07    5   typically in exchange for some amount of money or some

02:59:11    6   other financial consideration.

02:59:13    7   Q.   Okay.   Has Lone Star licensed the '435 patent?

02:59:18    8   A.   Yes.

02:59:18    9   Q.   And to your right, there should be a collection of

02:59:23   10   binders, Volume I.      In that first volume, please turn to

02:59:40   11   Exhibit 32.

02:59:47   12   A.   Yes.

02:59:47   13   Q.   Are you there?

02:59:48   14   A.   Yes.

02:59:48   15   Q.   All right.     If you would, please, just for the sake of

02:59:50   16   time, review 32 -- Exhibits -- Plaintiff's Exhibits 32, 33,

02:59:59   17   and 34.

03:00:14   18   A.   Yes.

03:00:14   19   Q.   As Lone Star's director, you've seen these documents

03:00:18   20   before, right?

03:00:18   21   A.   Yes, I have.

03:00:19   22   Q.   What are they?

03:00:20   23   A.   These are licensing agreements between Lone Star and

03:00:23   24   Acer, NEC, and Sharp.

03:00:30   25   Q.   Okay.   So that would be for Plaintiff's Exhibits 32,
   Case 6:19-cv-00059-RWS Document 218 Filed 05/18/21 Page 137 of 188 PageID #: 3282
                                                                                    137



03:00:34    1   33, and 34 respectively?

03:00:36    2   A.   Yes.

03:00:37    3   Q.   All right.

03:00:37    4               MR. BENNETT:     Your Honor, we move for the

03:00:38    5   admission of Plaintiff's Exhibit 32, 33, and 34.

03:00:42    6               THE COURT:     Any objection?

03:00:43    7               MR. JOSHI:     No objection.

03:00:44    8               THE COURT:     Very well.   They will be received.

03:00:44    9   BY MR. BENNETT:

03:00:46   10   Q.   All right.    And you'll need another binder for this

03:00:49   11   one.     Exhibit -- Plaintiff's Exhibit 91.

03:01:18   12   A.   Yes, I have it.

03:01:19   13   Q.   Okay.    You recognize that document?

03:01:21   14   A.   Yes, I do.

03:01:22   15   Q.   What is it?

03:01:23   16   A.   This is a licensing agreement between Lone Star and

03:01:26   17   Barco.

03:01:27   18   Q.   And who is Barco?

03:01:29   19   A.   Barco is a company that manufactures mainly projectors.

03:01:43   20   Q.   Okay.

03:01:43   21               MR. BENNETT:     Your Honor, Plaintiffs move for the

03:01:46   22   admission of Plaintiff's Exhibit 91.

03:01:48   23               THE COURT:     Any objection?

03:01:50   24               MR. JOSHI:     No objection.

03:01:51   25               THE COURT:     It'll be received.
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                                                                                    138



03:01:52    1              MR. BENNETT:   Could you go ahead and put up 32,

03:01:54    2   please -- or, actually, no, put up Exhibit 34.

03:01:54    3   BY MR. BENNETT:

03:01:57    4   Q.   All right.   Using this one as an example -- and we'll

03:02:00    5   just talk about all four generally -- how is it that Lone

03:02:03    6   Star came by these four licenses?

03:02:05    7   A.   So Lone Star did a lot of homework with advisers and

03:02:12    8   experts to identify companies that it believed used its

03:02:19    9   patented technology and had filed lawsuits against these

03:02:24   10   companies claiming that its technology was used.

03:02:28   11              And eventually as a result of filing lawsuits with

03:02:35   12   these companies, there were negotiations that took place

03:02:37   13   between Lone Star and these companies to come to these

03:02:40   14   license agreements.

03:02:41   15   Q.   And how much -- what's the top end of these four

03:02:48   16   licenses?    Which one was at the highest end?

03:02:51   17   A.   I believe Sharp was at the high end at 435,000.

03:02:56   18   Q.   Okay.   And what's the lowest one?

03:02:58   19   A.   And I believe Barco was at the lower end, around

03:03:01   20   135,000.

03:03:02   21   Q.   Where do the other two fall?

03:03:04   22   A.   In the 250- to 280,000 range.

03:03:09   23   Q.   Okay.   And those companies paid those sums to Lone Star

03:03:12   24   in exchange for a license?

03:03:15   25   A.   That's correct.
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                                                                                    139



03:03:15    1   Q.   Now, during the opening, Mr. Oliver criticized Lone

03:03:20    2   Star a little bit for not sending a letter, for example.

03:03:26    3            Why didn't you send a letter to these companies

03:03:28    4   before suing them?

03:03:30    5   A.   In my experience and opinion, it -- sending a letter to

03:03:37    6   large companies rarely gets any response.         So filing a

03:03:42    7   lawsuit is the main mechanism where you're sure to get a

03:03:47    8   response to your concerns.

03:03:49    9   Q.   Let's talk about this lawsuit.      Obviously, we're here.

03:03:58   10   You've sued ASUS.      Who made the decision to sue ASUS?

03:04:03   11   A.   Well, again, our experts and advisers did a lot of

03:04:10   12   homework to determine that we believed that ASUS infringed

03:04:15   13   on the patented technology, and, ultimately, I'm the

03:04:20   14   decision maker that makes that call based on that advice of

03:04:24   15   our experts.

03:04:25   16   Q.   Okay.   In that first binder, will you please open to

03:04:32   17   Plaintiff's Exhibit 14A?      Specifically, Page 19 in the

03:04:51   18   bottom right-hand corner of Exhibit 14A.

03:04:55   19   A.   Yes, I have it.

03:04:56   20   Q.   What is this document?

03:04:57   21   A.   This appears to be something from ASUS's website

03:05:08   22   describing 6-axis color control.

03:05:12   23            MR. BENNETT:     Your Honor, Plaintiffs move for

03:05:14   24   admission of Plaintiff's Exhibit 114A.

03:05:17   25            THE COURT:     Any objection?
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                                                                                    140



03:05:18    1               MR. JOSHI:     No.

03:05:18    2               THE COURT:     It'll be received.

03:05:19    3               MR. BENNETT:     Put up Page 19.    Scroll -- yeah.

03:05:32    4   Maybe -- it's Page 19, bottom right corner.

03:05:32    5   BY MR. BENNETT:

03:06:19    6   Q.   All right.    What is it that the jury is looking at?

03:06:23    7   A.   This is a snippet from ASUS's FAQ on their website

03:06:32    8   describing 6-axis color control.

03:06:35    9   Q.   All right.    Is this some of the information you

03:06:37   10   referred to earlier about what you relied on in pursuing

03:06:41   11   claims against ASUS?

03:06:42   12   A.   Yes.    Most definitely.     I mean, ultimately, we defer to

03:06:47   13   our experts as far as making -- giving advice, but, yes,

03:06:55   14   this is a fairly easy to understand description that very

03:06:58   15   closely matches some of the language in the patent.

03:07:01   16   Q.   For the jury's benefit, can you point to the language

03:07:05   17   here that closely, in your view, speaks of the patent and

03:07:10   18   its claims?

03:07:10   19   A.   I think perhaps the last sentence there is what -- some

03:07:13   20   of the most important part where it indicates adjusting

03:07:17   21   different colors without affecting the output of the other

03:07:21   22   colors.

03:07:21   23   Q.   Okay.    Now, earlier, also during opening, Mr. Oliver

03:07:33   24   said or alluded to the fact that you -- that Lone Star

03:07:37   25   waited some time before it brought suit against ASUS.             Why
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03:07:41    1   did Lone Star wait?      If its rights were being infringed, as

03:07:45    2   you say, why did Lone Star wait?

03:07:49    3   A.   So it's the first time that I've been involved in

03:07:55    4   patent licensing, and it takes a while to understand the

03:07:59    5   process, to assemble a team of experts that I'm able to

03:08:04    6   work with.      And so that was an extended process that, you

03:08:08    7   know, I went through as I learned of this area.           So that

03:08:14    8   took some time, and then eventually, we did file suit

03:08:18    9   against ASUS.

03:08:20   10   Q.   You said the first time, you mean as Lone Star?

03:08:23   11   A.   Correct.

03:08:24   12   Q.   All right.    In terms of pursuing ASUS in this case, you

03:08:32   13   heard during opening, 2.8 million, we just heard your

03:08:36   14   testimony about the licenses, 435,000 top end.           That's a

03:08:42   15   pretty big gap.      Why does that gap exist?

03:08:45   16   A.   Certainly.    And all of those companies, first of all,

03:08:51   17   engaged in licensing and agreement negotiations fairly

03:09:00   18   early in the process, and they have different product

03:09:05   19   lines, different sales volumes, et cetera, from ASUS.

03:09:10   20            And so in this particular case, we moved quite far

03:09:14   21   along in the process.      And so based on the recommendations

03:09:20   22   of our damages experts, we feel that that's a reasonable

03:09:22   23   and fair royalty in exchange for, you know, the

03:09:29   24   unauthorized use of our intellectual property.

03:09:31   25   Q.   In opening, they talked a little bit about what they
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03:09:36    1   said Lone Star is trying to do.       Somehow we're trying to

03:09:40    2   take guns away or something.

03:09:42    3            What's your reaction to what you heard?

03:09:45    4   A.   Yeah.   I mean, the multiple references to murder were a

03:09:52    5   little concerning and confusing, certainly.          And I don't

03:09:57    6   think Lone Star is trying to take anything away.           Lone Star

03:10:01    7   feels as though it has, you know, a valuable asset that it

03:10:06    8   owns, and it just wants to protect that property right and

03:10:10    9   get what it feels is fair and reasonable in exchange.

03:10:13   10   Q.   Is Lone Star trying to murder anyone's technology?

03:10:16   11   A.   Certainly not.

03:10:17   12   Q.   What is it that Lone Star wants?

03:10:19   13   A.   Lone Star just wants a fair and reasonable compensation

03:10:24   14   for the unauthorized use of its valuable patented

03:10:24   15   technology.

03:10:32   16   Q.   Thank you, Mr. Rice.

03:10:32   17            MR. BENNETT:     I pass, Your Honor.

03:10:41   18            THE COURT:     Cross-examination?

03:10:45   19            MR. JOSHI:     Thank you, Your Honor.

03:10:48   20                           CROSS-EXAMINATION

03:10:48   21   BY MR. JOSHI:

03:10:49   22   Q.   Good afternoon, Mr. Rice.     My name is Vinay Joshi.        I

03:10:52   23   am a lawyer for ASUS, and I want to just ask you just a few

03:10:56   24   questions.

03:10:56   25            So I was listening to your examination by
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03:11:00    1   Mr. Bennett.     As I understand, it you're the only employee

03:11:02    2   of Lone Star; is that right?

03:11:03    3   A.   That's correct.

03:11:04    4   Q.   Okay.   So you are Lone Star?

03:11:06    5   A.   Yes.

03:11:06    6   Q.   And you live in Redmond, Washington?

03:11:12    7   A.   Yes, that's correct.

03:11:14    8   Q.   So why did you name your company Lone Star?

03:11:17    9   A.   I created the company in Texas.       I have connections to

03:11:22   10   Texas through my wife's family.        We visit here quite

03:11:26   11   frequently.     Also, Texas respects property rights a great

03:11:33   12   deal, and so the formation of the company here made sense

03:11:37   13   from that standpoint, as well.

03:11:41   14   Q.   So did you name your company Lone Star so you could

03:11:44   15   bring lawsuits in Texas?

03:11:51   16   A.   Not -- no, not specifically so I could bring lawsuits

03:11:55   17   in Texas.     It is a Texas company.

03:11:57   18   Q.   How does your company make money?

03:12:04   19   A.   The company makes money by offering a license to its

03:12:11   20   intellectual property.

03:12:13   21   Q.   Do you make any product?

03:12:15   22   A.   No.

03:12:16   23   Q.   And you don't make monitors either, I assume?

03:12:19   24   A.   That's correct.

03:12:20   25   Q.   Now, the owner -- I'm sorry -- the inventor of the
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03:12:32    1   patent, Mr. Segman, did he ever work for you at any point

03:12:36    2   in time?

03:12:37    3   A.   No.

03:12:38    4   Q.   Have you ever met him?

03:12:39    5   A.   I have not.

03:12:40    6   Q.   Were you here when Mr. Oliver did the opening for ASUS?

03:12:44    7   A.   Yes.

03:12:44    8   Q.   And he said that Mr. Segman filed two patents -- patent

03:12:53    9   applications in a two-year span, and Mr. Oliver talked

03:12:58   10   about double-patenting.     Were you here when he did that?

03:13:01   11   A.   I was.

03:13:04   12   Q.   Do you know why Mr. Segman filed two patents in two

03:13:09   13   years -- two years apart?

03:13:12   14   A.   I do not.

03:13:21   15   Q.   So let's talk about this lawsuit.       Mr. Bennett asked

03:13:24   16   you some questions about this lawsuit.         Are you aware that

03:13:30   17   there was another Defendant in this lawsuit at one time?

03:13:36   18   A.   Another Defendant in this lawsuit?

03:13:37   19   Q.   Are you aware that Barco was also sued in this lawsuit?

03:13:41   20   A.   Yes.

03:13:41   21   Q.   Okay.    So you sued Barco, and you sued ASUS?

03:13:45   22   A.   Yes.

03:13:45   23   Q.   And Barco paid you $135,000 for a license to the '435

03:13:52   24   patent?

03:13:52   25   A.   Yes, that's correct.
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03:13:53    1   Q.   And that was just a few weeks ago; is that right?

03:13:58    2   A.   I would have to look at the dates, but I believe it was

03:14:06    3   last year.

03:14:07    4   Q.   Okay.   Last year, meaning 2020?

03:14:11    5   A.   Correct.

03:14:11    6   Q.   And was that towards the end of 2020?

03:14:12    7   A.   I believe that's correct.

03:14:13    8   Q.   Okay.   Is Barco a large company?

03:14:22    9   A.   Barco is a fairly large company.

03:14:23   10   Q.   And they sell monitors, projectors, just like ASUS?

03:14:27   11   A.   I believe they sell primarily projectors.

03:14:32   12   Q.   Okay.   And you said that you're now asking ASUS

03:14:38   13   for 2.8 million because we didn't settle early in the

03:14:42   14   process and proceeded to fight; is that -- is that correct?

03:14:46   15   A.   Partially, as well as differences in volume of

03:14:52   16   products, sales volume, that sort of thing.          Damages expert

03:14:58   17   takes all those into account when he does the calculations.

03:15:01   18   Q.   Okay.   So just to reconfirm, Barco paid $135,000 for

03:15:07   19   the license?

03:15:08   20   A.   Yes.

03:15:09   21   Q.   Is Sharp a big company?

03:15:12   22   A.   Yes.

03:15:13   23   Q.   In fact, it's a big multi-national company, correct?

03:15:19   24   A.   Yes.

03:15:20   25   Q.   And they paid you $435,000 for a license to this
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03:15:24    1   patent?

03:15:24    2   A.   That's correct.

03:15:25    3   Q.   And then you said two other people paid you between

03:15:29    4   250,000 and $280,000?

03:15:31    5   A.   Correct.

03:15:32    6   Q.   Were those big companies?

03:15:35    7   A.   They were relatively large companies.

03:15:37    8   Q.   Okay.

03:15:50    9               MR. JOSHI:   May I please have Plaintiff's 14A

03:15:54   10   pulled up for me, please?      And go to page 19.

03:15:54   11   BY MR. JOSHI:

03:16:15   12   Q.   Mr. Rice, you recall Mr. Bennett asked you some

03:16:19   13   questions about this page?

03:16:20   14   A.   Yes.

03:16:20   15   Q.   Okay.    Now, it says on the document:      What is 6-axis

03:16:27   16   color independent control?

03:16:32   17   A.   Yes.

03:16:32   18   Q.   Okay.    And are you aware that ASUS has 6-axis products

03:16:44   19   and then there are products that are not 6-axis?

03:16:49   20   A.   I don't have familiarity with every individual product.

03:16:54   21   I know our experts look at all the products.

03:16:56   22   Q.   Okay.    But you specifically talked about 6-axis during

03:17:00   23   your direct exam, and you pointed this marketing material

03:17:04   24   of ASUS as the reason why you believe there's infringement,

03:17:07   25   correct?
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03:17:08    1   A.   This is one example, yes.

03:17:09    2   Q.   Okay.    And you realize that the 6-axis products are

03:17:14    3   ASUS's high end products?      Were you aware of that?

03:17:19    4   A.   I'm aware that at least some of the products are

03:17:23    5   covered by this particular language, yes.

03:17:26    6   Q.   Are you aware that less than 2 percent of ASUS's sales

03:17:30    7   are of 6-axis products?

03:17:32    8   A.   I'm not aware of that specific figure.

03:17:35    9   Q.   But at least on -- on your direct exam, you didn't show

03:17:44   10   any documentation for any other product, correct, just the

03:17:47   11   6-axis product?

03:17:48   12   A.   Only this particular slide, yes.

03:17:52   13   Q.   Okay.

03:17:53   14               MR. JOSHI:   Could you scroll up to where it shows

03:17:57   15   the user interface?      I think you have to go down actually.

03:18:12   16   My apologies, Andrew.      It's after 19.    I believe it's 20.

03:18:33   17               THE COURT:   You can remove that, Mr. Richardson,

03:18:36   18   if you want to.

03:18:38   19               COURT SECURITY OFFICER:    Thank you, Your Honor.

03:18:38   20   BY MR. JOSHI:

03:18:41   21   Q.   Mr. Rice, you see this menu?

03:18:43   22   A.   Yes.

03:18:44   23   Q.   Okay.    And then do you see that what this user

03:18:47   24   interface allows a user to do is first select either a

03:18:56   25   6-axis hue or a 6-axis saturation?        You see that?
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03:18:59    1   A.    I can see that.

03:19:01    2   Q.    Okay.   And then once the user selects one of those,

03:19:04    3   then it allows it to select a color, R for red, G for

03:19:11    4   green, B for blue, C for cyan, M for magenta, Y for yellow.

03:19:17    5   It allows the user to choose one of those six colors,

03:19:21    6   correct?

03:19:21    7   A.    I have not used this particular interface.        I would

03:19:24    8   rely on our experts as far as the particular functionality.

03:19:28    9   Q.    Okay.   But yet -- okay, so if that's true --

03:19:32   10              MR. JOSHI:     Then we go back up one page.

03:19:32   11   BY MR. JOSHI:

03:19:43   12   Q.    If that's true and you haven't used it and you're

03:19:46   13   relying on experts, how do you reconcile that with saying:

03:19:49   14   I read this on ASUS's webpage, and that's why I believe

03:19:53   15   there was infringement or something to that effect?

03:19:56   16              MR. BENNETT:     Objection, misstates prior

03:19:59   17   testimony, Your Honor.

03:20:00   18              MR. JOSHI:     I'll reask the question.

03:20:00   19   BY MR. JOSHI:

03:20:03   20   Q.    What was your testimony about this page, could you tell

03:20:05   21   me?

03:20:05   22   A.    I believe that I indicated that the language on this

03:20:07   23   page is very similar to language in the patent.

03:20:12   24   Q.    Okay.   So you're someone who understands how to read a

03:20:19   25   patent, then?
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03:20:20    1   A.   I would not say that I understand the detailed language

03:20:24    2   of the patent, but at a high level, this is fairly

03:20:27    3   straightforward language that does match very closely the

03:20:30    4   wording in the patent.

03:20:31    5   Q.   Okay.    So then -- so if we go to the next page, the

03:20:36    6   next page relates to this.

03:20:36    7   A.   Yeah.

03:20:45    8   Q.   So you understand that the 6-axis that's referenced on

03:20:48    9   the previous page references to these six colors, correct?

03:20:52   10   A.   Yes.

03:20:52   11   Q.   Okay.    So in this product of ASUS, a user is able to

03:20:59   12   choose either hue or saturation, and then after selecting

03:21:04   13   one, then he or she can select from one of those six

03:21:07   14   colors, correct?

03:21:08   15   A.   Again, I'm not familiar with this particular interface

03:21:13   16   so I would have to defer to our experts on that.

03:21:17   17   Q.   Okay.    So to be clear, then, the sentence on the

03:21:21   18   previous page that you testified about on your direct and

03:21:26   19   then this very next page that shows the menu, you yourself

03:21:30   20   are not in a position to tie them together, correct?

03:21:34   21   A.   I'm not an expert in the color control, so it would be

03:21:40   22   our technical experts that I would defer to.

03:21:43   23   Q.   Okay.    And, Mr. Rice, you testified that you are the

03:21:46   24   owner of the '435 -- let me strike that question.

03:21:53   25               Mr. Rice, you testified that Lone Star is the
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03:21:55    1   owner of the '435 patent?

03:21:56    2   A.    Yes.

03:21:56    3   Q.    And in your direct exam you didn't present any document

03:22:00    4   or show any document that proves that, correct?

03:22:03    5   A.    Correct.

03:22:03    6   Q.    Okay.    Thank you.

03:22:06    7                MR. JOSHI:     No further questions, Your Honor.

03:22:07    8                THE COURT:     Redirect?

03:22:08    9                MR. BENNETT:     Yes.   Thank you, Your Honor.

03:22:15   10                             REDIRECT EXAMINATION

03:22:15   11   BY MR. BENNETT:

03:22:18   12   Q.    Mr. Rice, does Lone Star own the patent?

03:22:20   13   A.    Yes, it does.

03:22:21   14   Q.    And why does it own the patent?

03:22:23   15   A.    It owns the patent because I am aware that I

03:22:26   16   transferred the patent to Lone Star.

03:22:28   17   Q.    Okay.

03:22:34   18                MR. BENNETT:     Denver, will you please pull up

03:22:38   19   Plaintiff's Exhibit No. 1?           Zoom in there on the first

03:22:43   20   sentence of the abstract, please, and highlight that.

03:22:43   21   BY MR. BENNETT:

03:22:51   22   Q.    Now, earlier you had said that the language from 14A

03:22:58   23   closely resembled language from the patent.           Now, this

03:23:02   24   isn't claim language, but is this the language you referred

03:23:06   25   to?
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03:23:06    1   A.   This is the language that I was referring to.

03:23:09    2   Q.   Okay.    Mr. Joshi asked you about -- well, are you

03:23:17    3   punishing or -- because ASUS is fighting, you're asking for

03:23:21    4   more.      I wanted to talk to you about that some.

03:23:25    5               For every sale of an ASUS product that infringes

03:23:30    6   on this patent, what happens to Lone Star?

03:23:33    7   A.   Lone Star is essentially prevented from getting

03:23:41    8   compensation for the use of its patented technology every

03:23:44    9   time one of those products is sold.

03:23:46   10   Q.   And as more time passes, what happens to products sold?

03:23:51   11   A.   Sales continue, and those numbers increase.

03:23:55   12   Q.   And as numbers increase, what happens to Lone Star's

03:24:00   13   losses?

03:24:00   14   A.   Lone Star is further impacted by not getting fair

03:24:05   15   compensation for its technology.

03:24:07   16   Q.   All right.    Mr. Joshi asked you about 2 percent of

03:24:12   17   sales.      Do you remember that?

03:24:12   18   A.   Yes.

03:24:13   19   Q.   He -- I didn't hear it.      Did you hear him say anything

03:24:17   20   about how much 2 percent is?

03:24:19   21   A.   No.

03:24:20   22   Q.   I didn't, either.

03:24:22   23               Do you know that?   How much 2 percent of what is?

03:24:27   24   A.   I don't.

03:24:28   25   Q.   All right.    And why not?
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03:24:33    1   A.   I don't -- I'm not privy to the detailed sales

03:24:37    2   information.      Our damages expert does those calculations

03:24:41    3   and understands the sales volumes and is able to make those

03:24:46    4   calculations.

03:24:51    5   Q.   Okay.   And why are you not privy to that?

03:24:54    6   A.   I am not allowed to see that information.         That

03:24:57    7   information is confidential, and it's restricted to only

03:25:00    8   certain parties in the case.      And I am not one of those

03:25:04    9   parties.

03:25:08   10   Q.   Mr. Joshi also asked you about the Segman invalidity

03:25:14   11   that you heard about somewhat in the opening.          Remember

03:25:17   12   that?

03:25:17   13   A.   Yes.

03:25:17   14   Q.   Are you an expert in patent law?

03:25:20   15   A.   I am not.

03:25:21   16   Q.   Does Lone Star have an expert that it will call to

03:25:27   17   testify on that issue?

03:25:28   18   A.   It does have a technical expert, yes.

03:25:31   19   Q.   And that's not you?

03:25:32   20   A.   Correct.

03:25:32   21   Q.   All right.    Going back to the conversation about ASUS

03:25:38   22   and what Lone Star's intentions are, just so we're all

03:25:42   23   clear in light of Mr. Joshi's questioning, what are Lone

03:25:45   24   Star's intentions in this lawsuit?

03:25:48   25   A.   Lone Star's intentions are just to simply get fair and
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03:25:54    1   reasonable compensation for the unauthorized use of its

03:25:57    2   patented technology.

03:25:58    3            MR. BENNETT:     That's all I have, Your Honor.

03:26:00    4            THE COURT:     Recross?

03:26:07    5            MR. JOSHI:     Very briefly.

03:26:12    6                          RECROSS-EXAMINATION

03:26:12    7   BY MR. JOSHI:

03:26:16    8   Q.   I just want to clarify something very quickly,

03:26:19    9   Mr. Rice.    This shouldn't take very long at all.         Just a

03:26:23   10   second ago you read -- you read the top line of Claim 1.

03:26:27   11   Do you recall that?     It was just a couple of minutes ago.

03:26:32   12   A.   I believe it was the abstract.

03:26:36   13   Q.   Okay.

03:26:38   14   A.   It was the abstract.

03:26:39   15   Q.   Let me ask you a question about the claims.          You

03:26:42   16   realize what your company is asserting in this lawsuit is a

03:26:46   17   method claim, correct?

03:26:48   18   A.   As Mr. Bennett mentioned, I'm not a patent expert and

03:26:55   19   so I rely on our technical expert to assert that.

03:26:59   20   Q.   But as a -- as the owner of the company and someone who

03:27:04   21   brought this lawsuit, you realize that infringement of a

03:27:09   22   method claim occurs when a person practices that method,

03:27:14   23   not when the product is sold.       You understand that?

03:27:17   24   A.   Again, I would defer to our expert, technical expert on

03:27:21   25   that.
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03:27:21    1   Q.   Okay.   Sir, just one last question.       You understand

03:27:24    2   that if ten people buy a product but only one of them

03:27:30    3   practices a method claim, then the other nine don't

03:27:37    4   infringe, you understand that, right?

03:27:38    5   A.   Again, I'm not an expert on the details of patent

03:27:41    6   usage, so I would defer to our expert on that.

03:27:46    7   Q.   Okay.   Thank you.

03:27:47    8            MR. JOSHI:     Thank you, Mr. Rice.

03:27:49    9            THE COURT:     Anything further?

03:27:50   10            MR. BENNETT:     No further questions, Your Honor.

03:27:52   11            THE COURT:     Okay.

03:27:54   12            You may step down.

03:27:55   13            Call your next witness.

03:27:57   14            MR. BENNETT:     Your Honor, we would call Mr. Alvin

03:27:59   15   Lin, except he's a remote witness.        Is he available?

03:28:06   16            MR. JOSHI:     He is available.     He's ready.     I just

03:28:10   17   have to let my colleague know for him to -- I'll step out

03:28:14   18   and do that.

03:28:14   19            THE COURT:     Okay.   Ladies and gentlemen, we're

03:28:16   20   going to take a short recess while we make the technical

03:28:22   21   arrangements that are necessary for the next witness.

03:28:24   22            As a reminder, don't discuss the case among

03:28:27   23   yourselves until all of the evidence has been presented and

03:28:31   24   I've instructed you on the law.       We'll get you back in the

03:28:35   25   courtroom just as quickly as we can.
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03:28:39    1              (Jury out.)

03:29:08    2              THE COURT:     Okay.

03:29:09    3              MR. JOSHI:     Your Honor, I have been informed that

03:29:14    4   we are ready, that there are three people who have joined

03:29:17    5   the link.

03:29:20    6              THE COURT:     You're close enough right now,

03:29:21    7   Mr. Joshi, I can hear you.

03:29:23    8              MR. JOSHI:     We have three people on.     One is the

03:29:26    9   interpreter, one is the witness, Mr. Alvin Lin, and ASUS's

03:29:30   10   in-house counsel in Taiwan, Mr. Allen Chen, is also on the

03:29:35   11   same link.    So there are three people, but they're in

03:29:39   12   different rooms, and Mr. -- the witness is all by himself.

03:29:42   13              THE COURT:     Okay.   Mr. Bennett, any concerns about

03:29:47   14   that?

03:29:47   15              MR. BENNETT:     They're in separate rooms, that's --

03:29:51   16              THE COURT:     Very well.

03:29:56   17              MR. JOSHI:     And the Court's IT needs to connect

03:30:00   18   the link.

03:30:00   19              THE COURT:     Okay.   All right.   You all can just

03:30:00   20   stand down.    As soon as that gets done, we'll get the jury

03:30:26   21   back in.

03:30:26   22              MR. BENNETT:     Your Honor, Ms. Litle has reminded

03:30:28   23   me of an issue we needed to raise as to Mr. Lin.

03:30:35   24              THE COURT:     Okay.

03:30:35   25              MR. BENNETT:     And the issue deals with testing.
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03:30:44    1   There were a number of exhibits, Defense Exhibits 140

03:30:48    2   through 142.     It's not going to come in on my direct, I'm

03:30:51    3   not going to ask him a word about that testing, but I

03:30:56    4   imagine that they will on their -- well, their direct --

03:30:58    5   cross for all intents and purposes now.

03:31:02    6              We objected to it on several grounds.        It's

03:31:05    7   improper lay testimony.     It's hearsay because Mr. Lin is

03:31:08    8   shown a depo transcript where he admits he didn't do it

03:31:12    9   himself.    He had somebody else do it.      It's not a business

03:31:15   10   record that they keep in the ordinary course.          It's just

03:31:18   11   hearsay all over the place.

03:31:19   12              So under 701, under 802, under -- it doesn't meet

03:31:24   13   any exceptions under 803, it's also prejudicial, and for

03:31:29   14   all of those reasons, we'd move for its seclusion and that

03:31:32   15   they not be allowed to ask about it on their examination.

03:31:36   16              MR. JOSHI:   So a few responses, Your Honor.

03:31:39   17              So, firstly, we should remember for context, you

03:31:41   18   just allowed 139 documents to come in.         This test result

03:31:46   19   was given to them before Mr. Lin's deposition.           They

03:31:49   20   deposed him.     He is not going to testify about

03:31:51   21   infringement.     He is going to testify about a test that

03:31:53   22   happened under his supervision.       Mr. David Lin worked for

03:31:58   23   Mr. Alvin Lin.     Mr. Alvin Lin asked him to do the test.

03:32:03   24   Mr. Alvin Lin designed the test.       And this test shows

03:32:06   25   essentially what happens to colors on a monitor, that --
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03:32:08    1   it's just one Microsoft Excel file.        It's got a bunch of

03:32:14    2   data in it, and he has been deposed about it already.

03:32:17    3           MR. BENNETT:     The extent of the deposition was did

03:32:20    4   you conduct this test?     No, David Lin did.       And that's

03:32:24    5   about it.

03:32:25    6           It's -- their expert did not rely on it.            They

03:32:29    7   have not designated Mr. Alvin Lin as a nonretained expert.

03:32:35    8   He is a lay witness who is trying to get in expert

03:32:37    9   testimony.

03:32:38   10           THE COURT:     Why is it not expert testimony?

03:32:41   11           MR. JOSHI:     It is not expert testimony because he

03:32:45   12   is not going to testify about infringement.          He is not

03:32:48   13   going to give any opinions.      He is just going to say, I

03:32:53   14   adjusted the color, and this is what happened to other

03:32:55   15   colors when I did that test.      It's purely factual.

03:33:00   16           THE COURT:     Okay.   And so -- and that's --

03:33:02   17   what's -- I guess my question is, what was the purpose of

03:33:04   18   the test?

03:33:05   19           MR. JOSHI:     The test -- he did the test because he

03:33:10   20   found out from legal that ASUS was being sued for a patent

03:33:16   21   in which a change of one color doesn't change other colors.

03:33:21   22   He didn't do the test.     He submitted an affidavit to that

03:33:26   23   effect to this Court.     He didn't do it under the

03:33:29   24   supervision of legal, but he nonetheless did it in the

03:33:32   25   context of the patent to see if the products are anything
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03:33:36    1   like the patent.

03:33:38    2           THE COURT:     So is someone going to compare it to

03:33:41    3   the claim language?

03:33:44    4           MR. JOSHI:     Our expert is not, no.

03:33:46    5           THE COURT:     Is anyone going to compare it to the

03:33:49    6   claim language?

03:33:50    7           MR. JOSHI:     No.

03:33:50    8           THE COURT:     So how is it relevant?

03:33:54    9           MR. JOSHI:     It is -- so counsel will talk about

03:34:02   10   the test in the closing argument.

03:34:03   11           THE COURT:     But counsel is not an expert witness.

03:34:06   12           MR. JOSHI:     I understand, Your Honor.        But that's

03:34:09   13   information for the jury, we believe, and their expert may

03:34:11   14   wish to comment on it.

03:34:14   15           THE COURT:     I'm going to sustain the objection.

03:34:16   16           MR. BENNETT:     Thank you, Your Honor.

03:34:16   17           THE COURT:     I don't see how it becomes relevant

03:34:20   18   based on -- I mean, if you're aware of some law out there

03:34:24   19   that says an attorney can, you know, compare this test to

03:34:28   20   what the claim language is in closing argument and let the

03:34:32   21   jury reach that decision, I'd sure like to review that case

03:34:36   22   law, but I don't think that's what the authority is.

03:34:40   23           Are you aware of anything like that?

03:34:42   24           MR. JOSHI:     I am not.    I understand it's a bit

03:34:46   25   unusual, Your Honor, but this is a situation where the
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03:34:50    1   technology is really not that complicated.          The jury can

03:34:54    2   probably listen to the fact witness and make some

03:34:57    3   conclusions on their own.       This is just about what happens

03:35:00    4   to one color when another color is changed.

03:35:03    5           THE COURT:     I do think it's unusual, and the

03:35:05    6   authority I'm familiar with doesn't allow it.

03:35:08    7           MR. JOSHI:     All right.    Thank you.

03:35:10    8           THE COURT:     So I'll sustain the objection.

03:35:11    9           MR. BENNETT:     Thank you, Your Honor.

03:35:12   10           THE COURT:     Okay.    If you would, please have the

03:35:14   11   jury brought in.

04:00:54   12           COURT SECURITY OFFICER:        All rise for the jury.

04:01:08   13           (Jury in.)

04:01:19   14           THE COURT:     Please be seated.

04:01:23   15           Okay.   Ladies and gentlemen of the jury, I

04:01:25   16   apologize for the delay.       We had some technical

04:01:29   17   difficulties that needed to be resolved, and hopefully this

04:01:34   18   will work as we anticipate.

04:01:37   19           The next witness for the Plaintiff's behalf is

04:01:40   20   testifying remotely, that is, he -- you see him on the

04:01:44   21   screen there.   He is located in Taipei, Taiwan.

04:01:50   22           And our translator is Vivan Josh.

04:01:56   23           Ms. Josh, where are you located, ma'am?

04:02:03   24           THE INTERPRETER:       Plano, Texas.

04:02:05   25           THE COURT:     All right.    At this time, I'm going to
   Case 6:19-cv-00059-RWS Document 218 Filed 05/18/21 Page 160 of 188 PageID #: 3305
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04:02:07    1   ask Mrs. Schroeder to approach the lectern, and she will

04:02:11    2   swear in Ms. Josh as the translator.

04:02:15    3               Mr. Bennett, if you will move here.

04:02:16    4               MR. BENNETT:     Oh, I'm sorry.   Yes, of course.

04:02:17    5               THE COURT:     Mrs. Schroeder, if you would swear in

04:02:19    6   the interpreter.

04:02:25    7               (Interpreter sworn.)

04:02:31    8               THE COURT:     Okay.   And at this time, Ms. Josh, the

04:02:37    9   courtroom deputy will swear in the witness, and you can

04:02:40   10   translate that for us.

04:02:43   11               (Witness sworn.)

04:03:17   12               THE COURT:     Okay.   Mr. Bennett, you may proceed.

04:03:20   13               MR. BENNETT:     Thank you, Your Honor.

04:03:21   14                 ALVIN LIN, PLAINTIFF'S WITNESS, SWORN

04:03:21   15                            DIRECT EXAMINATION

04:03:21   16   BY MR. BENNETT:

04:03:28   17   Q.   Mr. Lin, can you see me okay?

04:03:35   18   A.   Right now, I can only see myself.

04:03:38   19   Q.   Okay.    You can hear me, though?

04:03:44   20   A.   Yes.

04:03:45   21   Q.   Well, we'll proceed with hearing me, and maybe at some

04:03:53   22   point you can see me, too, okay?

04:04:06   23   A.   Okay.

04:04:07   24   Q.   Mr. Lin, you are an ASUS employee, correct?

04:04:12   25   A.   Yes.
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                                                                                    161



04:04:16    1   Q.   You have worked at ASUS since 1997, right?

04:04:21    2   A.   I have to make a correction here.       It should be since

04:04:37    3   1996.

04:04:43    4   Q.   Okay.    Thank you for that.

04:04:45    5               You are an ASUS division director, right?

04:04:59    6   A.   Yes.

04:05:00    7   Q.   You are responsible for technical support and providing

04:05:05    8   solutions for technical issues?

04:05:16    9   A.   Yes.

04:05:17   10   Q.   I want to show you, I hope, a document, Plaintiff's 13,

04:05:39   11   P3 I think it's been known to you as.

04:06:01   12               Can you see that document, Mr. Lin?

04:06:03   13   A.   Yes.

04:06:07   14   Q.   All right.    This is an email from Nicky Lin.

04:06:12   15               Do you see that?

04:06:21   16   A.   Yes.

04:06:21   17   Q.   And you are one of the recipients of this email,

04:06:33   18   correct?

04:06:34   19   A.   Correct.

04:06:35   20   Q.   Who is Nicky Lin, Mr. Lin?

04:06:43   21   A.   PM, project manager.

04:06:59   22   Q.   She's an ASUS project manager?

04:07:02   23   A.   Yes.

04:07:03   24   Q.   This email is dated September 18, 2017.

04:07:10   25               Do you see that?
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04:07:12    1   A.   Yes.

04:07:19    2   Q.   And the subject of this email is 21.6 4K OLED Panel

04:07:30    3   Open Issue Discussion.

04:07:31    4               Do you see that?

04:07:46    5   A.   Yes.

04:07:48    6   Q.   And the purpose of this email is to discuss features of

04:07:55    7   an ASUS display product, correct?

04:08:17    8   A.   Yes.

04:08:18    9   Q.   You weren't here in the courtroom earlier today, but

04:08:24   10   the jury has heard a little bit about how ASUS uses other

04:08:27   11   companies to supply components to its displays.

04:09:01   12   A.   In fact, the subject matter for this email, the

04:09:06   13   components we discussed in here, are also from one of the

04:09:11   14   suppliers.

04:09:14   15   Q.   Thank you, Mr. Lin.

04:09:19   16               And if I could just say one clarifying thing

04:09:22   17   really quickly.     Because this is being translated,

04:09:42   18   sometimes I'm going to have to explain something before I

04:09:45   19   ask my question, okay?

04:09:56   20   A.   Okay.

04:09:57   21   Q.   So if you can do your best to wait until the question

04:10:00   22   is asked before you start in on your answer, that will help

04:10:05   23   things go more smoothly, all right?

04:10:20   24   A.   Okay.

04:10:20   25   Q.   But nobody is expecting perfection, all right?          We'll
   Case 6:19-cv-00059-RWS Document 218 Filed 05/18/21 Page 163 of 188 PageID #: 3308
                                                                                    163



04:10:35    1   work together as best we can.

04:10:38    2   A.   Okay.

04:10:38    3   Q.   All right.    Getting back to Plaintiff's Exhibit 13, the

04:10:44    4   discussion here is about requests that ASUS is making of

04:10:50    5   its supplier about features ASUS wants in its display

04:10:56    6   products, correct?

04:11:06    7   A.   Yes.

04:11:13    8   Q.   And, in fact, in this particular email --

04:11:19    9               MR. BENNETT:   Denver, will you -- will you please

04:11:24   10   blow up the bolded part, if you can, please?

04:11:30   11               Go ahead, Ms. Josh.

04:11:30   12   BY MR. BENNETT:

04:11:43   13   Q.   And I want to focus your attention on this particular

04:11:46   14   piece of the email that's bolded from the rest of the text,

04:11:49   15   okay?

04:12:01   16   A.   Okay.

04:12:02   17   Q.   Before I do that, though, I want to ask a more general

04:12:06   18   or broad question, and it's this --

04:12:11   19               MR. BENNETT:   Go ahead, Ms. Josh.

04:12:24   20   A.   Okay.

04:12:24   21   BY MR. BENNETT:

04:12:27   22   Q.   And here is my question:     ASUS has in Taiwan a research

04:12:33   23   and development department that finds new features for

04:12:38   24   products that it thinks consumers will like, correct?

04:13:02   25   A.   Yes.
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04:13:03    1   Q.   All right.    And in this email, the three features

04:13:07    2   bolded here are some of the features that ASUS wants to add

04:13:12    3   as a result of that kind of research, correct?

04:13:16    4   A.   Yes.

04:13:35    5   Q.   And, in particular, these three features, I want to

04:13:42    6   focus your attention to Number 7.        One of the features ASUS

04:13:47    7   specifically asked for is color accuracy control to meet

04:13:53    8   delta E greater than equals 2.

04:14:22    9   A.   It should be less than or equal to 2.

04:14:28   10   Q.   Okay.    It should be that, but my question is, that is a

04:14:31   11   specific feature, Number 7.      What's provided there is a

04:14:40   12   specific feature that ASUS is asking its suppliers to

04:14:46   13   supply in its display devices?

04:14:53   14   A.   That's right.     For this series of products, we do need

04:15:10   15   this specification.

04:15:12   16   Q.   And ASUS also asked its suppliers to find a way to

04:15:17   17   incorporate the feature listed in Number 9 about color

04:15:22   18   temperature, right?

04:15:24   19   A.   That is right.     That is one of the features required by

04:15:45   20   these series of products.

04:15:48   21   Q.   And I want to draw attention to the word "scaler"

04:15:52   22   there.

04:15:53   23               Do you see that?

04:16:06   24   A.   I can see that.

04:16:07   25   Q.   Okay.    And the scaler is a chip inside the display
   Case 6:19-cv-00059-RWS Document 218 Filed 05/18/21 Page 165 of 188 PageID #: 3310
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04:16:13    1   product, right?

04:16:14    2   A.   That is correct.   It is a chip inside our product.

04:16:25    3   Q.   And that chip runs source code, right?

04:16:36    4   A.   Well, I want to clarify here.      Source codes need to be

04:17:03    5   compiled into a binary code in order to be used or run in

04:17:14    6   this product.

04:17:15    7   Q.   Okay.   But my question was, a scaler chip executes

04:17:19    8   source code, correct?

04:17:34    9   A.   That's right.   It needs to execute that source codes.

04:17:42   10   You're right.

04:17:43   11   Q.   Thank you.

04:17:46   12            You personally have not looked at the source code

04:17:49   13   run in the any of these scaler chips, have you?

04:17:55   14   A.   That's right.   I have not.

04:18:07   15   Q.   Okay.   But in any event, when ASUS requests the

04:18:12   16   features to be incorporated into the display, ASUS makes

04:18:17   17   sure that the suppliers follow through and provide that

04:18:21   18   feature in the desired product, right?

04:18:54   19   A.   You should say that we would like to have feedback from

04:18:56   20   our suppliers whether they can provide such functionality.

04:19:03   21   Q.   Well, that wasn't really my question.        Let me reask it.

04:19:07   22            My question was:     When ASUS has determined that it

04:19:14   23   wants a particular feature in a product and the supplier

04:19:17   24   can supply that feature, ASUS then follows up to make sure

04:19:22   25   that the supplier places that feature in the display
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04:19:27    1   product?

04:19:57    2   A.   Yes.

04:19:57    3   Q.   And the reason ASUS follows up to make sure that the

04:20:03    4   feature is incorporated into the product is because it

04:20:08    5   hopes that feature will attract more buyers for the

04:20:19    6   product, at least in part, right?

04:20:34    7   A.   Right.

04:20:34    8   Q.   I'm going to show you what has been marked already as

04:20:43    9   Plaintiff Exhibit 14A.

04:21:00   10               MR. BENNETT:   We're going to go to Page 19 of

04:21:06   11   Plaintiff's Exhibit 14A.       Could you scroll up just a little

04:21:19   12   bit?

04:21:19   13   BY MR. BENNETT:

04:21:21   14   Q.   All right.    I want to highlight for a moment the date

04:21:24   15   under this headline.       Last update, July 16, 2019.

04:21:30   16               Do you see that?

04:21:43   17   A.   Yes.

04:21:43   18   Q.   This is about two years -- a little less than two years

04:21:47   19   after that email we just looked at, right?

04:21:51   20   A.   That's right.    The one we just saw was 2017.        This one

04:22:07   21   is 2019.

04:22:10   22   Q.   All right.    And this is an ASUS website, right?

04:22:16   23   A.   It appears so.    However, I have no way to verify.

04:22:32   24   Q.   Okay.

04:22:33   25               MR. BENNETT:   Let's scroll down -- yeah, thank
   Case 6:19-cv-00059-RWS Document 218 Filed 05/18/21 Page 167 of 188 PageID #: 3312
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04:22:36    1   you, Denver.    Can you blow that up, please?

04:22:39    2   BY MR. BENNETT:

04:22:39    3   Q.   If you squint really hard, maybe you can see at the

04:22:48    4   bottom, it says:    www.ASUS.com/support/FAQ/1040567.

04:23:08    5             Do you see that?

04:23:09    6   A.   Yes, I can see it.

04:23:32    7             MR. BENNETT:    Okay.   So scroll back up for me,

04:23:35    8   please, Denver.

04:23:35    9   BY MR. BENNETT:

04:23:36   10   Q.   And this particular posting, I want to focus on three

04:23:42   11   products that are listed there after the word "product":

04:23:49   12   PA248Q, PA328Q, and PA329C.

04:24:29   13   A.   Yes, I can see those.

04:24:30   14   Q.   And the purpose of this particular webpage is to serve

04:24:33   15   as a frequently asked question site for potential or actual

04:24:40   16   ASUS customers, right?

04:25:01   17   A.   Well, the information I just saw on the bottom of the

04:25:25   18   screen starting from www.ASUS.com, I can verify that part

04:25:32   19   is correct.    However, anything after that, I have no way to

04:25:35   20   verify its accuracy.

04:25:38   21   Q.   Well --

04:25:40   22             MR. BENNETT:    Denver, scroll up for me again,

04:25:43   23   please.

04:25:43   24   BY MR. BENNETT:

04:25:44   25   Q.   Let's try a different way then.       ASUS has a website,
   Case 6:19-cv-00059-RWS Document 218 Filed 05/18/21 Page 168 of 188 PageID #: 3313
                                                                                    168



04:25:52    1   right?

04:25:56    2   A.   Right.

04:25:57    3   Q.   And it maintains a support page on that website?

04:26:13    4   A.   That's right.    We do have a support page on our

04:26:17    5   website.

04:26:18    6   Q.   And on that support page, it has an FAQ section or a

04:26:25    7   frequently asked questions section, right?

04:26:50    8   A.   We do have such section on our website.         What I wanted

04:26:57    9   to say just now was I was not sure whether that is from the

04:27:05   10   website.

04:27:08   11   Q.   Okay.    Looking at it now, Mr. Lin, do you have any

04:27:13   12   reason to think that this is not from an ASUS website?

04:27:16   13   A.   It appears so.    That's why I told you that I cannot

04:27:37   14   tell.

04:27:38   15   Q.   Well, this isn't the first time you have seen this

04:27:43   16   document, is it, Mr. Lin?

04:27:45   17   A.   I have seen something similar before.        I do have a

04:28:01   18   recollection of that.

04:28:01   19   Q.   Right.    Where you saw it was in a deposition that we

04:28:06   20   took of you, and we showed it to you there, right?

04:28:11   21   A.   It has been awhile from that deposition you took.           I

04:28:34   22   don't remember whether that is the occasion I have seen

04:28:45   23   such document.

04:28:45   24   Q.   You're right.    It has been awhile.     Your deposition was

04:28:49   25   taken on November 30, 2020, right?
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04:29:00    1   A.   I'm sorry.    I kind of forgot the date.

04:29:04    2   Q.   Well, do you have any reason to disagree with me that

04:29:08    3   it was November 30, 2020?

04:29:19    4               MR. JOSHI:     Argumentative.

04:29:22    5               THE COURT:     Overruled.

04:29:24    6   A.   I really can't answer to that question because I really

04:29:27    7   forgot.

04:29:33    8               MR. BENNETT:     Okay.

04:29:33    9               Denver, can you bring up his deposition, please.

04:29:33   10   BY MR. BENNETT:

04:29:40   11   Q.   Let's refresh your recollection.

04:30:01   12               All right.     Your name is Alvin Lin, correct?

04:30:10   13   A.   Yes.

04:30:11   14   Q.   And your deposition was taken in the case of Lone Star

04:30:18   15   Technological Innovations v. ASUSTeK Computer, Inc., right?

04:30:22   16   A.   There was a deposition taken on me and for a case, but

04:31:08   17   the document you are showing me right now is very

04:31:12   18   complicated.      I really can't tell whether that is the case.

04:31:19   19   Q.   My question was pretty simple, Mr. Lin.         Your

04:31:23   20   deposition was taken in this case, yes or no?

04:31:27   21   A.   That's correct.       There was a deposition done on me for

04:31:41   22   this case.

04:31:42   23   Q.   All right.    Now, seeing your deposition here on this

04:31:46   24   video feed, does it refresh your recollection that that

04:31:50   25   deposition occurred on November 30, 2020?
   Case 6:19-cv-00059-RWS Document 218 Filed 05/18/21 Page 170 of 188 PageID #: 3315
                                                                                    170



04:31:53    1   A.   Well, it says November.

04:32:25    2   Q.   Because that's the day it happened, right?

04:32:28    3   A.   Well, if that's the month on the document, then that

04:32:51    4   must be the date then, because if you ask me, I really

04:32:55    5   forgot the exact date.

04:32:57    6   Q.   Okay.   In any event, from that date until now, you have

04:33:04    7   had a chance to review your deposition, right?

04:33:07    8   A.   I did not have any way to obtain the records for that

04:33:40    9   deposition of me, though.

04:33:44   10   Q.   No one at ASUS gave you a copy of your deposition?

04:33:50   11              MR. JOSHI:     Objection, seeks privileged

04:33:53   12   information.

04:33:57   13              THE COURT:     I'm going to -- Mr. Bennett, there's

04:34:01   14   been an objection that the question called for privileged

04:34:04   15   information.

04:34:05   16              MR. BENNETT:     I asked for no privileged

04:34:07   17   information, just whether a copy of the deposition had been

04:34:11   18   provided to him, Your Honor.

04:34:12   19              THE COURT:     I'll overrule the objection.

04:34:45   20   A.   No.

04:34:45   21   BY MR. BENNETT:

04:34:53   22   Q.   Okay.   In any event, between November 30th and today,

04:34:57   23   have you had any occasion to find any fault with, any error

04:35:04   24   in the document we just looked at, Plaintiff's Exhibit 14A?

04:35:28   25   A.   Upon the conclusion of that deposition, I don't believe
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04:35:51    1   that I have received anything to do with the deposition for

04:35:53    2   me to find out the information during that deposition.

04:35:56    3   Q.   Well, you have access to the Internet, don't you,

04:36:00    4   Mr. Lin?

04:36:08    5   A.   Yes, I do have Internet.

04:36:10    6   Q.   In the almost six months since your deposition, have

04:36:15    7   you tried to find out if the version on ASUS's website is

04:36:18    8   any different than the version I'm showing you in open

04:36:21    9   court right now?

04:36:42   10   A.   Well, I did not have any motive to go check any

04:37:02   11   difference for the versions of the website because I was

04:37:08   12   not the person to maintain the website.

04:37:13   13   Q.   But your company maintains it, right?

04:37:17   14   A.   That is right.    The FAQ portion of the website was

04:37:38   15   maintained by the company's staff.

04:37:41   16   Q.   Okay.   So going back to the document from the company

04:37:47   17   website and looking at the language -- well, let me back up

04:37:53   18   one step real quick.

04:37:55   19              MR. BENNETT:   Go ahead, Ms. Josh.

04:37:55   20   BY MR. BENNETT:

04:38:06   21   Q.   The purpose of an FAQ, whether it's this one or any

04:38:11   22   other one on ASUS's website, is to answer for customers or

04:38:15   23   potential customers questions they may have about products

04:38:18   24   or product features, right?

04:38:23   25   A.   That's right.    We do have some type of function like
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04:38:46    1   that.

04:38:46    2   Q.   I know you had some function like that.         My -- my

04:38:52    3   question is different.     Let me try it again.

04:38:55    4            The purpose of an FAQ page on ASUS's website is to

04:38:59    5   answer for customers who want to know about a feature

04:39:07    6   certain questions that they have about that feature, right?

04:39:48    7   A.   Well, just as I previously said, that it does have that

04:39:54    8   function.   However, more to that function, it also serves

04:39:59    9   as a database of knowledge.

04:40:02   10   Q.   Knowledge that ASUS wants to share with customers and

04:40:05   11   potential customers, right?

04:40:10   12   A.   Well, that's right.    That's what we wanted to educate

04:40:28   13   the users on, the knowledge in that matter.

04:40:33   14   Q.   And, again, speaking generally, ASUS chooses the

04:40:37   15   features that it thinks customers will want to know about

04:40:41   16   and use to explain on its FAQ page, right?

04:40:49   17   A.   That's right.   We would put something there for them to

04:41:21   18   know for something they desire to know.

04:41:27   19   Q.   In this particular instance, the feature that ASUS

04:41:30   20   wants to answer questions about so that customers may use

04:41:34   21   is the feature of an advanced color adjustment so that

04:41:37   22   users can individually customize hue and saturation for

04:41:46   23   each axis color, right?

04:42:29   24   A.   We provide options like that for the users to make the

04:42:36   25   adjustments.
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04:42:38    1   Q.   Well, you more than provide options.        In fact, in this

04:42:43    2   particular document you teach users how to adjust the six

04:42:47    3   colors, red, green, blue, cyan, magenta, and yellow,

04:42:57    4   without affecting the output of other colors, right?

04:43:55    5   A.   What that means was that we do provide six options to

04:44:00    6   adjust the six colors.     Say, for instance, if I wanted to

04:44:05    7   adjust the color red and when I do that adjustment, the

04:44:07    8   other settings will remain unchanged.        That's what I meant.

04:44:14    9   Q.   Correct.   We know that if you -- let me ask it this way

04:44:18   10   then, and I think we can get on the same page.

04:44:22   11             If a user were to find this page and follow what

04:44:29   12   ASUS teaches the user on this page, it would adjust a

04:44:34   13   single color without adjusting another, right?

04:44:37   14   A.   That's not what I meant exactly.       What I meant is that

04:45:22   15   here, we would provide six options to do a color

04:45:30   16   adjustment.     I can adjust any individual color here like

04:45:33   17   red -- red, green, blue, or other colors.         And then while I

04:45:42   18   do that color adjustment, I will not affect any other five

04:45:49   19   colors.

04:45:53   20   Q.   Okay.   I think --

04:45:59   21   A.   What I meant was that will not affect the settings of

04:46:04   22   the other five colors.

04:46:06   23   Q.   Okay.   But you can adjust one color without affecting

04:46:13   24   another color?     That's what this shows users, right?

04:46:18   25   A.   That's not correct.    Just like I said, when you are
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04:46:45    1   adjusting settings for one individual color, that the

04:46:49    2   settings for the other five individual colors will not be

04:46:59    3   affected.

04:47:00    4   Q.   So your test -- your testimony is that this is strictly

04:47:07    5   about changing settings and nothing else?

04:47:11    6   A.   Well, that's right, because we only provided six

04:47:28    7   options for the users to make adjustments as they desire.

04:47:35    8   Q.   Right.   And you provide that functionality so that they

04:47:41    9   can individually customize hue and saturation for each axis

04:47:48   10   color according to this document, right?

04:47:51   11   A.   We provided options for the users to make adjustments

04:48:31   12   on the six colors independently.

04:48:41   13            MR. BENNETT:     At this point, Your Honor, I'm --

04:48:42   14   A.   Hues and -- hues and saturations --

04:48:44   15            MR. BENNETT:     -- I'm going to object as

04:48:48   16   nonresponsive and move to strike it.

04:48:51   17            THE COURT:     I'll sustain it.     Ask your next

04:48:54   18   question.

04:48:54   19   BY MR. BENNETT:

04:49:08   20   Q.   Mr. Lin, there's no question pending, sir.         Let me just

04:49:11   21   really quickly --

04:49:13   22            MR. BENNETT:     If I may, Your Honor, I'm not --

04:49:13   23            THE COURT:     Please proceed.

04:49:15   24            MR. BENNETT:     -- okay, usually in the habit of

04:49:17   25   explaining things like that.
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04:49:17    1   BY MR. BENNETT:

04:49:19    2   Q.   You have to wait for a question before you can answer

04:49:21    3   anything, okay?

04:49:22    4            Here in a second, your lawyers can ask you

04:49:25    5   questions if they want to, but you have to answer the

04:49:32    6   questions I ask, all right?

04:49:36    7   A.   Okay.

04:49:50    8   Q.   Thank you.

04:49:52    9            Let's look at the product manual for the first

04:49:58   10   product listed in Exhibits 14A, which is the PA248 series

04:50:07   11   LCD monitor.      That's Plaintiff's Exhibit 26-30.

04:50:27   12            Can you see Plaintiff's Exhibit 26-30, Mr. Lin?

04:50:41   13   A.   Yes, I can see something on the screen.

04:50:48   14   Q.   Okay.   Can you read -- well, can you see the words on

04:50:52   15   the screen?

04:50:54   16   A.   Yes, I can, because the font is pretty big.

04:51:07   17   Q.   Okay.

04:51:09   18            MR. BENNETT:     And, Ms. Josh, if you need to

04:51:11   19   translate those few words on the page to help him out,

04:51:14   20   please feel free.

04:51:32   21   A.   That's right.    That is the translation.

04:51:32   22   BY MR. BENNETT:

04:51:41   23   Q.   When you say, "that's right, that is the translation,"

04:51:45   24   do you understand that page as you read it, Mr. Lin?

04:51:56   25   A.   I can only the -- recognize these simple English words,
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04:52:07    1   because they are quite simple words.

04:52:09    2   Q.   All right.     I want to direct your attention to a

04:52:13    3   particular part of this particular manual.

04:52:19    4            MR. BENNETT:     Denver, if you'll go to Page 2283.

04:52:37    5   A.   Okay.

04:52:37    6   BY MR. BENNETT:

04:52:39    7   Q.   And before I ask any specific questions about this --

04:52:42    8   these sections of the manual, I want to ask a more general

04:52:46    9   question, which is this:      We heard earlier from ASUS's

04:52:50   10   lawyers about the ProArtist Series.        Are you familiar with

04:52:56   11   that series of displays?

04:53:22   12   A.   Well, I kind of know some.      I will try my best to

04:53:26   13   answer your questions.

04:53:27   14   Q.   My question simply, Mr. Lin, is whether you know about

04:53:33   15   ProArtist displays, like the fact that they exist and ASUS

04:53:38   16   sells them?

04:53:41   17   A.   I do know that we have these series of displays.

04:53:58   18   Q.   Okay.   And ASUS sells these displays to more than just

04:54:05   19   artists, right?

04:54:13   20   A.   Because I am engineer -- so if you're asking me

04:54:34   21   something to do with the sales, I may not be able to give

04:54:38   22   you a very confirmed answer in that matter.

04:54:49   23   Q.   Fair enough.     Let's go back to Page 2283.

04:54:56   24            Under Section 2, on Page 2283, there are two

04:55:00   25   bullets kind of midway down the page there:          Saturation and
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04:55:04    1   Hue.

04:55:04    2               Do you see those?

04:55:32    3   A.   I do see "Saturation" and "Hue" on the screen now.

04:55:38    4   Q.   Okay.    And this is part of the user manual for this

04:55:43    5   product that is teaching a user how to set the desired

04:55:49    6   color on the monitor, right?

04:55:55    7   A.   From what I can see right now, it appears so.

04:56:19    8   Q.   Okay.    And then at the very bottom, there's one last

04:56:26    9   bullet point that says:     Advanced Setting.

04:56:41   10               Do you see that bottom bullet point where it says:

04:56:47   11   Advanced Setting?

04:56:54   12   A.   Yes, I can see that.

04:56:55   13   Q.   Okay.    And on the next page, it shows -- it shows what

04:57:04   14   those advanced settings are, right?

04:57:07   15   A.   From what I can see, yes.

04:57:32   16   Q.   Okay.    And that first bullet point under Advanced

04:57:39   17   Setting is how to adjust the 6-axis hue, right?

04:57:47   18   A.   From the picture I can see, yes.

04:57:56   19   Q.   And the second bullet point teaches users how to adjust

04:58:02   20   the 6-axis saturation adjustment, right?

04:58:10   21   A.   From the picture I see, yes.

04:58:18   22   Q.   All right.    And accessing either of these settings

04:58:23   23   under Advanced Settings will allow a user to change only

04:58:28   24   the red hue, right?

04:58:40   25   A.   Yes.
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04:58:49    1   Q.   Or only the yellow saturation adjustment, right?

04:58:55    2   A.   Yes.    We allow them to make adjustment on one of the

04:59:13    3   six options provided.

04:59:16    4   Q.   Well, Mr. Lin, you don't just allow them, you show

04:59:20    5   them, right?

04:59:22    6   A.   Well, I am an engineer, and I provided the six options.

04:59:49    7   However -- and how to customize again these technical

04:59:56    8   documents is really not my job.

04:59:57    9   Q.   Well, regardless of whether it's your job, Mr. Lin, can

05:00:02   10   you just agree with me, looking at your -- ASUS's own user

05:00:08   11   manual, that if a user follows the steps in this user

05:00:12   12   manual, if they follow the top one, they can adjust only

05:00:15   13   the red hue adjustment, right?

05:00:29   14   A.   If I were the user, then I would know that I do have

05:00:56   15   six options to make adjustment like that.

05:01:04   16   Q.   You -- right.    And if you follow the manual, you will

05:01:08   17   make those adjustments, right?

05:01:37   18   A.   I don't understand why you ask this question.

05:01:45   19               Yes, the users, they do have the six options that

05:01:51   20   you made the six-color adjustment like that.

05:01:54   21   Q.   Okay.    So if someone followed the directions from

05:02:01   22   ASUS's PA248 series manual, they would have adjusted the

05:02:10   23   hue of the display for one color?

05:02:39   24   A.   Yes, he would be able to adjust one of the six color

05:02:53   25   options --
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05:02:54    1   Q.   Okay.

05:02:57    2   A.   -- independently, yes.

05:02:58    3   Q.   Let's turn to a different part of the manual.

05:03:03    4            MR. BENNETT:     Let's go, Denver, please, to 2411.

05:03:46    5            Are you still in 2630?

05:04:17    6            That's it.     If you scroll up from the bottom, it

05:04:24    7   should read, screen image has color defects.

05:04:28    8            Actually, before you go there, sorry.

05:04:28    9   BY MR. BENNETT:

05:04:31   10   Q.   Okay.   Mr. Lin, before we get into the particulars of

05:04:35   11   this particular page, I want to ask you one question about

05:04:39   12   the title of the document so we can all understand what its

05:04:48   13   purpose is.

05:04:49   14            3.3, Troubleshooting FAQ, F-A-Q.         Do you see that?

05:05:08   15   A.   I can see that.

05:05:11   16   Q.   Okay.   And the purpose of a troubleshooting FAQ in a

05:05:18   17   user manual -- and you know this as a technical person --

05:05:21   18   is to coach and help users solve their own technological

05:05:28   19   problems with their monitor, right?

05:05:48   20   A.   Well, if they encounter some problems -- and they can

05:06:03   21   come here to find information they need for the

05:06:06   22   troubleshooting purpose.

05:06:09   23   Q.   Okay.   Good.   Right.   So the very first one, if a user

05:06:13   24   is having problems with their monitor powering on, they

05:06:18   25   look at the very first one, and it gives them tips on how
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05:06:23    1   to solve that problem, right?

05:06:24    2   A.   From what is showing on the screen, yes.

05:06:46    3   Q.   Okay.   And then a little farther down, there's an

05:06:49    4   identified problem.      Screen image has color defects.        White

05:06:55    5   does not look white.

05:06:56    6             Do you see that?

05:06:58    7   A.   Yes, I can see it.

05:07:13    8   Q.   Okay.   And there are three possible solutions that ASUS

05:07:18    9   gives the user, and one of them is adjust the RGB color

05:07:24   10   settings or select the color temperature via OSD, right?

05:07:31   11   A.   I can see that.

05:07:50   12   Q.   Okay.   And ASUS suggests this solution so that users

05:07:56   13   can solve their own color defects or adjust the colors to

05:08:02   14   solve color defects on their monitors, right?

05:08:07   15   A.   Ms. Interpreter, would you help me to ask them to

05:08:39   16   verify?

05:08:40   17             And this specific document is for which model,

05:08:43   18   please?

05:08:47   19             MR. BENNETT:    Denver, go to the very first page.

05:08:47   20   BY MR. BENNETT:

05:09:09   21   Q.   That's the model, Mr. Lin.

05:09:17   22   A.   I can see that.     Thank you.

05:09:18   23   Q.   Okay.   So can you answer my question now, please?

05:09:31   24   A.   Sorry, I interrupted you before you finished asking me

05:09:36   25   questions.
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05:09:37    1             Would you please repeat your question?

05:09:43    2   Q.   If I remember it, I will, yes, sir.

05:09:45    3             I think my question was, what ASUS does here is it

05:09:51    4   tells users and teaches them how to solve their own color

05:09:59    5   defect problem in this Troubleshooting FAQ, and that

05:10:03    6   particular teaching is adjust the RGB color settings.

05:10:13    7   A.   Well, because this specific document was not written by

05:11:06    8   me, I.

05:11:08    9             Can only tell you from an engineer perspective,

05:11:14   10   you can achieve the RGB adjustment through color

05:11:21   11   temperature selection.      It's actually just the opposite,

05:11:37   12   and may I reverse order.

05:11:40   13             What I meant is that you can adjust RGB in order

05:11:44   14   to achieve the color temperature.

05:11:51   15             MR. BENNETT:     I'm sorry.     This is just off the

05:12:05   16   record.

05:12:05   17             (Discussion off the record.)

05:12:09   18             MR. BENNETT:     Okay.   Your Honor, I'm about to

05:12:13   19   change a different document, but I do see it's past 5:00.

05:12:18   20   I can keep going if you want me to or --

05:12:19   21             THE COURT:     It is now, Mr. Bennett.     I think we

05:12:21   22   should break for the day.

05:12:23   23             MR. BENNETT:     Okay.

05:12:25   24             THE COURT:     All right.     So ladies and gentlemen of

05:12:25   25   the jury, it's been a long day.         I appreciate your focus
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05:12:28    1   and attention throughout the afternoon.

05:12:30    2           I'll ask you to be back about 8:45 in the morning.

05:12:34    3   When you come in in the morning, if you will identify

05:12:37    4   yourself to the court security officers, they will direct

05:12:40    5   you up here, if not escort you.       And so we will hope to see

05:12:44    6   you then, and we'll plan to start here in the courtroom at

05:12:47    7   9:00 a.m.

05:12:47    8           As a reminder, you should not talk about the case

05:12:50    9   with anyone until all of the evidence has been presented,

05:12:55   10   and I have instructed you on the law.        Likewise, don't do

05:12:59   11   any independent investigation or research into the matter

05:13:02   12   involved here or the attorneys or the parties.           And,

05:13:06   13   likewise, don't post anything about any of your

05:13:10   14   observations throughout the day.

05:13:13   15           So I'll look forward to seeing you in the morning,

05:13:17   16   and I hope you all have a pleasant evening.

05:13:20   17           COURT SECURITY OFFICER:        All rise for the jury.

05:13:20   18           (Jury out.)

05:13:52   19           THE COURT:     Okay.   Please be seated.

05:13:54   20           Ms. Josh and Mr. Lee [sic], let me ask you all to

05:13:59   21   be back online no later than 8:45 Texas time tomorrow so

05:14:04   22   that we can start promptly at 9:00 a.m. Texas time with the

05:14:10   23   continued examination of the witness.

05:14:14   24           Do either of you have any questions about that?

05:14:56   25           THE WITNESS:     So, Your Honor, you said a lot of
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05:14:57    1   things here, and I just want to make sure that I did not

05:15:00    2   miss anything, I did not do anything that I'm not supposed

05:15:04    3   to do.    I need to follow all the rules here.

05:15:07    4             THE COURT:     Certainly.     I'm just asking that you

05:15:12    5   all be back online at 8:45 ready to go.

05:15:16    6             I will suggest this, for purposes of maybe

05:15:21    7   speeding things up a little bit, I'll just tell you,

05:15:27    8   Mr. Lee [sic], that, you know, if you can answer the

05:15:31    9   question more succinctly with a yes or no, that's all the

05:15:38   10   better.

05:15:39   11             When you have completed your direct examination,

05:15:44   12   counsel for your employer will be able to ask any questions

05:15:50   13   they want to, and you will be able to provide a fuller

05:16:00   14   explanation.    But for purposes of the examination by the

05:16:03   15   Plaintiff, if you can give yes-or-no answers, that's fine.

05:16:06   16   If you can't give yes-or-no answers to any that are asked,

05:16:10   17   if you'll just explain that, and then Mr. Bennett can ask a

05:16:15   18   different question if he wishes to do so.

05:17:35   19             THE WITNESS:     Okay.     I got it.

05:17:37   20             THE COURT:     Okay.     Anything further for the

05:17:39   21   witness and the translator before we disconnect them?

05:17:43   22             MR. JOSHI:     Yes.

05:17:55   23             THE WITNESS:     I do not have any other questions.

05:17:57   24   Thank you, though.

05:17:58   25             THE COURT:     Okay.     Hold on just a moment,
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05:18:01    1   Ms. Josh.

05:18:02    2             MR. JOSHI:     Your Honor, do you have any -- do you

05:18:05    3   have any instructions for interactions between counsel --

05:18:08    4             THE COURT:     Yes.   No interaction whatsoever.

05:18:11    5             MR. JOSHI:     Would you please make that clear?

05:18:13    6             THE COURT:     Yes, I will.   So I don't know who the

05:18:16    7   in-house counsel is, but, Mr. Lee, let me make this clear

05:18:20    8   to you.

05:18:22    9             The rules on what a witness may say in a situation

05:18:25   10   like this or discussions that may be had with a -- an

05:18:30   11   attorney is, given the fact that you're there and we're

05:18:34   12   here, I think under the specific circumstances of this

05:18:39   13   case, you should not have any correct -- any communications

05:18:46   14   at all with any of the attorneys overnight about the

05:18:49   15   subject of your testimony or the testimony you have given

05:18:55   16   today, your expected testimony tomorrow, or any knowledge

05:19:00   17   about this case.    Do you understand all of that?

05:19:03   18             THE WITNESS:     So I wanted to clarify.      You said do

05:19:52   19   not communicate with anyone or only my attorneys?

05:19:57   20             THE COURT:     No, sir.   You may not communicate with

05:20:01   21   your attorney about the substance of the testimony.            So

05:20:05   22   thank you for asking that clarification.

05:20:08   23             And if you need to have some discussions about the

05:20:13   24   technical arrangements that we have made about your

05:20:17   25   testimony, that is fine.        But what I'm instructing you,
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05:20:21    1   sir, is not to have any substantive conversations about

05:20:26    2   your knowledge about the case, your testimony this

05:20:30    3   afternoon, or your expected testimony tomorrow.

05:21:12    4           THE WITNESS:     I got it.

05:21:14    5           MR. JOSHI:     Thank you, Your Honor.

05:21:15    6           THE COURT:     Okay.   All right.

05:21:17    7           All right.     We will see you all in the morning.

05:21:21    8           What else do we need to address before we adjourn?

05:21:26    9           MR. BENNETT:     Just -- I didn't object to

05:21:30   10   responsiveness that much today.       I tried.    But tomorrow I'm

05:21:34   11   going to have to do more to get -- if it doesn't change.

05:21:36   12           THE COURT:     You know, Mr. Bennett, you try your

05:21:38   13   case like you want to.     If you make the objection, if I

05:21:42   14   think, you know, an order striking the testimony is

05:21:46   15   appropriate, that's what I'll do.

05:21:50   16           So, you know, to the extent you can ask yes or no

05:21:54   17   questions, I mean, I would encourage you to do that.            If

05:22:01   18   you don't get -- if you don't get, you know, narrow

05:22:04   19   answers, I will strike the -- I will strike the testimony.

05:22:08   20           Obviously, Mr. Joshi, you'll have an opportunity

05:22:10   21   to ask whatever you want of this witness on cross-examine.

05:22:14   22           So to the extent we can move it along, I think

05:22:18   23   that's certainly helpful.

05:22:20   24           Anything else we need to discuss from --

05:22:22   25           MR. OLIVER:     One logistical question, and I am
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05:22:25    1   going to apologize in advance in case you've already

05:22:29    2   addressed it in one of the many orders that I may have

05:22:31    3   missed.

05:22:31    4             THE COURT:    Certainly.

05:22:32    5             MR. OLIVER:    If you want to tell me, just go look

05:22:34    6   through the orders, I will.

05:22:35    7             THE COURT:    I might do that.

05:22:37    8             MR. OLIVER:    Does the Court provide a running

05:22:40    9   total of how much time each party has used?

05:22:41   10             THE COURT:    We will.

05:22:41   11             MR. OLIVER:    Okay.

05:22:42   12             THE COURT:    We will provide you, and we can

05:22:43   13   provide you today that number.        You will have to ask for

05:22:46   14   it.   We won't do it as a matter of routine, so you're

05:22:50   15   welcome to ask Mrs. Schroeder at the end of the day.

05:22:53   16             MR. OLIVER:    Okay.     Thank you.

05:22:54   17             THE COURT:    To the extent there are any problems

05:22:57   18   that crop up over the night, and I'm very serious about

05:23:02   19   this, I do expect the parties to try to resolve them.            I

05:23:07   20   have seen a lot of things today that basically amounted to

05:23:11   21   the other side hearing what the other side was saying for

05:23:15   22   the first time in the room.        And I expect more of you all

05:23:19   23   as professionals.

05:23:21   24             So if there are issues that -- and I'm not fussing

05:23:26   25   at you.   I'm just saying if there are issues that crop up,
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05:23:31    1   that you all have with one or the other, start with trying

05:23:35    2   to resolve it by agreement, working through some sort of a

05:23:38    3   compromise.   And if you can't, bring it to me, and I'll be

05:23:42    4   more than happy to get it resolved.        But I do want you to

05:23:46    5   at least have made a serious attempt to resolve it and at

05:23:50    6   least to substantively discuss it.

05:23:53    7           Any questions about that?

05:23:55    8           MR. BENNETT:     No, Your Honor.      We understand.

05:23:59    9           THE COURT:     Okay.   Good.    See you in the morning.

05:24:02   10           COURT SECURITY OFFICER:        All rise.

05:24:06   11           (WHEREUPON, these proceedings were adjourned,

           12                   5:24 p.m.)

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       1                    COURT REPORTER'S CERTIFICATION

       2               I HEREBY CERTIFY that the foregoing is a true and

       3   correct transcript from the stenographic notes of the

       4   proceedings in the above-entitled matter held on May 17,

       5   2021, to the best of my ability.

       6

       7   May 17, 2021          s/ KATHRYN McALPINE/_________
           Date                  KATHRYN McALPINE, RPR, CSR, CCR
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